USCA Case #24-1119       Document #2089013            Filed: 12/10/2024      Page 1 of 156



                  ORAL ARGUMENT NOT YET SCHEDULED
                    Case No. 24-1119 (and consolidated cases)

             United States Court of Appeals
            For the District of Columbia Circuit
                           STATE OF NORTH DAKOTA, ET AL.,
                                                              Petitioners,
                                       v.
                        ENVIRONMENTAL PROTECTION AGENCY
                                                      Respondent.

       On Petition for Judicial Review of Final Agency Action of the United States
         Environmental Protection Agency, 89 Fed. Reg. 38508 (May 7, 2024)

                        FINAL OPENING BRIEF OF PETITIONERS

 PATRICK MORRISEY                            DREW H. WRIGLEY
 Attorney General                            Attorney General
 MICHAEL R. WILLIAMS                         PHILIP AXT
 Solicitor General                           Solicitor General
 State Capitol Bldg. 1, Room E-26            600 E Boulevard Ave., Dept. 125
 Charleston, WV 25301                        Bismarck, ND 58505
 Phone: 304.558-2021                         Phone: 701.328.2210
 michael.r.williams@wvago.gov                pjaxt@nd.gov
 Counsel for State of West Virginia          NESSA HOREWITCH COPPINGER
                                             DAVID M. FRIEDLAND
                                             Special Assistant Attorneys General
                                             1900 N Street NW, Suite 100
                                             Washington, DC 20036
                                             ncoppinger@bdlaw.com
                                             dfriedland@bdlaw.com
                                             Counsel for State of North Dakota

                   Additional Counsel Listed on Following Pages
USCA Case #24-1119     Document #2089013      Filed: 12/10/2024      Page 2 of 156



 TREG TAYLOR                         TIM GRIFFIN
 Attorney General                    Attorney General

 GARRISON TODD                       NICHOLAS J. BRONNI
 Assistant Attorney General          Solicitor General
 Alaska Department of Law            DYLAN L. JACOBS
 1031 W. 4th Ave.                    Deputy Solicitor General
 Suite 200                           Office of the Arkansas Attorney General
 Anchorage, AK 99501                 323 Center Street, Suite 200
 (907) 269-5100                      Little Rock, AR 72201
 Garrison.Todd@alaska.gov            (501) 682-2007
                                     nicholas.bronni@arkansasag.gov
 Counsel for State of Alaska         Counsel for State of Arkansas

 CHRISTOPHER M. CARR                 RAÚL R. LABRADOR
 Attorney General                    Attorney General

 STEPHEN J. PETRANY                  ALAN M. HURST
 Solicitor General                   Solicitor General
 Office of the Attorney General      Office of Idaho Attorney General
 40 Capitol Square, SW               P.O. Box. 83720
 Atlanta, Georgia 30334              Boise, Idaho 83720
 (404) 458-3408                      (208) 334-2400
 spetrany@law.ga.gov                 Alan.Hurst@aga.idaho.gov
                                     Counsel for State of Idaho
 Counsel for State of Georgia
USCA Case #24-1119     Document #2089013      Filed: 12/10/2024    Page 3 of 156



 THEODORE E. ROKITA                  BRENNA BIRD
 Attorney General                    Attorney General
 JAMES A. BARTA                      ERIC H. WESSAN
 Solicitor General                   Solicitor General
 Indiana Attorney General’s Office   1305 E. Walnut Street
 IGCS – 5th Floor                    Des Moines, Iowa 50319
 302 W. Washington St.               (515) 823-9117
 Indianapolis, IN 46204              eric.wessan@ag.iowa.gov
 (317) 232-0709
 james.barta@atg.in.gov              Counsel for State of Iowa

 Counsel for State of Indiana

 KRIS W. KOBACH                      RUSSELL COLEMAN
 Attorney General                    Attorney General
 ANTHONY J. POWELL                   MATTHEW F. KUHN
 Solicitor General                   Solicitor General
 Office of Kansas Attorney General   JACOB M. ABRAHAMSON
 120 SW 10th Avenue, 2ndFloor        Assistant Solicitor General
 Topeka, Kansas 66612                700 Capital Avenue, Suite 118
 (785) 368-8539                      Frankfort, Kentucky 40601
 Anthony.Powell@ag.ks.gov            (502) 696-5300
                                     Matt.Kuhn@ky.gov
 Counsel for State of Kansas         Jacob.Abrahamson@ky.gov
                                     Counsel for Commonwealth of Kentucky

 ELIZABETH B. MURRILL                LYNN FITCH
 Attorney General                    Attorney General
 J. BENJAMIN AGUIÑAGA                JUSTIN L. MATHENY
 Solicitor General                   Deputy Solicitor General
 Louisiana Department of Justice     Office of the Attorney General
 1885 N. Third Street                P.O. Box 220
 Baton Rouge, Louisiana 70802        Jackson, Mississippi 39205
 (225) 506-3746                      (601) 359-3825
 aguinagab@ag.louisiana.gov          justin.matheny@ago.ms.gov
 Counsel for State of Louisiana      Counsel for State of Mississippi
USCA Case #24-1119     Document #2089013        Filed: 12/10/2024     Page 4 of 156



 ANDREW T. BAILEY                      AUSTIN KNUDSEN
 Attorney General                      Attorney General
 SAMUEL C. FREEDLUND                   CHRISTIAN B. CORRIGAN
 Deputy Solicitor General              Solicitor General
 Office of the Attorney General        PETER M. TORSTENSEN, JR.
 815 Olive St., Suite 200              Deputy Solicitor General
 St. Louis, Missouri 63101             Montana Department of Justice
 (314) 340-4869                        215 N. Sanders Helena, MT 59601
 Samuel.Freedlund@ago.mo.gov           (406) 444-2707
                                       Christian.Corrigan@mt.gov
 Counsel for State of Missouri
                                       Counsel for State of Montana
 MICHAEL T. HILGERS                    GENTNER DRUMMOND
 Attorney General                      Attorney General
 GRANT D. STROBL                       GARRY M. GASKINS, II
 Assistant Solicitor General           Solicitor General
 Nebraska Attorney General’s Office    JENNIFER L. LEWIS
 2115 State Capitol                    Deputy Attorney General
 Lincoln, NE 68509                     313 NE Twenty-First St.
 (402) 471-2683                        Oklahoma City, OK 73105
 Grant.strobl@nebraska.gov             (405) 521-3921
 Counsel for State of Nebraska         garry.gaskins@oag.ok.gov
                                       jennifer.lewis@oag.ok.gov
                                       Counsel for State of Oklahoma

 ALAN WILSON                           MARTY J. JACKLEY
 Attorney General                      Attorney General
 THOMAS T. HYDRICK                     STEVE BLAIR
 Assistant Deputy Solicitor General    Deputy Attorney General
 Office of the Attorney General of     Office of the Attorney General
 South Carolina                        1302 East Highway 14, Suite 1
 1000 Assembly Street                  Pierre, SD 57501-8501
 Columbia, SC 29201                    (605) 773-3215
 (803) 734-4127                        atgservice@state.sd.us
 thomashydrick@scag.gov                steven.blair@state.sd.us
 Counsel for State of South Carolina   Counsel for State of South Dakota
USCA Case #24-1119     Document #2089013        Filed: 12/10/2024   Page 5 of 156




 JONATHAN SKRMETTI                     KEN PAXTON
 Attorney General                      Attorney General
 WHITNEY HERMANDORFER                  JOHN R. HULME
 Director of Strategic Litigation      Assistant Attorney General
 MATTHEW RICE                          BRENT WEBSTER
 Solicitor General                     First Assistant Attorney General
 Office of the Attorney General and    JAMES LLOYD
 Reporter of Tennessee                 Deputy Attorney General for Civil
 P.O. Box 20207                        Litigation
 Nashville, TN 37202-0207              KELLIE E. BILLINGS-RAY
 (615) 741-7403                        Chief, Environmental Protection
 Whitney.Hermandorfer@ag.tn.gov        Division
 Matthew.Rice@ag.tn.gov                Office of the Texas Attorney General
                                       P.O. Box 12548
 Counsel for State of Tennessee        Austin, Texas 78711-2548
                                       John.hulme@oag.texas.gov
                                       Counsel for State of Texas

 SEAN REYES
 Attorney General                      JASON MIYARES
                                       Attorney General
 STANFORD PURSER
 Solicitor General                     KEVIN M. GALLAGHER
 Office of the Utah Attorney General   Principal Deputy Solicitor General
 160 East 300 South, Fifth floor       BRENDAN T. CHESTNUT
 Salt Lake City, Utah 84111            Deputy Solicitor General
 (385) 366-4334                        Virginia Attorney General’s Office
 Spurser@agutah.gov                    202 North 9th Street
                                       Richmond, VA 23219
 Counsel for State of Utah             (804) 786-2071
                                       kgallagher@oag.state.va.us
                                       bchestnut@oag.state.va.us
                                       Counsel for Commonwealth of Virginia
USCA Case #24-1119    Document #2089013       Filed: 12/10/2024   Page 6 of 156



 BRIDGET HILL
 Attorney General
 D. DAVID DEWALD
 Deputy Attorney General
 Wyoming Attorney General’s Office
 Water & Natural Resources Division
 109 State Capitol
 Cheyenne, WY 82002
 (307) 777-7895
 david.dewald@wyo.gov
 Counsel for State of Wyoming


 Charles T. Wehland                    Jeffery D. Ubersax
 JONES DAY                             KUSHNER & HAMED CO., LPA
 110 North Wacker Drive, Suite 4800    1375 East Ninth Street, Suite 1390
 Chicago, IL 60601-1692                Cleveland, OH 44114
 Tel: (312) 269-4388                   Tel: (216) 696-6700
 ctwehland@jonesday.com                jdubersax@kushnerhamed.com

 Yaakov M. Roth
 Brinton Lucas
 Madeline W. Clark
 JONES DAY
 51 Louisiana Avenue, N.W.
 Washington, D.C. 20001
 Tel: (202) 879-7658
 yroth@jonesday.com
 blucas@jonesday.com
 mclark@jonesday.com

              Counsel for NACCO Natural Resources Corporation
USCA Case #24-1119    Document #2089013        Filed: 12/10/2024   Page 7 of 156



 Elizabeth C. Williamson                Misha Tseytlin
 BALCH & BINGHAM LLP                    TROUTMAN PEPPER
 601 Pennsylvania Ave. N.W.             HAMILTON SANDERS LLP
 Suite 825 South                        227 W. Monroe St, Suite 3900
 Washington, D.C. 20004                 Chicago, IL 60606
 (202) 661-6342                         (608) 999-1240
 (202) 347-6001 (fax)                   misha.tseytlin@troutman.com
 ewilliamson@balch.com
                                        Carroll Wade McGuffey III
 Claire B. Johnson                      TROUTMAN PEPPER
 BALCH & BINGHAM LLP                    HAMILTON SANDERS LLP
 1901 6th Ave. N., Ste. 1500            600 Peachtree St. N.E., Suite 3000
 Birmingham, Alabama 35203              Atlanta, GA 30308
 205-251-8100                           (404) 885-3698
 cbjohnson@balch.com                    mack.mcguffey@troutman.com

 Counsel for National Rural Electric    Counsel for Lignite Energy Council
 Cooperative Association, Minnkota      and National Mining Association
 Power Cooperative, Inc., East Kentucky
 Power Cooperative, Inc., Associated
 Electric Cooperative, Inc., Basin
 Electric Power Cooperative


 Megan H. Berge                         C. Grady Moore III
 BAKER BOTTS L.L.P.                     P. Stephen Gidiere III
 700 K Street, NW                       Julia B. Barber
 Washington, D.C. 20001                 BALCH & BINGHAM LLP
 Phone: (202) 639-1308                  1901 6th Ave. N., Ste. 1500
                                        Birmingham, Alabama 35203
 Counsel for Rainbow Energy Center,     205-251-8100
 LLC                                    gmoore@balch.com

                                        Counsel for Oak Grove Management
                                        Company LLC and Luminant
                                        Generation Company LLC
USCA Case #24-1119     Document #2089013     Filed: 12/10/2024   Page 8 of 156



 Joshua B. Frank                       Mark W. DeLaquil
 C. Joshua Lee                         BAKER & HOSTETLER LLP
 BAKER BOTTS L.L.P.                    1050 Connecticut Ave., N.W.
 700 K Street N.W.                     Suite 1100
 Washington, D.C. 20001                Washington, D.C. 20036
 Tel.: (202) 639-7748                  Tel: (202) 861-1527
 (202) 639-1130                        mdelaquil@bakerlaw.com
 joshua.frank@bakerbotts.com
 joshua.lee@bakerbotts.com             Martin T. Booher
                                       Joshua T. Wilson
 Counsel for Talen Montana, LLC        BAKER & HOSTETLER LLP
                                       2000 Key Tower
                                       127 Public Square
                                       Cleveland, Ohio 44114

                                       Counsel for Westmoreland Mining
                                       Holdings LLC, Westmoreland Mining,
                                       and Westmoreland Rosebud Mining,
                                       LLC

 Makram B. Jaber                       David M. Flannery
 Allison D. Wood                       Kathy G. Beckett
 Aaron M. Flynn                        Keeleigh S. Huffman
 MCGUIRE WOODS LLP                     STEPTOE & JOHNSON PLLC
 888 16th Street N.W., Suite 500       707 Virginia Street, East
 Black Lives Matter Plaza              P.O. Box 1588
 Washington, DC 20006                  Charleston, WV 25326
 (202) 857-1700                        (304) 353-8000
 mjaber@mcguirewoods.com               Dave.Flannery@steptoe-johnson.com
 awood@mcguirewoods.com                Kathy.Beckett@steptoe-johnson.com
 aflynn@mcguirewoods.com               Keeleigh.Huffman@steptoe-
                                       johnson.com
 Counsel for America’s Power and
 Electric Generators MATS Coalition
USCA Case #24-1119    Document #2089013        Filed: 12/10/2024   Page 9 of 156



 Creighton R. Magid #49713               Edward L. Kropp
 DORSEY & WHITNEY LLP                    STEPTOE & JOHNSON PLLC
 1401 New York Avenue NW, Suite 900      P.O. Box 36425
 Washington, D.C. 20005                  Indianapolis, Indiana 46236
 Telephone: (202) 442-3555               317-946-9882
 Fax: (202) 315-3852                     Skipp.Kropp@steptoe-johnson.com
 magid.chip@dorsey.com
                                         Counsel for Midwest Ozone Group
 Counsel for NorthWestern Corporation,
 d/b/a NorthWestern Energy
USCA Case #24-1119      Document #2089013             Filed: 12/10/2024   Page 10 of 156



    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to Circuit Rule 28(a)(1), Petitioners state as follows:

       A.     Parties

              1.    Petitioners

       The following parties appear as Petitioners:

       No. 24-1119: State of North Dakota, State of West Virginia, State of Alaska,

 State of Arkansas, State of Georgia, State of Idaho, State of Indiana, State of Iowa,

 State of Kansas, Commonwealth of Kentucky, State of Louisiana, State of

 Mississippi, State of Missouri, State of Montana, State of Nebraska, State of

 Oklahoma, State of South Carolina, State of South Dakota, State of Tennessee, State

 of Texas, State of Utah, Commonwealth of Virginia, and State of Wyoming.

       No. 24-1154: NACCO Natural Resources Corporation.

       No. 24-1179: National Rural Electric Cooperative Association, Minnkota

 Power Cooperative, Inc., East Kentucky Power Cooperative, Inc., Associated

 Electric Cooperative Inc., Basin Electric Power Cooperative, Lignite Energy

 Council, National Mining Association, and Rainbow Energy Center, LLC.

       No. 24-1184: Oak Grove Management Company LLC and Luminant

 Generation Company LLC.

       No. 24-1190: Talen Montana, LLC.

       No. 24-1194: Westmoreland Mining Holdings LLC, Westmoreland Mining,

 and Westmoreland Rosebud Mining, LLC.

                                           i
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 11 of 156



       No. 24-1201: America’s Power and Electric Generators MATS Coalition.

       No. 24-1217: NorthWestern Corporation, d/b/a NorthWestern Energy.

       No. 24-1223: Midwest Ozone Group.

             2.     Respondents

       The following party appears as Respondent: United States Environmental

 Protection Agency (in all case numbers) and Michael S. Regan, in his official

 capacity as Administrator of the Environmental Protection Agency (in Nos. 24-1154,

 24-1179, 24-1184, 24-1190, 24-1194, 24-1217, 24-1223).

             3.     Intervenors

       Petitioner Intervenor: San Miguel Electric Cooperative, Inc.

       Respondent Intervenors: (1) Air Alliance Houston, Alliance of Nurses for

 Healthy Environments, American Academy of Pediatrics, American Lung

 Association, American Public Health Association, Chesapeake Climate Action

 Network, Citizens for Pennsylvania’s Future, Clean Air Council, Clean Wisconsin,

 Downwinders at Risk, Environmental Defense Fund, Environmental Integrity

 Project, Montana Environmental Information Center, Natural Resources Council of

 Maine, Natural Resources Defense Council, the Ohio Environmental Council,

 Physicians for Social Responsibility, and Sierra Club; and (2) State of

 Massachusetts, State of Minnesota, State of Connecticut, State of Illinois, State of

 Maine, State of Maryland, State of Michigan, State of New Jersey, State of New



                                          ii
USCA Case #24-1119       Document #2089013        Filed: 12/10/2024   Page 12 of 156



 York, State of Oregon, State of Pennsylvania, State of Rhode Island, State of

 Vermont, State of Wisconsin, District of Columbia, City of Baltimore, City of

 Chicago, City of New York.

              4.    Amici

       Amici Curiae in support of Petitioners: None at present.

       Amici Curiae in support of Respondents: None at present.

       B.     Rule Under Review

       The rule at issue before this Court is the United States Environmental

 Protection Agency’s final action entitled: National Emission Standards for

 Hazardous Air Pollutants: Coal-and Oil-Fired Electric Utility Steam Generating

 Units Review of the Residual Risk and Technology Review. J.A.0001(89 Fed.Reg.

 38508 (May 7, 2024)).

       C.     Related Cases

       Multiple petitioners have applications for a stay of the Rule pending before

 the Supreme Court. See Supreme Court Nos. 24A178, 24A179, 24A180, 24A186,

 24A197, 24A199, 24A203. These consolidated cases have otherwise not been

 before this Court or any other court.




                                         iii
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 13 of 156



                  CORPORATE DISCLOSURE STATEMENTS

      RULE 26.1 DISCLOSURE STATEMENT FOR NACCO NATURAL
                    RESOURCES CORPORATION

       Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

 26.1, Petitioner NACCO Natural Resources Corporation (NACCO) submits the

 following corporate disclosure statement:

       1.     NACCO is a wholly owned subsidiary of NACCO Industries, Inc.

       2.     NACCO is not publicly held, but NACCO Industries, Inc., its parent, is

 a publicly traded corporation that owns more than 10% of the stock of NACCO.

       3.     No other publicly held corporation owns more than 10% of the stock of

 NACCO.

       4.     The general nature and purpose of NACCO, insofar as relevant to this

 litigation, is the mining and delivery of lignite coal as fuel for power generation and

 the provision of mining services to natural resources companies.

  Dated: October 1, 2024                     Respectfully submitted,

                                             /s/ Charles T. Wehland
  Jeffery D. Ubersax                         Charles T. Wehland
  KUSHNER & HAMED CO., LPA                   JONES DAY
  1375 East Ninth Street, Suite 1390         110 North Wacker Drive, Suite 4800
  Cleveland, OH 44114                        Chicago, IL 60601-1692
  Tel: (216) 696-6700                        Tel: (312) 269-4388
  jdubersax@kushnerhamed.com                 ctwehland@jonesday.com
                                             Yaakov M. Roth
                                             Brinton Lucas
                                             Madeline W. Clark
                                             JONES DAY

                                           iv
USCA Case #24-1119   Document #2089013        Filed: 12/10/2024     Page 14 of 156



                                        51 Louisiana Avenue, N.W.
                                        Washington, D.C. 20001
                                        Tel: (202) 879-7658
                                        yroth@jonesday.com
                                        blucas@jonesday.com
                                        mclark@jonesday.com

              Counsel for NACCO Natural Resources Corporation




                                    v
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 15 of 156



    RULE 26.1 DISCLOSURE STATEMENTS FOR NATIONAL RURAL
     ELECTRIC COOPERATIVE ASSOCIATION, LIGNITE ENERGY
  COUNCIL, NATIONAL MINING ASSOCIATION, MINNKOTA POWER
   COOPERATIVE, INC., EAST KENTUCKY POWER COOPERATIVE,
 INC., ASSOCIATED ELECTRIC COOPERATIVE INC., BASIN ELECTRIC
   POWER COOPERATIVE, AND RAINBOW ENERGY CENTER, LLC

       Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

 Petitioners National Rural Electric Cooperative Association, Lignite Energy

 Council, National Mining Association, Minnkota Power Cooperative, Inc., East

 Kentucky Power Cooperative, Inc., Associated Electric Cooperative Inc., Basin

 Electric Power Cooperative, and Rainbow Energy Center, LLC, submit the

 following corporate disclosure statements:

       National Rural Electric Cooperative Association (NRECA) is the national

 association for nearly 900 not-for-profit rural electric cooperatives and public power

 districts that provide electric service to roughly one in eight Americans, covering

 56% of the Nation’s landmass.       Rural electric cooperatives serve millions of

 businesses, homes, schools, farms, irrigation systems, and other establishments in

 2,500 of the nation’s over 3,100 counties, including 92% of the nation’s persistent

 poverty counties. America’s electric cooperatives are owned by the people they

 serve, and they comprise a unique sector of the electric industry.           Electric

 cooperatives are focused on providing affordable, reliable, and safe electric power

 in an environmentally responsible manner.         NRECA is not a publicly held




                                          vi
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024     Page 16 of 156



 corporation, and NRECA has no parent corporation. No publicly held company has

 10% or greater ownership interest in NRECA.

       Lignite Energy Council (LEC) is a regional, nonprofit organization whose

 primary mission is to promote the continued development and use of lignite coal as

 an energy resource. LEC’s membership includes producers of lignite coal who have

 an ownership interest in and who mine lignite, users of lignite who operate lignite-

 fired electric generating plants, and suppliers of goods and services to the lignite coal

 industry. LEC has no outstanding shares or debt securities in the hand of the public

 and has no parent company. No publicly held company has a 10% or greater

 ownership interest in LEC.

       National Mining Association (NMA) is a nonprofit national trade

 association that represents the interests of the mining industry, including every major

 coal company operating in the United States. NMA has over 280 members, whose

 interests it represents before Congress, the administration, federal agencies, the

 courts, and the media. NMA is a “trade association” within the meaning of Circuit

 Rule 26.1(b). NMA is not a publicly held corporation and has no parent corporation.

 No publicly held company has 10% or greater ownership interest in NMA.

       Minnkota Power Cooperative, Inc. (Minnkota) is a corporation organized

 under the laws of the State of Minnesota, and its corporate headquarters are located

 at 5301 32nd Avenue South, Grand Forks, North Dakota 58201. Minnkota is owned



                                            vii
USCA Case #24-1119      Document #2089013         Filed: 12/10/2024   Page 17 of 156



 by 11 rural electric cooperatives: Beltrami Electric Cooperative, Cass County

 Electric Cooperative, Cavalier Rural Electric Cooperative, Clearwater-Polk Electric

 Cooperative, Nodak Electric Cooperative, North Star Electric Cooperative, PKM

 Electric Cooperative, Red Lake Electric Cooperative, Red River Valley Co-op

 Power, Roseau Electric Cooperative, and Wild Rice Electric Cooperative. No

 publicly held corporation owns 10% or more of Minnkota’s stock.

       East Kentucky Power Cooperative, Inc. (East Kentucky) is a corporation

 organized under the laws of the Commonwealth of Kentucky, and its corporate

 headquarters are located at 4775 Lexington Road, Winchester, Kentucky 40392.

 East Kentucky is owned by 16 rural electric cooperatives: Big Sandy Rural Electric

 Cooperative, Blue Grass Energy Cooperative, Clark Energy Cooperative,

 Cumberland Valley Electric, Farmers Rural Electric Cooperative, Fleming-Mason

 Energy Cooperative, Grayson Rural Electric Cooperative, Inter-County Energy,

 Jackson Energy Cooperative, Licking Valley Rural Electric Cooperative, Nolin

 Rural Electric Cooperative, Owen Rural Electric Cooperative, Salt River Electric

 Cooperative, Shelby Energy Cooperative, South Kentucky Rural Electric

 Cooperative, and Taylor County Rural Electric Cooperative. No publicly held

 corporation owns 10% or more of East Kentucky’s stock.

       Associated Electric Cooperative Inc. is a corporation organized under the

 laws of the State of Missouri. Associated Electric Cooperative Inc. has no parent



                                        viii
USCA Case #24-1119       Document #2089013         Filed: 12/10/2024   Page 18 of 156



 companies, non-wholly owned subsidiaries, or affiliates that have issued shares to

 the public.

       Basin Electric Power Cooperative (Basin Electric) is a cooperative

 corporation organized under the laws of the State of North Dakota, and its corporate

 headquarters are located at 1717 East Interstate Avenue, Bismarck, North Dakota

 58503. Basin Electric is owned by 141 rural electric cooperatives. Its Class A

 members include: Central Montana Electric Power Cooperative, Central Power

 Electric Cooperative, Corn Belt Power Cooperative, Crow Wing Power, East River

 Electric Power Cooperative, Grand Electric Cooperative, KEM Electric

 Cooperative, L&O Power Cooperative, Members 1st Power Cooperative, Minnesota

 Valley Cooperative Light & Power Association, Minnesota Valley Electric

 Cooperative, Mor-Gran-Sou Electric Cooperative, Northwest Iowa Power

 Cooperative, Rosebud Electric Cooperative, Rushmore Electric Power Cooperative,

 Tri-State Generation and Transmission Association, Upper Missouri Power

 Cooperative, Wright-Hennepin Cooperative Electric Association, Wyoming

 Municipal Power Agency. No publicly held company has 10% or greater ownership

 interest in Basin Electric.

       Rainbow Energy Center, LLC (Rainbow) is a North Dakota limited liability

 company, is a wholesale power generation company headquartered in Bismarck,

 North Dakota. Rainbow is a wholly owned subsidiary of REMC Assets, LP, a North



                                         ix
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 19 of 156



 Dakota limited partnership. REMC Group, LLC, a North Dakota limited liability

 company, holds the 1% general partner controlling interest in REMC Assets, LP. No

 publicly held corporation has a 10% or greater ownership interest in REMC Assets,

 LP or in REMC Group, LLC.

 Dated: October 1, 2024                   Respectfully submitted,

 /s/ Elizabeth C. Williamson              /s/ Misha Tseytlin
 Elizabeth C. Williamson                  Misha Tseytlin
 BALCH & BINGHAM LLP                      TROUTMAN PEPPER
 601 Pennsylvania Ave. N.W.               HAMILTON SANDERS LLP
 Suite 825 South                          227 W. Monroe Street, Suite 3900
 Washington, D.C. 20004                   Chicago, IL 60606
 (202) 661-6342                           (312) 759-1939 (fax)
 (202) 347-6001 (fax)                     misha.tseytlin@troutman.com
 ewilliamson@balch.com
                                          Carroll Wade McGuffey III
 Claire B. Johnson                        TROUTMAN PEPPER
 BALCH & BINGHAM LLP                      HAMILTON SANDERS LLP
 1901 6th Ave. N., Ste. 1500              600 Peachtree St. N.E., Suite 3000
 Birmingham, Alabama 35203                Atlanta, GA 30308
 205-251-8100                             (404) 885-3698
 cbjohnson@balch.com                      mack.mcguffey@troutman.com
                                          Counsel for Lignite Energy Council and
 Counsel for National Rural Electric      National Mining Association
 Cooperative Association, Minnkota
 Power Cooperative, Inc., East            /s/ Megan Berge
 Kentucky Power Cooperative, Inc.,        Megan H. Berge
 Associated Electric Cooperative, Inc.,   BAKER BOTTS L.L.P.
 Basin Electric Power Cooperative         700 K Street, NW
                                          Washington, D.C. 20001
                                          Phone: (202) 639-1308
                                          Counsel for Rainbow Energy Center, LLC




                                          x
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 20 of 156



      RULE 26.1 DISCLOSURE STATEMENT FOR OAK GROVE
    MANAGEMENT COMPANY LLC AND LUMINANT GENERATION
                       COMPANY LLC

       Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

 26.1, Oak Grove Management Company LLC and Luminant Generation Company

 LLC submit the following corporate disclosure statement:

       Oak Grove Management Company LLC and Luminant Generation

 Company LLC are each wholly owned subsidiaries of Vistra Asset Company LLC, a

 Delaware limited liability company, which in turn is a wholly owned subsidiary of

 Vistra Operations Company LLC, a Delaware limited liability company, which in turn

 is a wholly owned subsidiary of Vistra Intermediate Company LLC, a Delaware

 limited liability company, which in turn is a wholly owned subsidiary of Vistra Corp.,

 a publicly held corporation incorporated under the laws of Delaware. Vistra Corp. is

 publicly traded on the NYSE under the symbol “VST.” To Petitioners’ knowledge,

 except for BlackRock Inc. and The Vanguard Group, Inc., in each case together with

 their respective affiliates and managed entities, there are no publicly traded

 corporations that own more than 10% of Vistra Corp.’s stock.

  Dated: October 1, 2024             Respectfully submitted,

                                     /s/ C. Grady Moore III
                                     C. Grady Moore III
                                     P. Stephen Gidiere III
                                     Julia B. Barber
                                     BALCH & BINGHAM LLP
                                     1901 6th Ave. N., Ste. 1500


                                          xi
USCA Case #24-1119   Document #2089013     Filed: 12/10/2024   Page 21 of 156



                               Birmingham, Alabama 35203
                               205-251-8100
                               gmoore@balch.com

                               Counsel for Oak Grove Management Company
                               LLC and Luminant Generation Company LLC




                                   xii
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 22 of 156



  RULE 26.1 DISCLOSURE STATEMENT FOR TALEN MONTANA, LLC

       Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

 26.1, Petitioner submits the following required Disclosure Statement.

       Talen Montana, LLC (Talen) is a power generation company, which

 operates and partially owns Colstrip Unit 3 (and has an economic interest in Colstrip

 Unit 4), which are power plant units affected by EPA’s final action subject to this

 Petition for Review. Talen is an indirect, wholly owned subsidiary of Talen Energy

 Corporation. Talen Energy Corporation is a publicly traded corporation. No

 publicly held company owns more than 10% of Talen Energy Corporation’s stock.


 Dated: October 1, 2024                  Respectfully submitted,

                                         /s/ Joshua B. Frank
                                         Joshua B. Frank
                                         C. Joshua Lee
                                         BAKER BOTTS L.L.P.
                                         700 K Street N.W.
                                         Washington, D.C. 20001
                                         Tel.: (202) 639-7748
                                         (202) 639-1130
                                         joshua.frank@bakerbotts.com
                                         joshua.lee@bakerbotts.com

                                         Counsel for Talen Montana, LLC




                                         xiii
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 23 of 156



    RULE 26.1 DISCLOSURE STATEMENTS FOR WESTMORELAND
    MINING HOLDINGS LLC, WESTMORELAND MINING LLC, AND
             WESTMORELAND ROSEBUD MINING LLC

       Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

 Petitioners submit the following corporate disclosure statements:

       Westmoreland Mining Holdings LLC has no parent corporation and no

 publicly held corporations own 10% or more of its stock. The company has an

 extensive portfolio of coal mining operations in the United States and Canada.

       Westmoreland Mining LLC has no parent corporation and no publicly held

 corporations own 10% or more of its stock. The company has an extensive portfolio

 of coal mining operations in the United States and Canada.

        Westmoreland Rosebud Mining LLC has no parent corporation and no

 publicly held corporations own 10% or more of its stock. The company has an

 extensive portfolio of coal mining operations in the United States and Canada.

 Dated: October 1, 2024                 Respectfully submitted,

                                        /s/ Mark W. DeLaquil
 Martin T. Booher                       Mark W. DeLaquil
 Joshua T. Wilson                       Baker & Hostetler LLP
 Baker & Hostetler LLP                  1050 Connecticut Ave., N.W., Suite 1100
 2000 Key Tower                         Washington, D.C. 20036
 127 Public Square                      Tel: (202) 861-1527
 Cleveland, Ohio 44114                  mdelaquil@bakerlaw.com

           Counsel for Petitioners Westmoreland Mining Holdings LLC,
        Westmoreland Mining LLC, and Westmoreland Rosebud Mining LLC




                                         xiv
USCA Case #24-1119        Document #2089013            Filed: 12/10/2024    Page 24 of 156



 RULE 26.1 DISCLOSURE STATEMENTS FOR AMERICA’S POWER AND
            ELECTRIC GENERATORS MATS COALITION

       America’s Power. Pursuant to Rule 26.1 of the Federal Rules of Appellate

 Procedure and D.C. Circuit Rule 26.1, America’s Power submits the following

 statement:

       America’s Power is a nonprofit membership corporation organized under the

 laws of the District of Columbia and is recognized as a tax-exempt trade association

 by the Internal Revenue Service under Section 501(c)(6) of the Internal Revenue

 Code. America’s Power is the only national trade association whose sole mission is

 to advocate at the federal and state levels on behalf of coal-fueled electricity, the coal

 fleet, and its supply chain. America’s Power supports policies that promote the use

 of coal to assure a reliable, resilient, and affordable supply of electricity to meet our

 nation’s demand for energy.

       America’s Power is a “trade association” within the meaning of Circuit Rule

 26.1(b). It has no parent corporation, and no publicly held company owns a 10

 percent or greater interest in America’s Power.

       Electric Generators MATS Coalition. Pursuant to Rule 26.1 of the Federal

 Rules of Appellate Procedure and D.C. Circuit Rule 26.1, Electric Generators MATS

 Coalition submits the following statement:

       Electric Generators MATS Coalition is an ad hoc coalition of electric

 generating companies that have joined together for the purpose of filing this petition


                                            xv
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024      Page 25 of 156



 for review. The members of the ad hoc coalition own and operate electric generating

 units that are subject to the final rule at issue in this case. The members of the ad hoc

 coalition are the Salt River Project Agricultural Improvement and Power District;

 Talen Energy Supply, LLC; and NorthWestern Energy Public Service Corporation.

       Electric Generators MATS Coalition has no parent corporation, and no

 publicly held corporation has a 10% or greater ownership in it.

 Dated: October 1, 2024                    Respectfully submitted,

                                           /s/ Makram B. Jaber
                                           Makram B. Jaber
                                           Allison D. Wood
                                           Aaron M. Flynn
                                           MCGUIRE WOODS LLP
                                           888 16th Street N.W., Suite 500
                                           Black Lives Matter Plaza
                                           Washington, DC 20006
                                           (202) 857-1700
                                           mjaber@mcguirewoods.com
                                           awood@mcguirewoods.com
                                           aflynn@mcguirewoods.com

                                           Counsel for America’s Power and
                                           Electric Generators MATS
                                           Coalition




                                           xvi
USCA Case #24-1119     Document #2089013          Filed: 12/10/2024   Page 26 of 156



      RULE 26.1 DISCLOSURE STATEMENT FOR NORTHWESTERN
                         CORPORATION

       Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

 26.1, NorthWestern Corporation submits the following required Disclosure

 Statement.

       NorthWestern Corporation d/b/a NorthWestern Energy (“NorthWestern

 Energy”) is a wholly owned subsidiary of NorthWestern Energy Group, a publicly

 traded company (Nasdaq: NWE) that is incorporated in Delaware. Based on a June

 21, 2024, review of the most recent statements filed with the Securities and

 Exchange Commission pursuant to Sections 13(d), 13(f), and 13(g) of the Securities

 Exchange Act of 1934, two publicly held companies own 10% or more of

 NorthWestern Energy Group’s stock: BlackRock Inc. and Vanguard Group Inc.

 Dated: October 1, 2024                Respectfully submitted,

                                       /s/ Creighton R. Magid
                                       Creighton R. Magid #49713
                                       DORSEY & WHITNEY LLP
                                       1401 New York Avenue NW
                                       Suite 900
                                       Washington, D.C. 20005
                                       Telephone: (202) 442-3555
                                       Fax: (202) 315-3852
                                       magid.chip@dorsey.com

                                       Counsel for NorthWestern Corporation,
                                       d/b/a NorthWestern Energy




                                        xvii
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 27 of 156



  RULE 26.1 DISCLOSURE STATEMENT OF MIDWEST OZONE GROUP

       Pursuant to Federal Rules of Appellate Procedure and Circuit Rule 26.1 and

 Circuit Rule 26.1, the Midwest Ozone Group, files the following statement:

       Midwest Ozone Group is a continuing association of individuals operated for

 the purpose of promoting the general interests of its membership. Midwest Ozone

 Group has no outstanding shares or debt securities in the hand of the public and has

 no parent company.

        No publicly held company has a 10% or greater ownership interest in the

 Midwest Ozone Group.
 Dated: October 1, 2024                 Respectfully submitted,

                                        /s/ David M. Flannery
 Edward L. Kropp                        David M. Flannery
 Steptoe & Johnson PLLC                 Kathy G. Beckett
 P.O. Box 36425                         Keeleigh S. Huffman
 Indianapolis, Indiana 46236            Steptoe & Johnson PLLC
 317-946-9882                           707 Virginia Street, East
 Skipp.Kropp@steptoe-johnson.com        P.O. Box 1588
                                        Charleston, WV 25326
                                        (304) 353-8000
                                        Dave.Flannery@steptoe-johnson.com
                                        Kathy.Beckett@steptoe-johnson.com
                                        Keeleigh.Huffman@steptoe-johnson.com

                          Counsel for Midwest Ozone Group




                                        xviii
USCA Case #24-1119                 Document #2089013                         Filed: 12/10/2024               Page 28 of 156



                                           TABLE OF CONTENTS

 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
     CASES ..............................................................................................................i

          A.       Parties .....................................................................................................i

                   1.        Petitioners.....................................................................................i

                   2.        Respondents ............................................................................... ii

                   3.        Intervenors ................................................................................. ii

                   4.        Amici ......................................................................................... iii

          B.       Rule Under Review ............................................................................. iii

          C.       Related Cases ...................................................................................... iii

 CORPORATE DISCLOSURE STATEMENTS ......................................................iv

 TABLE OF CONTENTS ........................................................................................xix

 TABLE OF AUTHORITIES ............................................................................... xxiii

 GLOSSARY OF ABBREVIATIONS AND ACRONYMS ................................. xxx

 INTRODUCTION ..................................................................................................... 1

 JURISDICTION......................................................................................................... 5

 STATEMENT OF ISSUES ....................................................................................... 5

 STATUTES AND REGULATIONS ......................................................................... 7

 STATEMENT OF THE CASE .................................................................................. 8

          A.       Setting and Revising Emission Standards Under Section
                   112 ......................................................................................................... 8

                   1.        The 2012 Mercury and Air Toxics (MATS) Rule .................... 10

                   2.        Michigan v. EPA and Subsequent Appropriate and
                             Necessary Determinations ........................................................ 11



                                                             xix
USCA Case #24-1119                Document #2089013                       Filed: 12/10/2024             Page 29 of 156



                   3.       The 2020 Section 112(f)(2) and Section 112(d)(6)
                            Reviews and the Executive Order on Climate
                            Change....................................................................................... 12

          B.       The 2023 Section 112(f)(2) and 112(d)(6) Re-Reviews
                   and the 2024 Revisions to the MATS Rule......................................... 13

                   1.       Revision to the Surrogate fPM Emission Standard .................. 14

                   2.       Revision to the Mercury Emission Standard for
                            Lignite-Fired EGUs................................................................... 16

                   3.       Mandate to Demonstrate Compliance with the
                            Lowered Surrogate fPM Standard Using CEMS ...................... 18

          C.       EPA’s Cost-Benefit and Cost-Effectiveness Analyses for
                   the 2024 MATS Rule .......................................................................... 19

          D.       EPA’s Grid Reliability Analysis ......................................................... 21

 SUMMARY OF THE ARGUMENT ...................................................................... 23

 STANDING ............................................................................................................. 28

 STANDARD OF REVIEW ..................................................................................... 30

 ARGUMENT ........................................................................................................... 31

 I.       The Rule Is Contrary To Statute .................................................................... 31

          A.       The Rule is Not “Necessary” .............................................................. 32

                   1.       Section 112(d)(6) Permits EPA to Revise Power
                            Plant Emission Standards Only Where
                            “Necessary” to Protect Public Health ....................................... 32

                   2.       EPA’s Own Analysis Shows that its Revisions to
                            the MATS Rule are Not “Necessary” ....................................... 35

                   3.       EPA’s Interpretation of “Necessary” Misreads the
                            Statute and Contradicts the Agency’s
                            Interpretation in Numerous Other Rulemakings....................... 39



                                                           xx
USCA Case #24-1119            Document #2089013                        Filed: 12/10/2024             Page 30 of 156



       B.      EPA Has Not Identified a “Development” that
               Authorizes Further Rulemaking Under Section 112(d)(6) ................. 45

               1.       Meeting the Current Emission Standards is Not a
                        “Development” Supporting Revision ....................................... 46

               2.       Achieving the Standard at Costs Lower Than
                        Estimated in 2012 is Not a “Development” for
                        Section 112(d)(6) ...................................................................... 48

               3.       EPA’s Purported “Incremental” Developments are
                        a Makeweight that Do Not Support Revising the
                        Standards ................................................................................... 50

               4.       Surface Finishing Does Not Justify EPA’s
                        Interpretation ............................................................................. 52

 II.   The Rule is Arbitrary and Capricious ............................................................ 54

       A.      EPA’s Consideration of Costs is Arbitrary and
               Capricious ............................................................................................ 54

               1.       The Rule Imposes Substantial Costs Without Any
                        Demonstrated Benefit from the Reduction in HAP
                        Emissions .................................................................................. 55

               2.       EPA’s Cost-effectiveness Analysis is Arbitrary
                        and Capricious........................................................................... 58

       B.      EPA’s Failure to Meaningfully Consider the Rule’s
               Impacts on the Power Grid is Arbitrary and Capricious ..................... 61

       C.      The Rule Is Based on Unreliable and Insufficient
               Arbitrarily Truncated Data and Unsupported
               Assumptions ........................................................................................ 65

               1.       EPA’s fPM Analysis is Deeply Flawed .................................... 66

                        a.        The Revised fPM Standard Relies on Unsupported
                                  Assumptions that Run Counter to the Empirical Data ... 66
                        b.        EPA’s Refusal to Account for a Compliance Margin
                                  is Unreasonable............................................................... 70


                                                       xxi
USCA Case #24-1119               Document #2089013                       Filed: 12/10/2024              Page 31 of 156



                  2.       EPA’s Mercury Emission Analysis is Based on
                           Biased, Insufficient and Unreliable Data .................................. 73

                           a.       Mercury Data Emissions from Lignite Facilities
                                    Do Not Support the 1.2 lb/TBtu Mercury Limit ............ 74
                           b.       EPA’s Mercury Analysis Fails to Show the New Limit
                                    is Feasible Due to Data Deficiencies and Flawed
                                    Assumptions ................................................................... 76
                           c.       The Rule’s Mercury Cost Analysis is Defective ............ 81
         D.       The Colstrip Power Plant Exemplifies EPA’s Arbitrary
                  and Capricious Decisionmaking in the Rule ....................................... 82

                  1.       EPA Failed to Properly Assess the Risks of
                           Colstrip’s Retirement ................................................................ 85

                           a.       Colstrip Petitioners Articulated Substantial Risks
                                    from the Rule .................................................................. 85
                           b.       EPA Declined to Meaningfully Consider Those
                                    Risks................................................................................ 89
                  2.       EPA Rejected, Without Reasonable Basis, Colstrip
                           Petitioners’ Request for a Retirement Subcategory
                           Aimed at Ameliorating Those Risks......................................... 95

         E.       The Rule is Pretextual ......................................................................... 98

 CONCLUSION ...................................................................................................... 105

 CERTIFICATE OF COMPLIANCE ..................................................................... 116

 CERTIFICATE OF SERVICE .............................................................................. 117




                                                         xxii
USCA Case #24-1119               Document #2089013                     Filed: 12/10/2024           Page 32 of 156



                                      TABLE OF AUTHORITIES

 Cases

 Air All. Houston v. EPA,
   906 F.3d 1049 (D.C. Cir. 2018) ...........................................................................29

 Allentown Mack Sales & Serv., Inc. v. N.L.R.B.,
    522 U.S. 359 (1998) ...................................................................................... 74, 82

 Appalachian Power Co. v. EPA,
   251 F.3d 1026 (D.C. Cir. 2001) ...........................................................................93

 Armour & Co. v. Wantock,
   323 U.S. 126 (1944) .............................................................................................32

 Ass’n of Battery Recyclers, Inc. v. EPA,
   716 F.3d 667 (D.C. Cir. 2013) ................................................................ 42, 58, 93

 AT&T Corp. v. Iowa Utils. Bd.,
   525 U.S. 366 (1999) .............................................................................................33

 AT&T Wireless Servs., Inc. v. FCC,
   270 F.3d 959 (D.C. Cir. 2001) .............................................................................89

 Biden v. Nebraska,
   600 U.S. 477 (2023) .............................................................................................28

 BST Holdings, LLC v. OSHA,
   17 F.4th 604 (5th Cir. 2021) ...............................................................................104

 Burlington Truck Lines, Inc. v. United States,
  371 U.S. 156 (1962) ..............................................................................................32

 Career Coll. and Sch. of Tex. v. Dep’t of Educ.,
   98 F.4th 220 (5th Cir. 2024) ...............................................................................104

 Citizens to Preserve Overton Park, Inc. v. Volpe,
   401 U.S. 402 (1971) ...........................................................................................104

 Clean Wis. v. EPA,
   964 F.3d 1145 (D.C. Cir. 2020) ...........................................................................29



                                                        xxiii
USCA Case #24-1119               Document #2089013                     Filed: 12/10/2024           Page 33 of 156



 Del. Dep’t of Natural Res. & Envtl. Control v. EPA,
   785 F.3d 1 (D.C. Cir. 2015) .............................................................. 61, 64, 65, 93

 Dep’t of Commerce v. New York,
   588 U.S. 752 (2019) ................................................................ 29, 98, 99, 104, 105

 Duke Power Co. v. Fed. Power Comm’n,
   401 F.2d 930 (D.C. Cir. 1968) .............................................................................93

 Ergon-West Virginia, Inc. v. EPA,
   896 F.3d 600 (4th Cir. 2018) ................................................................................93

 FCC v. Fox Television Stations,
   556 U.S. 502 (2009) .............................................................................................60

 FDA v. Brown & Williamson Tobacco Corp.,
   529 U.S. 120 (2000) .............................................................................................32

 FEC v. Cruz,
   569 U.S. 289 (2022) .............................................................................................53

 GPA Midstream Ass’n v. DOT,
   67 F.4th 1188 (D.C. Cir. 2023) ............................................................................57

 GTE Serv. Corp. v. FCC,
   205 F.3d 416 (D.C. Cir. 2000) .............................................................................33

 Hunt v. Washington State Apple Advert. Comm’n,
   432 U.S. 333 (1977) .............................................................................................29

 Int’l Union, United Mine Workers of Am. v. Mine Safety & Health Admin.,
    626 F.3d 84 (D.C. Cir. 2010) ........................................................................ 90, 98

 Loper Bright Enters. v. Raimondo,
   144 S. Ct. 2244 (2024) ................................................................ 31, 44, 46, 52, 53

 Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) .............................................................................................28

 Maryland v. EPA,
  958 F.3d 1185 (D.C. Cir. 2020) ...........................................................................30




                                                        xxiv
USCA Case #24-1119               Document #2089013                     Filed: 12/10/2024           Page 34 of 156



 Massachusetts v. EPA,
  549 U.S. 497 (2007) .............................................................................................29

 McCulloch v. Maryland,
  17 U.S. 316 (1819) ...............................................................................................32

 Mexican Gulf Fishing Co. v. U.S. Dep’t of Commerce,
  60 F.4th 956 (5th Cir. 2023) .................................................................................55

 Miami-Dade Cnty. v. EPA,
   529 F.3d 1049 (11th Cir. 2008) ............................................................................71

 Michigan v. EPA,
   576 U.S. 743 (2015) ...................... 8, 11, 25, 33, 34, 38, 41, 42, 43, 54, 58, 89, 94

 Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.,
  463 U.S. 29, 43 (1983)........................................................... 31, 32, 53, 70, 84, 94

 Nat’l Ass’n for Surface Finishing v. EPA,
   795 F.3d 1 (D.C. Cir. 2015) .......................................................................... 41, 48

 Nat’l Shooting Sports Found. v. Jones,
   716 F.3d 200 (D.C. Cir. 2013) .............................................................................95

 New York v. Dep’t of Commerce,
   351 F.Supp.3d 502 (S.D.N.Y. 2019) ....................................................................99

 NRDC v. EPA,
   529 F.3d 1077 (D.C. Cir. 2008) .......................................................... 9, 44, 48, 73

 Ohio v. EPA,
   144 S. Ct. 2040 (2024) ...................................................................... 64, 67, 80, 84

 Portland Cement Ass’n v. EPA,
   665 F.3d 177 (D.C. Cir. 2011) ...................................................................... 64, 91

 Rowan Cos., Inc. v. U.S.,
   452 U.S. 247 (1981) .............................................................................................34

 Sierra Club v. Costle,
   657 F.2d 298 (D.C. Cir. 1981). .............................................................................66




                                                        xxv
USCA Case #24-1119               Document #2089013                     Filed: 12/10/2024           Page 35 of 156



 Sierra Club v. EPA,
    884 F.3d 1185 (D.C. Cir. 2018) ...........................................................................76

 Sinclair Wyo. Ref. Co. v. EPA,
    ---F.4th---, 2024 WL 3801747 (D.C.Cir. Jul. 26, 2024)| .....................................31

 Small Ref. Lead Phase-Down Task Force v. EPA,
   705 F.2d 506 (D.C. Cir. 1983) .............................................................................61

 Sweet v. DeVos,
   495 F.Supp.3d 835 (N.D. Cal. 2020) ...................................................................99

 Texas v. EPA,
   829 F.3d 405 (5th Cir. 2016) ................................................................................61

 Texas v. United States,
   86 F.Supp.3d 591 (S.D. Tex. 2015)....................................................................104

 U.S. Sugar Corp. v. EPA,
   830 F.3d 579 (D.C. Cir. 2016) .............................................................................66

 Utility Air Regulatory Group v. EPA,
   573 U.S. 302 (2014) .............................................................................................40

 Webster v. Fall,
   266 U.S. 507 (1925) .............................................................................................52

 West Virginia v. EPA,
   597 U.S. 697 (2022) .............................................................................. 5, 101, 102

 White Stallion Energy Ctr., LLC. v. EPA,
  748 F.3d 1222 (D.C. Cir. 2014) ........................................................................... 11

 Whitman v. Am. Trucking Ass’ns, Inc,
  531 U.S. 457 (2001) .............................................................................................47

 Window Covering Mfrs. Ass’n v. Consumer Prod. Safety Comm’n,
   82 F.4th 1273 (D.C. Cir. 2023) ............................................................................91

 Wyoming v. Dep’t of Interior,
   493 F.Supp.3d 1046 (D. Wyo. 2020) ...................................................................38




                                                        xxvi
USCA Case #24-1119                Document #2089013                      Filed: 12/10/2024            Page 36 of 156



 Statutory Authorities

 42 U.S.C. § 7411(g)(4)(B) .......................................................................................40

 42 U.S.C. § 7412(b)(2)...............................................................................................8

 42 U.S.C. § 7412(b)(3)...............................................................................................8

 42 U.S.C. § 7412(b)(3)(B) .......................................................................................33

 42 U.S.C. § 7412(b)(5).............................................................................................51

 42 U.S.C. § 7412(c)(9) ...................................................................................... 57, 84

 42 U.S.C. § 7412(c)(9)(B)(i)................................................................................9, 36

 42 U.S.C. § 7412(d)(1)...............................................................................................8

 42 U.S.C. § 7412(d)(3)...............................................................................................8

 42 U.S.C. § 7412(d)(2)...................................................................................... 40, 42

 42 U.S.C. § 7412(d)(6)............................................................ 2, 9, 23, 25, 31, 43, 52

 42 U.S.C. § 7412(f)(2) ...............................................................................................9

 42 U.S.C. § 7412(n)(1)(A) ...................................................................................8, 34

 42 U.S.C. § 7607(b) ...................................................................................................5

 42 U.S.C. § 7607(d)(1)(C) .......................................................................................42

 42 U.S.C. § 7607(d)(9)...................................................................................... 30, 61

 Rules and Regulations

 10 C.F.R. § 205.371..................................................................................................92

 40 C.F.R. Part 63 ............................................................................................... 27, 41

 65 Fed.Reg. 79825 (Dec. 20, 2000) .................................................................. 10, 35

 69 Fed.Reg. 48338 (Aug. 9, 2004)...........................................................................14

 70 Fed.Reg. 19992 (Apr. 15, 2005) .................................................................. 39, 47


                                                         xxvii
USCA Case #24-1119              Document #2089013                  Filed: 12/10/2024          Page 37 of 156



 71 Fed.Reg. 17729 (Apr. 7, 2006) ...........................................................................39

 71 Fed.Reg. 34422 (Jun. 14, 2006) ..........................................................................14

 71 Fed.Reg. 76603 (Dec. 21, 2006) .........................................................................39

 72 Fed.Reg. 50716 (Sept. 4, 2007) ..........................................................................39

 73 Fed.Reg. 62384 (Oct. 20, 2008)..........................................................................39

 75 Fed.Reg. 54970 (Sept. 9, 2010) ..........................................................................70

 76 Fed.Reg. 24976 (May 3, 2011) .................................................................... 50, 69

 76 Fed.Reg. 81328 (Dec. 27, 2011) .........................................................................49

 77 Fed.Reg. 49490 (Aug. 16, 2012).........................................................................59

 77 Fed.Reg. 58220 (Sept. 19, 2012) ........................................................... 46, 59, 69

 77 Fed.Reg. 9304 (Feb. 16, 2012) ................................ 10, 11, 18, 22, 34, 50, 56, 74

 80 Fed.Reg. 14248 (Mar. 18, 2015) .........................................................................59

 80 Fed.Reg. 37366 (Jun. 30, 2015) ..........................................................................59

 80 Fed.Reg. 50386 (Aug. 19, 2015).........................................................................59

 80 Fed.Reg. 75178 (Dec. 1, 2015) ...........................................................................58

 81 Fed.Reg. 24420 (Apr. 25, 2016) ......................................................................... 11

 84 Fed.Reg. 2670 (Feb. 7, 2019) .............................................................................55

 85 Fed.Reg. 31286 (May 22, 2020) .................................................................. 12, 45

 85 Fed.Reg. 42074 (Jul. 13, 2020) ...........................................................................58

 86 Fed.Reg. 7037 (Jan. 20, 2021) ............................................................................13

 87 Fed.Reg. 1616 (Jan. 11, 2022) ............................................................................59

 87 Fed.Reg. 27002 (May 6, 2022) ...........................................................................59

 88 Fed.Reg. 11556 (Feb. 23, 2023)..........................................................................59


                                                    xxviii
USCA Case #24-1119              Document #2089013                   Filed: 12/10/2024          Page 38 of 156



 88 Fed.Reg. 24854 (Apr. 24, 2023) .................................... 12, 13, 14, 15, 17, 45, 52

 89 Fed.Reg. 26835 (Apr. 16, 2024) .........................................................................36

 89 Fed.Reg. 38508 (May 7, 2024) ... 1, 11, 15, 16, 17, 18, 19, 20, 21, 37, 38, 39, 40,
   41, 50, 54, 55, 56, 57, 58, 59, 60, 61, 62, 64, 65, 71, 72, 73, 74, 75, 76, 78, 79,
   80, 81, 82, 84, 86, 88, 89, 90, 94, 95, 96, 99

 89 Fed.Reg. 39798 (May 9, 2024) .................................................................... 85, 95

 Other Authorities

 Am. Heritage Dictionary (5th ed. 2011) ..................................................................48

 Merriam Webster’s Collegiate Dictionary (10th ed. 1994) .....................................32

 Random House Collegiate Dictionary (rev. ed. 1980) .............................................32

 Additional Materials

 Chemnick et al., What the EPA’s New Plans for Regulating Power Plants
  Mean for Carbon, Sci. Am. (Mar. 11, 2022), https://tinyurl.com/49f7n377 ..... 102

 EPA, Biden-Harris Administration Finalizes Suite of Standards to Reduce
  Pollution from Fossil Fuel-Fired Power Plants (Apr. 25, 2024),
  https://tinyurl.com/y5u92sx3 ................................................................................13

 Geman, B. EPA floats path on electricity CO2 emissions—with an asterisk,
  Axios (Mar. 11, 2022), https://tinyurl.com/yud7weey .......................................101

 Milman, O. New US climate rules for pollution cuts ‘probably terminal’
  for coal-fired plants, The Guardian (May 2, 2024),
  https://tinyurl.com/ykmb9xvn.............................................................................105

 Nat’l Weather Serv., NOAA, How Dangerous is Lightning?,
  https://perma.cc/QB6R-JSXQ .............................................................................36

 PBS NEWS, EPA Administrator Michael Regan discusses Supreme
  Court ruling on climate change (June 30, 2022),
  https://tinyurl.com/4vsn3mcr ............................................................................. 103

 White House, Press Gaggle by Principal Deputy Press Secretary Karine
  Jean-Pierre & Env’t Prot. Agency Adm’r Michael Regan (Feb. 17, 2022),
  https://tinyurl.com/bddpr22j ...............................................................................101

                                                      xxix
USCA Case #24-1119   Document #2089013       Filed: 12/10/2024   Page 39 of 156




           GLOSSARY OF ABBREVIATIONS AND ACRONYMS


  ACI            Activated Carbon Injection
  CAA            Clean Air Act
  CEMS           Continuous Emission Monitoring System
  EGU            Electric Generating Unit
  EPA            Environmental Protection Agency
  fPM            Filterable Particulate Matter
  HAP            Hazardous Air Pollutant
  Hg             Mercury
  MATS           Mercury and Air Toxics Standard
  RIA            Regulatory Impact Analysis




                                   xxx
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024   Page 40 of 156



                                  INTRODUCTION

        This Court should vacate the Mercury and Air Toxics Standards (MATS) Rule

 (Rule) challenged here as both contrary to statute and arbitrary and capricious. See

 J.A.0001(89 Fed.Reg. 38508 (May 7, 2024)). Section 112 of the Clean Air Act

 (CAA) grants the Environmental Protection Agency (EPA) rulemaking authority to

 set emission standards for hazardous air pollutants (HAPs) for a specific purpose: to

 protect public health from the adverse effects of those HAP emissions. The Rule

 loses sight of that purpose entirely.

        The Rule forces coal-fired power plants to reduce their already low emissions

 from certain HAPs by another 66-70%. Even assuming all plants will be able to

 comply with those standards (which remains an open question), EPA calculates the

 Rule will impose compliance costs of nearly $1 billion. Yet by EPA’s own analysis,

 there are no meaningful public health benefits to be gained from the Rule’s mandated

 reduction in HAP emissions. None. Indeed, HAP emissions from coal-fired power

 plants are already well below any threshold that would impact public health—so

 low, in fact, that by statute, EPA could stop regulating the plants under Section 112

 entirely.

        Worse still, the Rule will harm the very communities EPA asserts the Rule is

 meant to serve. According to EPA, reduced emissions will benefit vulnerable

 communities that live near coal-fired power plants. But these communities already



                                          1
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024   Page 41 of 156



 face no appreciable risk from power plant HAP emissions and will suffer grave

 economic harm if EPA’s rule stands—including increased electricity costs and

 threats to the viability of the power plants, not-for-profit rural cooperatives, and

 mining companies that provide those vulnerable communities with much-needed

 jobs and resources.

       Congress demanded better. Under Section 112(d)(6), EPA may only revise

 the MATS rule “as necessary (taking into account developments in practices,

 processes, and control technologies).” 42 U.S.C. § 7412(d)(6). The operative

 statutory phrase is “as necessary,” yet EPA never explained how its Rule met this

 statutory requirement. Nor could it. A Section 112(d)(6) rule that achieves no

 meaningful public health benefits and imposes significant costs could hardly be

 “necessary.” EPA’s failure to establish that the Rule is “necessary” renders it

 unlawful right out of the gate.

       Absent any benefit that would make the Rule “necessary,” EPA asserts the

 Rule is nonetheless justified because there have been “developments” under Section

 112(d)(6). Principally, EPA claims that power plants have been able to meet the

 2012 standards at lower cost than anticipated. But meeting those standards is not a

 “development” under Section 112(d)(6). It is compliance with the law. Emission

 control technologies have not materially changed in the last decade, and alleged cost

 efficiencies for using those long-existent control technologies is similarly not a



                                          2
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 42 of 156



 “development” that justifies the Rule’s dramatic ratcheting down of the standards.

 Consequently, even setting aside that the Rule cannot be “necessary” where it

 provides no meaningful health benefit, EPA’s interpretation of “development”

 conflicts with the statutory text.

       The Rule is also arbitrary and capricious multiple times over. First, EPA’s

 consideration of the costs of its Rule is indefensible.       By EPA’s own flawed

 estimates, the Rule’s mandated reduction in HAP emissions will impose nearly $1

 billion in direct compliance cost in exchange for no meaningful public health

 benefits. And in terms of costs per quantity of HAP emissions reduced, the cost-

 effectiveness of the Rule is significantly higher than cost-effectiveness ratios EPA

 has expressly rejected in the past. EPA has never before used its Section 112(d)(6)

 rulemaking authority to impose costs of such a magnitude without any

 corresponding public health benefit.

       Second, EPA failed to adequately consider the Rule’s significant and

 foreseeable impacts on our nation’s already-strained power grids. EPA expressly

 promulgated this Rule as part of a “suite” of rules targeting coal-fired power plants

 with substantial regulatory costs. EPA’s perfunctory conclusion that the tremendous

 costs of this Rule (and related rules) will have no effect on the power sector does not

 reflect reasoned analysis because the modeling it relies upon is incapable of

 evaluating grid reliability. EPA is not an expert on the power grid, and, despite the



                                           3
USCA Case #24-1119       Document #2089013             Filed: 12/10/2024   Page 43 of 156



 Rule’s foreseeable impact on the power grid, EPA did not seek input from the Federal

 Energy Regulatory Commission (FERC), the North American Electric Reliability

 Corporation (NERC), or any other similar entity that could have apprised it of this

 Rule’s likely impact on long term grid reliability.

       Third, the Rule’s revised MATS emission standards are based on

 fundamentally flawed technical assumptions. The underlying data is clearly and

 demonstrably insufficient, inaccurate, and incapable of supporting the conclusions

 reached through any process of neutral and rational decision-making. For the

 filterable particulate matter (fPM) standard, EPA used a truncated dataset and made

 the completely unsupported assumption that if a unit ever emitted less than the new

 standard, it could meet that standard continuously. And for the mercury standard,

 EPA presented no verified testing data or evidence demonstrating that lignite units

 can meet the Rule’s new standard with any continuity. Moreover, EPA’s compliance

 cost analyses for both fPM and mercury emissions severely understate the costs to

 meet the new standards by using flawed methodology and skipping entire categories

 of costs. Although commenters highlighted this parade of errors, EPA’s dismissive

 responses were conclusory and failed to correct the many demonstrable issues.

       Fourth, both on its own merits, and as illustrative of the Rule’s general

 failings, EPA failed to meaningfully address the outsized impact the Rule would have

 on the Colstrip Power Plant, as well as the communities that rely upon it. Petitioners



                                           4
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024     Page 44 of 156



 highlighted the substantial risk of Colstrip’s premature retirement due to the Rule’s

 high compliance costs when combined with a parallel rule burdening the coal

 industry. Rather than meaningfully assessing such risks (and a proposed regulatory

 alternative that could alleviate those risks), EPA brushed off comments regarding the

 Rule’s impacts on Colstrip as “not credible” with no meaningful explanation.

       Last, there is considerable evidence that EPA’s stated reason for engaging in

 this rulemaking is pretextual. Contrary to EPA’s stated purpose of further protecting

 public health from HAP emissions (which the Rule does not do), available evidence

 indicates that EPA used its Section 112(d)(6) rulemaking authority as part of a

 coordinated regulatory effort to impose retirement-inducing costs on coal-fired

 power plants to force a nationwide transition away from coal—pursuing a national

 policy the Supreme Court expressly held the agency lacks authority to make in West

 Virginia v. EPA, 597 U.S. 697 (2022).

                                  JURISDICTION

       Petitioners timely petitioned for review of the Rule.            This Court has

 jurisdiction pursuant to 42 U.S.C. § 7607(b).

                            STATEMENT OF ISSUES

       1.     Whether the Rule’s revisions to the MATS emission standards are

 contrary to Section 112(d)(6) because EPA neither found nor could have determined




                                          5
USCA Case #24-1119       Document #2089013         Filed: 12/10/2024   Page 45 of 156



 that the revisions were “necessary,” as the mandated emission reductions do not

 result in any meaningful public health benefit.

       2.     Whether the Rule’s revisions to the MATS emission standards are

 contrary to Section 112(d)(6) because they are not based upon any legally relevant

 “development” in practices, processes or control technologies.

       3.     Whether the Rule is arbitrary and capricious when EPA can

 demonstrate no meaningful public health or environmental benefits from the

 mandated reduction in HAP emissions, and all alleged benefits from the Rule are

 ancillary to the Rule’s purpose.

       4.     Whether the Rule is arbitrary and capricious when the cost per ton of

 pollutant removed is orders of magnitude higher than ratios EPA has previously

 rejected as cost ineffective.

       5.     Whether the Rule is arbitrary and capricious because EPA failed to

 reasonably address and respond to comments warning that the Rule would have a

 significant impact on power grid reliability around the country, and that EPA’s

 conclusion to the contrary was based on inaccuracies and faulty assumptions.

       6.     Whether the Rule is arbitrary and capricious because its revised

 emission standard for surrogate fPM is based on insufficient and unreliable data and

 fails to account for a necessary compliance margin.




                                          6
USCA Case #24-1119        Document #2089013           Filed: 12/10/2024    Page 46 of 156



       7.     Whether the Rule is arbitrary and capricious because its revised

 mercury emission standard for lignite-firing power plants is based on insufficient

 and unreliable data, uses faulty methodologies, and is unsupported by data from

 nearly all lignite power plants in operation.

       8.     Whether the Rule is arbitrary and capricious because EPA

 miscalculated the costs that are required to comply with the new mercury and fPM

 emissions limitations.

       9.     Whether the Rule is arbitrary and capricious because of its failure to

 meaningfully address the outsized impacts it would have on the Colstrip Power

 Plant, as well as its failure to meaningfully address the risk of Colstrip Power Plant’s

 premature retirement and the regulatory alternative presented to alleviate those risks.

       10.    Whether the Rule is arbitrary and capricious because it pretextually

 uses EPA’s rulemaking authority under Section 112(d)(6) to impose retirement-

 inducing costs on coal-fired power plants as part of a coordinated regulatory effort

 to do indirectly what the Supreme Court has held EPA cannot do directly: “force a

 nationwide transition away from the use of coal.” West Virginia, 597 U.S. at 735.

                          STATUTES AND REGULATIONS

       The pertinent statutes and regulations are bound separately.




                                            7
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024    Page 47 of 156



                           STATEMENT OF THE CASE

       Section 112 of the CAA (codified at 42 U.S.C. § 7412) provides EPA statutory

 authority to set emission standards for certain specified HAPs. In general, the

 purpose of regulating HAPs under Section 112 is to prevent the “threat of adverse

 human health effects” or “adverse environmental effects.” 42 U.S.C. § 7412(b)(2)-

 (3). Carbon dioxide and similar greenhouse gases are not HAPs subject to Section

 112, and combating climate change is not the purpose of Section 112. See id.

       EPA has promulgated HAP standards for hundreds of emission source

 categories under Section 112. See generally 40 C.F.R. Part 63. This Rule regulates

 certain HAP emissions from coal- and oil-fired power plants (also called EGUs).

       Section 112 “treats power plants differently from other sources” of HAP

 emissions. Michigan v. EPA, 576 U.S. 743, 751 (2015). Before EPA could regulate

 power plants under Section 112, EPA had to determine it was “appropriate and

 necessary” to do so “after considering the results” of “a study of the hazards to public

 health reasonably anticipated to occur as a result of [HAP] emissions by [power

 plants].” 42 U.S.C. § 7412(n)(1)(A).

       A.     Setting and Revising Emission Standards Under Section 112

       In general, when regulating HAP emissions under Section 112, EPA first sets

 standards based on what is achievable with current technology (known as MACT

 standards). See 42 U.S.C. § 7412(d)(1)-(3).



                                            8
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024    Page 48 of 156



       Thereafter, the statute directs EPA to review its standards every eight years to

 determine whether revisions are “necessary.” 42 U.S.C. § 7412(d)(6). In conducting

 that review, EPA must consider, among other things, “developments in practices,

 processes and control technology.” Id. Coinciding with the first of those eight-year

 reviews, EPA must also evaluate whether residual health risks remain. 42 U.S.C. §

 7412(f)(2).

       EPA treats a health risk as “‘presumptively acceptable’” for purposes of

 Section 112(f)(2) if “no individual would face an excess lifetime cancer risk of

 greater than 100-in-one million.” NRDC v. EPA, 529 F.3d 1077, 1080 (D.C. Cir.

 2008). If risks are acceptable, EPA also evaluates whether there is an “ample margin

 of safety” by considering the number of persons subject to a greater than one-in-one

 million risk and other relevant factors, including costs, economic impacts, and

 technological feasibility. Id. at 1082.

       EPA may delete a source category from regulation under Section 112 if its

 HAP emissions do not “cause a lifetime risk of cancer greater than one in one million

 to the individual in the population who is most exposed.”              42 U.S.C. §

 7412(c)(9)(B)(i); see also NRDC, 529 F.3d at 1082 (noting the one-in-one million

 standard is the CAA’s “aspirational goal”). Under the preexisting MATS emission

 standards, the lifetime cancer risk of the person most exposed to coal-fired HAP




                                           9
USCA Case #24-1119       Document #2089013         Filed: 12/10/2024   Page 49 of 156



 emissions in the country is 0.344-in-a-million—significantly lower than the one-in-

 a-million threshold.1

              1.    The 2012 Mercury and Air Toxics (MATS) Rule

       In 2000, after completing the study required by Section 112(n)(1), EPA

 concluded that regulating power plants under Section 112 was “appropriate and

 necessary.” J.A.1982(65 Fed.Reg. 79825 (Dec. 20, 2000)). Flip-flopping ensued

 over the next decade, but EPA ultimately reverted to that finding in 2012 in the

 original MATS rule for coal- and oil-fired EGUs. J.A.2173(77 Fed.Reg. 9304 (Feb.

 16, 2012)). In making that determination, EPA understood “necessary” to mean the

 public health risks from power plant HAP emissions were not already addressed by

 other CAA requirements. J.A.2175(Id. at 9310).

       The original MATS rule set emission levels for mercury (Hg) and other

 specified HAPs. For mercury, that rule set different MACT standards for EGUs that

 use lignite coal compared to other types of coal. EPA drew that distinction because

 lignite has more variability in heat, moisture, and mercury and sulfur content than

 other types of coal, so the same technology cannot consistently achieve the same

 control levels. See J.A.2179(Id. at 9393). For the non-mercury metal HAPs, the

 original MATS rule allowed for measuring each HAP’s emissions individually or


 1
  See J.A.1489(NACCO Cmts. at 15) (citing EPA, Residual Risk Assessment for the
 Coal- and Oil-Fired EGU Source Category in Support of the 2020 Risk and
 Technology Review Final Rule (Sept. 2019) (RRA), Appx. 10, Tbls. 1, 2a).

                                         10
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 50 of 156



 measuring filterable particulate matter as a surrogate for HAP emissions.

 J.A.2186(Id. at 9490, Tbl. 2).    The rule also allowed EGUs to demonstrate

 compliance with non-mercury metal HAP emission standards by using either stack

 testing or a CEMS. J.A.2178, 2185(Id. at 9384, 9469).2

             2.     Michigan v. EPA and Subsequent Appropriate and
                    Necessary Determinations

       The 2012 MATS rule was challenged in litigation, with multiple petitioners

 alleging that EPA’s “appropriate and necessary” determination was improper. This

 Court rejected those challenges, see White Stallion Energy Ctr., LLC. v. EPA, 748

 F.3d 1222 (D.C. Cir. 2014), but the Supreme Court ultimately held EPA interpreted

 Section 112 “unreasonably” in finding that power plant regulation was “appropriate

 and necessary” because EPA had “deemed cost irrelevant to the decision to regulate

 power plants.” Michigan, 576 U.S. at 760.

       In 2016, on remand from this Court, EPA issued a Supplemental Finding

 concluding that it was “appropriate and necessary” to regulate EGUs under Section

 112 after considering cost. J.A.2307(81 Fed.Reg. 24420 (Apr. 25, 2016)). But in

 2020, EPA reversed that conclusion, finding the costs of regulating EGUs under

 Section 112 outweighed the benefits—particularly because alleged ancillary benefits


 2
   Stack testing directly measures the presence of individual non-mercury metal
 HAPs or fPM in exhaust gases on a periodic basis. By contrast, CEMS indirectly
 measures fPM in exhaust gases through light scattering or beta attenuation and does
 so continuously on a 1-minute basis. J.A.0022(89 Fed.Reg. at 38529).

                                         11
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024    Page 51 of 156



 should not be considered when determining whether to regulate HAP emissions

 under Section 112. J.A.2375, 2388(85 Fed.Reg. 31286, 31299 (May 22, 2020)).

       Then in 2023, EPA reversed itself yet again, reinstating its determination that

 it was “appropriate and necessary” to regulate HAP emissions from EGUs under

 Section 112. J.A.0333, 0338(88 Fed.Reg. 24854, 24859 (Apr. 24, 2023)).

             3.     The 2020 Section 112(f)(2) and Section 112(d)(6) Reviews
                    and the Executive Order on Climate Change

       While EPA vacillated on whether it was “appropriate and necessary” to

 regulate EGUs under Section 112, it also conducted the reviews required under

 Sections 112(f)(2) and 112(d)(6). In its 2020 Section 112(f)(2) review, EPA found

 the “risk due to emissions of air toxics to be acceptable from [coal- and oil-fired

 EGUs] and determined that the current [standard] provides an ample margin of

 safety to protect public health and prevent an adverse environmental effect.”

 J.A.2403(85 Fed.Reg. at 31314). And in its 2020 Section 112(d)(6) review, EPA

 determined there were no “developments” in emissions control technologies,

 practices, or processes that could support revising the MATS Rule under Section

 112(d)(6). See J.A.2387(Id. at 31298). Accordingly, EPA proposed no revisions to

 the original MATS rule. Id.

       But six months later there was a change in presidential administration, and the

 current Administration issued Executive Order 13990—“Protecting Public Health

 and the Environment and Restoring Science to Tackle the Climate Crisis”—directing


                                         12
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 52 of 156



 all executive agencies to “immediately commence work to confront the climate

 crisis.” J.A.2414(86 Fed.Reg. 7037 (Jan. 20, 2021)). That Order directed EPA to

 consider “suspending, revising, or rescinding” various agency actions, including the

 2020 Section 112(f)(2) and 112(d)(6) reviews for the MATS rule. J.A.2415(Id. at

 7038, Sec. 2 (iv)). It did so even though EPA’s statutory authority for promulgating

 the MATS rule has nothing to do with climate change—Section 112 regulates HAP

 emissions, not greenhouse gases.

       B.     The 2023 Section 112(f)(2) and 112(d)(6) Re-Reviews and the 2024
              Revisions to the MATS Rule

       EPA therefore re-examined its 2020 Section 112(f)(2) and (d)(6) reviews for

 the MATS rule and issued the Rule challenged here. EPA expressly promulgated

 this Rule as one part of a “suite” of rules that impose substantial regulatory costs on

 coal-fired power plants—including the profoundly impactful GHG Rule. See EPA,

 Biden-Harris Administration Finalizes Suite of Standards to Reduce Pollution from

 Fossil Fuel-Fired Power Plants (Apr. 25, 2024), https://tinyurl.com/y5u92sx3.

       For its Section 112(f)(2) re-review, EPA reached the conclusion it had reached

 only a few years prior—there are no residual risks to public health or the

 environment remaining after implementation of the original MATS rule.

 J.A.0345(88 Fed.Reg. at 24866); see also J.A.0374(id. at 24895) (“the residual risk

 assessment showed all modeled exposures to HAP to be below thresholds for public

 health concern”).


                                           13
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 53 of 156



       In other Section 112(d)(6) reviews, EPA has taken the position that if its

 standards already “provide an ample margin of safety to protect public health and

 prevent adverse environmental effects, one can reasonably question whether further

 reviews of technological capability are ‘necessary.’” J.A.1989, 2002(69 Fed.Reg.

 48338, 48351 (Aug. 9, 2004)); see also J.A.2044, 2059(71 Fed.Reg. 34422, 34437

 (Jun. 14, 2006)).    For its 2023 re-review, however, EPA claimed there were

 “developments” that would allow it to mandate lower HAP emission standards for

 coal-fired EGUs even in the absence of any demonstrated public health benefit from

 further reducing those HAP emissions.

       As relevant to this lawsuit, EPA concluded that there had been

 “developments,” purportedly missed by the agency in 2020, which justified revising

 the MATS rule by: (1) reducing the surrogate fPM emission standard for all coal-

 fired EGUs by 66%; (2) reducing the mercury emission standard for lignite coal-

 fired EGUs by 70%; and (3) mandating that compliance with the newly-lowered

 surrogate fPM standard be demonstrated with CEMS rather than allowing the use of

 stack testing for fPM or for the individual non-Hg HAPs.

             1.      Revision to the Surrogate fPM Emission Standard

       In the proposed rule, EPA again found “no new practices, processes, or control

 technologies for non-Hg metal HAP…” J.A.0347(88 Fed.Reg. at 24868). The

 primary control technologies used in 2012 are the same as today. See J.A.0376(2023



                                         14
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024      Page 54 of 156



 Technology Review for the Coal- and Oil-Fired EGU Source Category (Jan. 2023)

 (2023 Tech. Review) at 1).

       EPA nevertheless proposed to ratchet down the surrogate fPM standards based

 principally on its interpretation that the following constituted Section 112(d)(6)

 “developments”: many existing coal-fired EGUs were (1) emitting below the

 original fPM emission limit and (2) meeting those emission standards at costs lower

 than estimated when promulgating the original MATS rule. See J.A.0345-0351(88

 Fed.Reg. at 24866-72). Specifically, in the proposed rule, EPA stated:

           Although “review of fPM compliance data for coal-fired EGUs
            indicated no new practices, processes, or control technologies for non-
            Hg metal HAP, it revealed two important developments … First, it
            revealed that most existing coal-fired EGUs are reporting fPM well
            below the current fPM emission limit … Second, it revealed that the
            fleet is achieving these performance levels at lower costs than assumed
            during promulgation of the original MATS fPM emission limit.”
            J.A.0347(88 Fed.Reg. at 24868).

 And in the Rule, EPA similarly stated:

           “[O]ur judgments regarding developments in fPM control technology
            … largely reflect that the fleet was reporting fPM emission rates well
            below the current standard and with lower costs than estimated during
            promulgation of the 2012 MATS Final Rule.” J.A.0012(89 Fed.Reg.
            at 38519).

       EPA’s technical memorandum made clear that the same technologies that

 underlay the original emission standard for the control of fPM in 2012—electrostatic

 precipitators and fabric filters—were still the primary devices for controlling fPM

 in 2023. J.A.0383-0384(2023 Tech. Review at 8-9). And the performance of those

                                          15
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 55 of 156



 control devices is the same now as it was in 2012—electrostatic precipitators remain

 capable of collection efficiencies of 99% and fabric filters remain capable of

 collection efficiencies of 99.9%. Id.

       In the Rule, EPA also claimed as “developments” industry best practices

 associated with monitoring electrostatic precipitator operation, and that more

 “durable” materials for fabric filters had been developed since the original MATS

 rule. J.A.0023(89 Fed.Reg. at 38530); see also J.A.0383-0384(2023 Tech. Review

 at 8-9) (basing the conclusion there had been a “development” upon a report which

 attributed fPM emission reductions to “wider deployment today of technologies that

 may have existed but not widely used in 2011, improved practices due to more

 regular and robust monitoring, and improvements to monitoring and [electrostatic

 precipitator/fabric filter] technology”).    In other words, EPA claimed that

 technologies existing and used in 2011 had become less expensive and more widely

 used in the intervening decade. Id. Based on those alleged “developments,” the

 Rule mandates that all coal-fired EGUs reduce their emissions of surrogate fPM by

 66%, dropping the standard from 0.030 lb/MMBtu to 0.010 lb/MMBtu. J.A.0023(89

 Fed.Reg. at 38530).

              2.    Revision to the Mercury Emission Standard for Lignite-
                    Fired EGUs

       For mercury emissions, the primary control technology used by all coal-fired

 EGUs remains activated carbon injection (ACI)—the same technology that EPA


                                         16
USCA Case #24-1119        Document #2089013           Filed: 12/10/2024   Page 56 of 156



 acknowledges was available at the time of the original MATS rule. See J.A.0359(88

 Fed.Reg. at 24880); J.A.0396-0397(2023 Tech. Review at 21-22). EPA justified

 ratcheting down the mercury standard further with the same technology by

 concluding that:

          … units could meet the final, more stringent, emission standard of 1.2
          lb/TBtu by utilizing brominated activated carbon at the injection rates
          suggested in the beyond-the-floor memorandum from the 2012 MATS
          Final Rule.

 J.A.0040(89 Fed.Reg. at 38547).

          But EPA offered no credible evidence to support this finding. Notably, EPA

 continued to rely on information available at the time of the original MATS rule by

 pointing to ACI rates from a 2012 Beyond-the-Floor Memorandum to claim lignite

 units can somehow meet a more stringent standard in 2024 by removing mercury at

 a 90% removal efficiency based on one lignite unit in a Department of Energy (DOE)

 study.     J.A.0040(Id. citing J.A.0090(NESHAP, Beyond-the-Floor Analysis for

 Revised Proposed Emission Standards for New Source Coal- and Oil-fired Electric

 Utility Steam Generating Units (Nov. 16, 2012) (2012 Beyond-the-Floor

 Memorandum) at 4)). The only recent data EPA offered supporting this claim is a

 single lignite plant in Texas (Twin Oaks) that has occasionally achieved the new

 emissions limit. EPA provided no explanation for its decision to treat a single plant

 as representative of the emission controls that will work on all lignite-firing EGUs.

 Instead, EPA summarily claimed that data “clearly demonstrate[s] the achievability


                                            17
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 57 of 156



 of the proposed 1.2 lb/TBtu emission standard [for all] lignite-fired EGUs.”

 J.A.0033(89 Fed.Reg. at 38540). And on these grounds, the Rule mandates further

 reducing mercury emissions from lignite-fired power plants by 70%, dropping the

 standard from 4.0 lb/TBtu to 1.2 lb/TBtu. J.A.0079(89 Fed.Reg. at 38586).

       To further justify its decision, EPA compared characteristics of bituminous

 coal with subbituminous and lignite coals, but failed to consider how subbituminous

 and lignite coals differ from each other. J.A.0033-0034(89 Fed.Reg. at 38540-41);

 see also J.A.0734-0735(Lignite Energy Council Cmts. at 6-7). As noted supra,

 lignite has different heat, moisture, and sulfur content than subbituminous coals,

 reducing the efficacy of injecting activated carbon (the best available control

 technology for mercury).      See J.A.0734(Id. at 6).      While both lignite and

 subbituminous coals typically have low halogens, and both lignite and bituminous

 coals typically have high sulfur, only lignite has both of these characteristics that

 make mercury removal far more difficult than for either bituminous or

 subbituminous coal. Lignite also has far greater variability, increasing the need for

 a larger compliance margin. J.A.0735(Id. at 7).

              3.    Mandate to Demonstrate Compliance with the Lowered
                    Surrogate fPM Standard Using CEMS

       In the original MATS Rule, EPA allowed EGUs to demonstrate compliance

 with the surrogate fPM standard by periodic stack testing (of fPM or of metal HAPs)

 or by using CEMS. J.A.2178(77 Fed.Reg. at 9384). But in the Rule, EPA mandates


                                          18
USCA Case #24-1119        Document #2089013        Filed: 12/10/2024   Page 58 of 156



 that CEMS is the only option to demonstrate compliance for non-integrated coal

 gasification combined cycle boilers, even though it is not a direct measurement of

 fPM. J.A.0084(89 Fed.Reg. at 38591, Tbl. 7).

       C.        EPA’s Cost-Benefit and Cost-Effectiveness Analyses for the 2024
                 MATS Rule

       To comply with an Executive Order, EPA prepared a Regulatory Impact

 Analysis (RIA) that purported to calculate the costs and benefits of its Rule. Under

 EPA’s own calculations (which assume all power plants can comply with the Rule),

 the Rule imposes nearly $1 billion in costs. J.A.0005(89 Fed.Reg. at 38512). And

 on the other side of the ledger, EPA claimed it was unable to quantify any

 improvement in public health or the environment from the further reduction in HAP

 emissions mandated by the Rule. J.A.1785,1817-1818(EPA, Regulatory Impact

 Analysis for the Final National Emission Standards for Hazardous Air Pollutants:

 Coal- and Oil-Fired Electric Utility Steam Generating Units Review of the Residual

 Risk and Technology Review (Apr. 2024) (RIA) at 3-1, 4-1–4-2); see also

 J.A.0011(89 Fed.Reg. at 38518). So, considered in light of the purpose for which

 EPA was given Section 112 rulemaking authority, the quantifiable “benefit” of this

 Rule is zero.

       Facing no quantified public health benefit from the Rule’s mandated reduction

 in HAP emissions, EPA pivoted to the purported benefits of alleged reductions in

 criteria pollutants and greenhouse gases. J.A.0054-0055(89 Fed.Reg. at 38561-62


                                          19
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024    Page 59 of 156



 (quantifying alleged particulate matter, ozone, and climate benefits)); see also

 J.A.1832-1833(RIA at 4-16–4-17) (assessing climate impacts in its benefits

 analysis). But even considering those alleged ancillary benefits to the climate or

 ozone from non-HAP pollutant reductions, EPA acknowledges the Rule still has a

 “negative net monetized benefit”—meaning the costs of the Rule still outweigh the

 benefits by at least $440 million. J.A.0004(89 Fed.Reg. at 38511).3

       EPA also determined “there is not a significant economic impact on a

 substantial number of small entities,” J.A.1900(RIA at 5–8), without offering any

 meaningful response to numerous commenters warning small entities will

 experience costs greater than EPA estimated—particularly cooperatives that serve

 low-income communities especially vulnerable to rate increases. J.A.0501(East

 Kentucky Power Coop. Cmts. at 6); J.A.0923(Minnkota Power Coop. Cmts. at 16).

       Unable to demonstrate a net benefit of the Rule even when considering alleged

 ancillary benefits that cannot drive a Section 112(d)(6) rulemaking, EPA asserts that

 it “did not rely” on its cost-benefit “analysis in choosing the appropriate standard[s]”


 3
   Moreover, while the Rule applies to coal-fired power plants nationwide, a
 substantial burden falls on the Colstrip Power Plant in rural Montana. By EPA’s
 calculations, Colstrip will bear almost half of the Rule’s annual compliance costs.
 See J.A.1561(2024 Technical Memo at 17) (estimating total annualized costs of over
 $87 million, with over $38.8 million annually at Colstrip alone). But the costs are
 of course not limited to Colstrip; small rural cooperatives, which are member-
 owned, not-for-profit electric utilities, and other EGUs will also face significant
 costs from the Rule. E.g., J.A.0668, 0671-0672(NRECA Cmts. at 2, 5-6);
 J.A.0923(Minnkota Power Coop. Cmts. at 16).

                                           20
USCA Case #24-1119      Document #2089013            Filed: 12/10/2024   Page 60 of 156



 in the Rule. J.A.0016(89 Fed.Reg. at 38523). It did, however, rely on an assessment

 of “cost effectiveness,” that is, cost per ton of HAP removed, in revising the

 standards under Section 112(d)(6).            J.A.0024(89 Fed.Reg. at 38531-52);

 J.A.1561(EPA, 2024 Update to the 2023 Proposed Technology Review for the Coal-

 and Oil-Fired EGU Source Category (Jan. 2024) (2024 Technical Memo) at 17).

 For surrogate fPM emissions, EPA calculated costs at $10.5 million per ton of HAP

 removed. J.A.0025-0026(89 Fed.Reg. at 38532-33). This cost is substantially

 higher than ratios EPA itself has rejected as being excessive in other Section 112

 rulemakings. J.A.0540(Westmoreland Cmts. at 4) (compiling examples); see also

 J.A.0016(89 Fed.Reg. at 38523) (“EPA acknowledges that the cost-effectiveness

 values for these standards are higher than cost-effectiveness values that the EPA

 concluded were not cost-effective … for some prior rules.”).

       D.     EPA’s Grid Reliability Analysis

       EPA also did not meaningfully address power outages or grid reliability in its

 RIA, avoiding any detailed analysis in favor of a conclusory statement that the Rule

 will have no significant impact on the power grid or energy prices because it will not

 cause any plant retirements. J.A.0048(89 Fed.Reg. at 38555).




                                          21
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 61 of 156



       EPA received many comments warning that its assumptions about the Rule

 having no foreseeable impact on power grid reliability were significantly mistaken.4

 But EPA did not meaningfully respond to those comments, other than to refer back

 to its own modeling which presumed the Rule would not cause a single plant

 retirement. See J.A.1785-1816(RIA Section 3); J.A.1663-1668, 1751-1752(EPA,

 Summary of Public Comments and Responses on Proposed Rule (Apr. 24, 2024)

 (Response to Comments) at 68-73, 156-57). EPA claims that it consulted with the

 DOE about potential grid impacts of the Rule. See ECF No. 2065849 (EPA Stay

 Opp. Br.) at 34; see also Response of the Federal Respondents in Opposition to the

 Applications for a Stay, No. 24A178 (U.S. Sep. 13, 2024) (EPA SCOTUS Opp. Br.)

 at 31. However, in support of that statement the agency points only to a generic

 Memorandum of Understanding with DOE regarding interagency cooperation. See

 id. (citing J.A.1751-1752(Response to Comments at 156-57)) (“This process is not

 linked to any one regulatory effort or final action.”). Nothing in the record indicates

 EPA consulted with DOE (or any other grid operator or reliability experts, such as

 FERC or NERC) on this specific rule.




 4
   E.g., J.A.1247(Rainbow Energy Cmts. at 4); J.A.0919-0920(Minnkota Power
 Cmts. at 2-3); J.A.1275, 1345-1350(Power Generators Air Coalition (PGen) Cmts.
 at 12, Cichanowicz Report at 39-44), J.A.0671-0672(NRECA Cmts. at 5-6);
 J.A.1061-1071(NMA Cmts. at 17-27).

                                           22
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 62 of 156



       Finally, EPA promulgated this Rule against the backdrop of its failure to

 accurately estimate the impact the last MATS Rule would have on power plant

 operations. The last time a MATS Rule was litigated, EPA claimed it would only

 cause about 5,000 MW of generation to go offline. J.A.2181(77 Fed.Reg. at 9407)

 (“…expected retirements of coal-fueled units as a result of this Rule (4.7 GW) are

 fewer than was estimated at proposal and much fewer than some have predicted”).

 EPA was wrong. It ended up being closer to 60,000 MW.5

                       SUMMARY OF THE ARGUMENT

       The MATS Rule is based on legal interpretations and factual inaccuracies that

 violate the CAA and defy common sense.

       The Rule is Contrary to the Statute. Section 112(d)(6) requires EPA to

 review its Section 112 standards and revise them “as necessary (taking into account

 developments in the practices, processes and control technologies).” 42 U.S.C. §

 7412(d)(6). In other words, for EPA to revise a standard under Section 112(d)(6),

 EPA must demonstrate that such action is “necessary” and that there are



 5
   See J.A.1046-1047(NMA Cmts. at 2, n.4); see also, e.g., U.S. Energy Info. Admin.,
 Planned coal-fired power plant retirements continue to increase (Mar. 20, 2014),
 bit.ly/4dbYwfM (between 2012 and 2020, “about 60 gigawatts of coal-fired capacity
 is projected to retire … assum[ing] implementation of the MATS standards”);
 Pratson et. al., Fuel Prices, Emission Standards, and Generation Costs for Coal v.
 Natural Gas Power Plants, Am. Chem. Soc’y, Env’l Sci. & Tech., 4929 (Mar. 2013),
 bit.ly/3w7yLN2 (most coal-fired EGU retirements in the wake of the original MATS
 Rule were due to “stronger regulations,” not unrelated market forces).

                                         23
USCA Case #24-1119      Document #2089013            Filed: 12/10/2024    Page 63 of 156



 “developments” that make such revision of the standards possible. This Rule is built

 on a misreading of both of those terms.

       First, the Rule is not “necessary.” It is telling that nowhere in the Rule or its

 supporting administrative record does EPA affirmatively assert that the Rule meets

 the statutory requirement of being “necessary.” Nor could it given that there are no

 meaningful public health benefits from the Rule’s mandated reduction in HAP

 emissions. As a matter of statutory interpretation, the term “necessary” requires

 answering the question: necessary for what? And in the context of regulating power

 plant HAP emissions under Section 112(d)(6), the “for what” is advancing the

 statute’s objective, which is protecting the public from harmful regulated HAP

 emissions.   Accordingly, given that EPA has not (and cannot) point to any

 meaningful public health benefit from the Rule’s mandated emission reductions, the

 Rule cannot be “necessary.”

       Second, aside from the lack of health benefits, EPA’s interpretation of

 “development” stretches the statute beyond its breaking point. In 2020 and again in

 2023, EPA concluded that there were no new practices, processes or control

 technologies that would justify tightening the standards in the 2012 MATS rule; and

 that the control technologies are the same today as they were during those reviews.

 Nonetheless, EPA concluded that because power plants were using those

 technologies to meet the existing standards at a lesser cost than anticipated in 2012,



                                           24
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 64 of 156



 that constitutes a “development” sufficient to ratchet down the emission standards

 by 66-70%. But that is not a “development” under Section 112(d)(6). Power plants

 must build in margins to ensure they can maintain 100% compliance, and it defies

 common sense to call that compliance margin a “development” that warrants further

 ratcheting down of the standard. For there to be a “development” under Section

 112(d)(6), there must be a meaningful change in control technology, practices or

 processes that directly correlates to the mandated reduction in emission levels.

 EPA’s capacious interpretation of the term is a power grab that would allow it to

 force nearly any disfavored emission source out of the market.

       In addition, EPA violated the statutory structure of the CAA by purporting to

 use its Section 112(d)(6) authority to alter the monitoring requirements for HAP

 emission limits.   Section 112(d)(6) only addresses revisions to the “emission

 standards.” 42 U.S.C. § 7412(d)(6). Monitoring requirements are addressed by

 another statutory section, Section 112(b)(5), which EPA does not invoke in the Rule.

       Arbitrary and Capricious. The Rule is also arbitrary and capricious for

 several reasons, each of which warrant vacatur.

       First, EPA’s consideration of costs is indefensible. Michigan v. EPA made

 clear that considering costs necessarily entails considering benefits. But the Rule

 imposes nearly $1 billion in compliance costs while providing no quantifiable

 benefits from the Rule’s mandated reduction in HAP emissions. Likewise, the



                                         25
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 65 of 156



 Rule’s cost-effectiveness for fPM emissions (measured in cost-per-ton of HAP

 emissions removed) is substantially higher than cost-per-ton ratios EPA has

 expressly rejected in other Section 112(d)(6) rulemakings (involving the exact same

 HAPs) as cost-ineffective. And even when considering alleged ancillary benefits

 (like alleged climate benefits and criteria pollutant reductions), the Rule still has a

 negative net benefit of over $400 million. In short, if considering advantages and

 disadvantages of a rule has any meaning at all, this Rule fails.

       Second, EPA failed to adequately consider the Rule’s significant and

 foreseeable impacts on our nation’s already strained power grids. Despite numerous

 commenters putting EPA on notice that this Rule would likely force power plant

 retirements, significantly increase electricity costs, and risk grid reliability—both

 individually and when considered in conjunction with EPA’s “suite” of regulations

 targeting coal-fired power plants—EPA simply proclaimed the Rule would cause no

 retirements and no impacts on power grid reliability. This was not reasoned

 decision-making. EPA has no expertise on grid reliability and did not seek out such

 expertise from the federal agencies that do, such as FERC and NERC. EPA failed

 to consider an important aspect of the problem when it failed to meaningfully

 consider the Rule’s foreseeable impact on grid reliability.

       Third, EPA relied on fundamentally flawed technical assumptions that

 undermine the Rule’s evaluation of feasibility and costs. EPA used a biased,



                                           26
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 66 of 156



 truncated and arbitrary fPM dataset and a defective methodology that assumes units

 can achieve continuous compliance based on a few datapoints. And for mercury,

 EPA presents no verified testing data or evidence demonstrating that lignite units can

 meet the new standard with any continuity. Furthermore, the cost analyses for both

 fPM and mercury significantly underestimate the costs necessary to comply with the

 Rule due to biased methodologies, missing cost estimates, and flawed feasibility

 assumptions. EPA did not correct these errors or sufficiently explain why they did

 not, despite many comments and detailed technical reports in the record.

       Fourth, as emblematic of its widespread issues, the rule is arbitrary and

 capricious in its treatment of the Colstrip Power Plant in Montana. According to

 EPA’s calculations, almost half of the Rule’s regulatory costs are imposed on Colstrip

 alone. Yet, EPA failed to meaningfully assess the risks of Colstrip’s premature

 retirement given that this Rule, in conjunction with EPA’s parallel GHG Rule, would

 not provide sufficient time for Colstrip to recover its necessary compliance costs.

 And when Colstrip proposed a compliance alternative, EPA arbitrarily rejected it.

 EPA failed to meaningfully respond to comments addressing the severe and

 disproportionate impact the Rule will have on Colstrip, and failed to properly assess

 the risks of Colstrip’s retirement and the collateral consequences for grid reliability

 and the Montana economy.




                                           27
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 67 of 156



       And finally, there is considerable evidence that EPA’s stated reasons for

 engaging in this rulemaking are pretextual. Contrary to EPA’s statements that it

 promulgated this Rule to further protect public health from HAP emissions, available

 evidence demonstrates that EPA instead used its Section 112(d)(6) rulemaking

 authority as part of a broader regulatory effort to force a nationwide transition away

 from coal for putative climate change reasons. Using rulemaking authority given to

 an agency for achieving a specific purpose to achieve entirely different ends is the

 embodiment of arbitrary and capricious action, and that is especially the case where,

 as here, the end being pursued is a national policy choice the agency lacks authority

 to make.

                                     STANDING

       Article III standing requires an injury that is concrete, particularized, and

 actual or imminent; fairly traceable to the challenged action; and redressable by the

 court. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Only one Petitioner

 need establish standing. Biden v. Nebraska, 600 U.S. 477, 488-89 (2023).

       Petitioners who own coal-fired power plants, including Minnkota Power

 Cooperative, Inc., East Kentucky Power Cooperative, Inc., Associated Electric

 Cooperative, Inc., Basin Electric Power Cooperative, Rainbow Energy Center, LLC,

 Oak Grove Management Company LLC, Luminant Generation Company LLC,




                                          28
USCA Case #24-1119         Document #2089013          Filed: 12/10/2024     Page 68 of 156



 Talen Montana, LLC, and NorthWestern Corporation, d/b/a Northwestern Energy,

 have standing because they are directly regulated by the Rule. See Lujan at 561-62.

       Petitioner Associations, whose members own coal-fired power plants,

 including the Lignite Energy Council, National Rural Electric Cooperative

 Association, National Mining Association, America’s Power, Electric Generators

 MATS Coalition, and Midwest Ozone Group, have associational standing to

 represent their members who are injured. Hunt v. Washington State Apple Advert.

 Comm’n, 432 U.S. 333, 342-45 (1977).

       Petitioners who own coal mines, including NACCO Natural Resources

 Corporation and the Westmoreland entities, have standing because the Rule will

 directly harm their economic interests. See J.A.0537-0538(Westmoreland Cmts. at

 1-2); Dep’t of Commerce v. New York, 588 U.S. 752, 767-68 (2019) (standing where

 “predictable effect of Government action on decision of third parties” will cause

 harm to the plaintiff).

       And Petitioner States have standing because the Rule will cause direct harm

 to their economic interests and ability to protect the public health of its citizens. Air

 All. Houston v. EPA, 906 F.3d 1049, 1059-60 (D.C. Cir. 2018) (state standing where

 agency action would cause state expenses to mitigate harms that could have been

 prevented); see also, e.g., Massachusetts v. EPA, 549 U.S. 497, 522 (2007); Clean

 Wis. v. EPA, 964 F.3d 1145, 1159 (D.C. Cir. 2020). The Rule targets all coal-powered



                                            29
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 69 of 156



 EGUs with new emission standards that impose substantial costs and will likely

 result in the retirement of power plants needed to maintain grid reliability in

 Petitioner States. E.g., J.A.0658(Montana Chamber of Commerce Cmts. at 1);

 J.A.0527-0528(N.D. Dep’t of Environmental Quality Cmts. at 1-2).               These

 retirements will have an inevitable downstream effect on the coal mines that supply

 these EGUs. J.A.1046-1047(NMA Cmts. at 1-2). And even where coal-fired EGUs

 and coal mines may be able to absorb the Rule’s costs without shutting down, they

 will have to pass along significant additional costs to power consumers, including

 Petitioner States themselves. E.g., J.A.0761(American Public Power Ass’n Cmts. at

 11); J.A.0751(America’s Power Cmts. at 1).

       Petitioners’ injuries are traceable to the Rule, which imposes the increased

 costs and jeopardizes the stability of power grids upon which Petitioners rely. E.g.,

 J.A.0913-0914(Electric Reliability Council of Texas, Inc. (ERCOT) Cmts. at 1-2);

 J.A.0900(Indiana Municipal Power Agency Cmts. at 10). A favorable court decision

 vacating the Rule would redress Petitioners’ foreseeable injuries.

                             STANDARD OF REVIEW

       Under the CAA, the Court must reverse a rule that is “arbitrary, capricious, an

 abuse of discretion, or otherwise not in accordance with law; … in excess of statutory

 … authority[] or limitations[;] … or without observance of procedure required by

 law.” 42 U.S.C. § 7607(d)(9). The CAA’s review standards track the review



                                          30
USCA Case #24-1119        Document #2089013          Filed: 12/10/2024    Page 70 of 156



 standards of the Administrative Procedure Act. Maryland v. EPA, 958 F.3d 1185,

 1196 (D.C. Cir. 2020).

       “Agency action is arbitrary and capricious if it ‘has relied on factors which

 Congress has not intended it to consider, entirely failed to consider an important

 aspect of the problem, offered an explanation for its decision that runs counter to the

 evidence before the agency, or is so implausible that it could not be ascribed to a

 difference in view or the product of agency expertise.’” Sinclair Wyo. Ref. Co. v.

 EPA, ---F.4th---, 2024 WL 3801747, *10 (D.C. Cir. Jul. 26, 2024) (quoting Motor

 Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43

 (1983)). Agencies do not receive deference for their interpretation of a statute, or

 for their application of the law to the facts at hand. Loper Bright Enters. v.

 Raimondo, 144 S. Ct. 2244 (2024).

                                    ARGUMENT

 I.    THE RULE IS CONTRARY TO STATUTE

       Under CAA Section 112(d)(6), EPA may only revise the 2012 MATS emission

 standards if doing so is “necessary.” In making that determination, EPA must

 consider, among other things, “developments” in control technologies, practices or

 processes. 42 U.S.C. § 7412(d)(6). The Rule does not meet either of these statutory

 requirements. The Rule also exceeds EPA’s authority under Section 112(d)(6) by

 mandating the use of CEMS as a testing method.



                                           31
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024    Page 71 of 156



        A.     The Rule is Not “Necessary”

        Section 112(d)(6) of the CAA permits EPA to revise HAP standards only “as

 necessary.” 42 U.S.C. § 7412(d)(6) (directing EPA to “review, and revise as

 necessary (taking into account developments in practices, processes, and control

 technologies), emission standards promulgated under this section no less often than

 every 8 years”). “[A]s necessary” is the operative statutory phrase. However,

 nowhere in the Rule (or in its administrative record) did EPA articulate that the Rule

 was “necessary” under Section 112(d)(6). That alone warrants vacating the Rule.

 See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43.6 But even if EPA’s failure to assert

 that the Rule was “necessary” could be overcome or overlooked, it would still not

 clear that bar.

               1.    Section 112(d)(6) Permits EPA to Revise Power Plant
                     Emission Standards Only Where “Necessary” to Protect
                     Public Health

        “It is a ‘fundamental canon of statutory construction that the words of a statute

 must be read in their context and with a view to their place in the overall statutory

 scheme.’” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000).

 That is particularly true when it comes to “the word ‘necessary,’ which has always


 6
   Any argument that EPA now proffers regarding a “necessary finding” is post hoc
 rationalization by counsel that cannot justify the Rule. See Burlington Truck Lines,
 Inc. v. United States, 371 U.S. 156, 168-69 (1962) (“The courts may not accept
 appellate counsel’s post hoc rationalizations for agency action.”).


                                           32
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024   Page 72 of 156



 been recognized as a word to be harmonized with its context.” Armour & Co. v.

 Wantock, 323 U.S. 126, 129-30 (1944). Something may be “necessary” if it is

 “absolutely needed,” Merriam Webster’s Collegiate Dictionary (10th ed. 1994), or

 “essential, indispensable, or requisite,” Random House Collegiate Dictionary (rev.

 ed. 1980). Sometimes “necessary” implies a looser fit, such as “convenient” or

 “useful.” McCulloch v. Maryland, 17 U.S. 316, 421 (1819). But however tight or

 loose, it is impossible to evaluate necessity without appreciating the relationship

 between the thing in question and a goal or end. In other words, an action or

 intervention can only be “necessary” with respect to some “desired goal.” GTE Serv.

 Corp. v. FCC, 205 F.3d 416, 423 (D.C. Cir. 2000).

       Statutory context supplies that goal. It answers the obvious question posed

 by any use of the word “necessary”—“needed” or “essential” or “convenient” for

 what? See AT&T Corp. v. Iowa Utils. Bd., 525 U.S. 366, 388 (1999) (statutory

 direction that the FCC consider whether an action is “necessary” required the FCC

 to apply a standard “related to the goals of the Act”).

       Determining whether revisions are “needed” under Section 112(d)(6)

 therefore requires understanding the statutory scheme of Section 112. And the clear

 purpose of Section 112 is to regulate sources of HAP emissions to protect the public

 from adverse effects of the regulated HAPs. See, e.g., 42 U.S.C. §§ 7412(b)(3)(B),




                                           33
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 73 of 156



 (C) (substances shall be included or deleted from regulation under Section 112 based

 on “adverse effects to human health or adverse environmental effects”).

       That purpose is especially clear for power plants, which are treated

 “differently from other sources for purposes of the hazardous-air-pollutants

 program.” Michigan, 576 U.S. at 751. Before EPA could regulate power plants

 under Section 112, Congress required it to find that “such regulation is appropriate

 and necessary” after considering the results of “a study of the hazards to public

 health reasonably anticipated to occur as a result of [their] emissions.” 42 U.S.C. §

 7412(n)(1)(A) (emphasis added).       EPA itself has recognized that power plant

 regulation is “necessary” pursuant to Section 112(n)(1)(A) only where hazardous

 pollutants from those sources are “reasonably anticipated to pose hazards to public

 health.” J.A.2176(77 Fed.Reg. at 9363); see also J.A.2175(Id. at 9310).

       Given that Congress permitted EPA to regulate power plants only to address

 hazards to public health, it follows that Congress sought for EPA to again use public-

 health benefits as the benchmark when deciding whether revisions to power plant

 regulations are “necessary” under Section 112(d)(6). See Rowan Cos., Inc. v. U.S.,

 452 U.S. 247, 255 (1981) (consistent use of a term in a statutory scheme is “strong

 evidence” Congress intended the term to mean the same thing). Put differently, in

 asking whether revisions are “necessary” within the meaning of this statute, the




                                          34
USCA Case #24-1119          Document #2089013         Filed: 12/10/2024    Page 74 of 156



 inquiry must be whether the revisions are “needed” or “essential” or even (at the

 looser end) “useful” for protecting public health.

       Interpreting “necessary” to require EPA to consider whether its regulation will

 yield meaningful health benefits also accords with the regulatory backdrop against

 which Congress enacted Section 112(d)(6). As the Supreme Court explained in

 taking EPA to task for considering only benefits and ignoring costs in deciding the

 2012 MATS rule was “appropriate and necessary” in the first place: “One would not

 say that it is even rational, never mind ‘appropriate,’ to impose billions of dollars in

 economic costs in return for a few dollars in health benefits.” Michigan, 576 U.S.

 at 753. It follows that it would likewise not be “rational,” or “necessary,” to impose

 a regulation that would yield no marginal benefits to the statutory goal of protecting

 public health from HAP emissions.

                2.      EPA’s Own Analysis Shows that its Revisions to the MATS
                        Rule are Not “Necessary”

       By EPA’s own assessment, the Rule will impart no meaningful public health

 benefits from the mandated reduction in HAP emissions. EPA’s primary justification

 for regulating power plants under Section 112 in the first place was to reduce

 mercury emissions. See J.A.1984(65 Fed.Reg. at 79827). But now, due to either the

 2012 standards or for other reasons, exposures to mercury emissions from power

 plants are, in EPA’s words, “below levels of concern from a public health

 standpoint.”        J.A.1784(RIA at ES-12).    Exposure is so low that EPA itself


                                           35
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 75 of 156



 acknowledged a “lack of quantifiable risks” from power plants’ mercury emissions.

 J.A.1821(Id. at 4-5). This is true even for the “vulnerable populations” that engage

 in subsistence fishing; even for this group, methylmercury exposure is well “below

 the presumptive acceptable cancer risk threshold and noncancer health-based

 thresholds” and cannot be reliably extrapolated to the “broader population of fish

 consumers.” Id.

       Likewise, EPA identified no meaningful health risks from non-mercury metal

 HAP emissions, concluding that the cancer risk from these emissions already “fall[s]

 within the acceptable range,” and it could not “identify or quantify noncancer

 benefits” from a further reduction. J.A.1823(Id. at 4-7).

       EPA’s determination that cancer risks from power plant HAP emissions are

 “below the presumptive acceptable cancer risk threshold” and “within the acceptable

 range” means that the risk is already extremely low. For the coal-fired EGUs affected

 by this Rule, maximum individual lifetime cancer risks range from 0.002 to 0.344 in

 one million—orders of magnitude below Congress’ threshold for deregulating the

 source category entirely. J.A.0118-0130(RRA, Appx. 10, Tbls. 1, 2a); 42 U.S.C. §

 7412(c)(9)(B)(i) (providing that EPA may delist a category when none of its sources

 emits carcinogens at a level that “may cause a lifetime risk of cancer greater than




                                          36
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024        Page 76 of 156



 one in one million” to the “most exposed” individual).7 To put that number in

 perspective, the risk of being struck by lightning during one’s lifetime is 65 in one

 million—over 200 times higher than the cancer risk from any coal plant’s emissions.

 See   Nat’l   Weather     Serv.,   NOAA,      How     Dangerous         is    Lightning?,

 https://perma.cc/QB6R-JSXQ.

       EPA’s cost-benefit analysis (performed per Executive Order, separate from

 EPA’s justifications for the Rule) confirms that the Rule does not even pretend to

 advance the statutory goal. Despite its own determination that mercury exposure

 levels are “unlikely to be associated with appreciable risk of deleterious effects

 across the population,” EPA plowed ahead, summarily declaring that there was not

 “zero risk” and that therefore reductions must “further reduce” methylmercury

 exposure to subsistence fishers near power plants affected by the Rule. J.A.0049(89

 Fed.Reg. at 38556).     EPA’s analysis with respect to non-mercury metal HAP

 emissions was just as sparse, with the agency stating only that the emissions

 reductions projected under the Rule would “reduce human exposure.” Id.




 7
   The same is true for the risks associated with non-carcinogenic HAPs. See
 J.A.2526, 2529(89 Fed.Reg. 26835, 26838 (Apr. 16, 2024)) (explaining that EPA
 will delist sources of non-carcinogen HAP emissions if the “hazard quotient” is less
 than one); J.A.0118-0130(RRA, Appx. 10, Tbls. 1, 2a) (the hazard quotient for non-
 carcinogen HAP emissions from coal-fired power plants is one to several orders of
 magnitude below the delisting threshold).

                                          37
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 77 of 156



        For neither mercury nor for non-mercury metal HAPs was EPA able to

 determine that there were any meaningful (or quantified) public health benefits to be

 gained from the Rule’s mandated reduction in HAP emissions, or that the already-

 large margin of safety would increase in any material or measurable way. In other

 words, the only “benefit” EPA could muster from mandating further HAP reductions

 was the unsupported platitude that “less is better.” EPA Stay Opp. Br. at 1; see also

 J.A.0018(89 Fed.Reg. at 38525) (asserting that “Congress sought to minimize the

 emission of hazardous air pollution wherever feasible”). But less is not better when

 less does not yield any meaningful public health benefits, and it is not the standard

 set by statute.

        Thus, under its cost-benefit analysis performed per Executive Order, EPA was

 left to point to alleged benefits from reductions in criteria pollutant and greenhouse

 gas emissions—that is, benefits that are ancillary to and entirely unrelated to the

 HAP emissions that Section 112 was enacted to regulate.            J.A.0046-0052(89

 Fed.Reg. at 38553-59). But, as Chief Justice Roberts noted during the Michigan v.

 EPA oral argument, it would be improper for EPA to use its Section 112 authority to

 “get at the criteria pollutants that you otherwise would have to go through a much

 more difficult process to regulate. In other words, you can’t regulate the criteria

 pollutants through the HAP program[.]”           J.A.2265-2266(Transcript of Oral

 Argument at 59:19–60:5, Michigan v. EPA, Nos. 14-46 (Mar. 25, 2015)); cf., e.g.,



                                          38
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024    Page 78 of 156



 Wyoming v. Dep’t of Interior, 493 F.Supp.3d 1046, 1079 (D. Wyo. 2020) (an agency

 “cannot rationally claim the Rule’s objective is waste prevention while justifying its

 considerable costs almost entirely on climate change benefits”).

       Ultimately, by EPA’s own account, the Rule will impart no meaningful public

 health benefits from further reductions in HAP emissions that it mandates. Ignoring

 a rule’s (lack of) benefits makes no more sense than ignoring its costs—which led to

 the Supreme Court’s rebuke in Michigan the last time around. This time, EPA has

 simply blinded itself to the other side of the scale. Because EPA plowed ahead with

 this (costly) Rule in the absence of any meaningful public health benefits, the Rule

 must be set aside.

              3.      EPA’s Interpretation of “Necessary” Misreads the Statute
                      and Contradicts the Agency’s Interpretation in Numerous
                      Other Rulemakings

       For decades, EPA noted that the findings underlying an evaluation of whether

 a regulation already provides an ample margin of safety for public health “should be

 key factors” in deciding whether regulation is “necessary” under Section 112(d)(6).

 J.A.2010, 2027(70 Fed.Reg. 19992, 20009 (Apr. 15, 2005)) (“[W]e believe that the

 findings that underlie a section 112(f) determination should be key factors in making

 any subsequent section 112(d)(6) determinations for the related section 112(d)

 standard.”); see also J.A.2034, 2036-2037, 2041(71 Fed.Reg. 17729, 17731-32,

 17736 (Apr. 7, 2006)) (same); J.A.2082, 2096(72 Fed.Reg. 50716, 50730 (Sept. 4,



                                          39
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 79 of 156



 2007)) (finding certain controls unnecessary under 112(d)(6) due in part to “the

 relatively small reductions in health risks”); J.A.2109, 2129(73 Fed.Reg. 62384,

 62404 (Oct. 20, 2008)) (“the instruction to revise ‘as necessary’ indicates that EPA”

 may consider “relevant factors” beyond technology, “such as costs and risk”);

 J.A.2069, 2072(71 Fed.Reg. 76603, 76606 (Dec. 21, 2006)) (considering the “effect

 in reducing public health risk” in determining that it was not “necessary” to revise

 HAP emission standards).

       Consequently,     even    the   Rule    acknowledges     (with    considerable

 understatement), that “EPA has considered risks as a factor in some previous

 [Section 112(d)(6)] reviews.” J.A.0018(89 Fed.Reg. at 38525).

       Nonetheless, EPA defends the Rule’s refusal to account for the absence of any

 meaningful public health benefits by characterizing Section 112(d)(6) as a

 technology-based statute that reflects Congress’s goal to reduce emissions as much

 as “achievable.” J.A.0024(89 Fed.Reg. at 38531). But Section 112(d)(6) uses the

 word “necessary,” not the word “achievable,” and where Congress wanted EPA to

 reduce emissions as much as “achievable,” it said so. For instance, in regulating

 power plants under the neighboring Section 111 of the CAA, Congress directed EPA

 to “revise” an emission standard for new plants if the existing limit “no longer

 reflects the greatest degree of emission limitation achievable.”       42 U.S.C. §

 7411(g)(4)(B). And even within other locations of Section 112 itself, such as the



                                          40
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024     Page 80 of 156



 provision for initially setting MACT-based emission levels, Congress knew how to

 direct “the maximum degree of reduction … achievable.” 42 U.S.C. § 7412(d)(2).

 Section 112(d)(6)’s deliberately different use of the term “necessary” must be given

 meaning. Utility Air Regulatory Group v. EPA, 573 U.S. 302, 316 (2014) (“[W]e,

 and EPA, must do our best, bearing in mind the “‘fundamental canon of statutory

 construction that the words of a statute must be read in their context and with a view

 to their place in the overall statutory scheme.’” ”) (citation omitted).

       Moreover, although Section 112(d)(6) tells EPA to take technological

 developments “into account” as part of its necessity evaluation, that language

 requires only that EPA account for whether technological developments have made

 revisions possible while evaluating whether revisions are “necessary” in light of the

 statute’s public-health goals. It does not require that EPA impose tighter standards

 simply because developments make them possible. Had Congress wanted the latter,

 it would not have limited EPA to “necessary” revisions—those for which there is a

 “need.” Michigan, 576 U.S. at 757. To paraphrase, “[i]t is unreasonable to infer

 that, by expressly making [technological change] relevant,” this provision

 “implicitly makes [public health benefits] irrelevant.” Id. at 755.

       In its stay motion briefing, EPA has claimed that Section 112(d)(6)’s use of

 the term “necessary” for recurring reviews incorporates Sections 112(d)(2), which

 directs that initial HAP emission standards should be set based on what is



                                           41
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 81 of 156



 “achievable.” EPA SCOTUS Opp. Br. at 3; see also J.A.0024(89 Fed.Reg. at 38531).

 But that reading would require EPA to re-calculate the MACT floor every time that

 it conducts a Section 112(d)(6) review, and this Court has expressly rejected such a

 reading of the statute multiple times. See Ass’n of Battery Recyclers, Inc. v. EPA,

 716 F.3d 667, 673-74 (D.C. Cir. 2013) (rejecting argument that EPA must recalculate

 MACT in accordance with CAA Sections 112(d)(2) and (d)(3) in a 112(d)(6)

 review); Nat’l Ass’n for Surface Finishing v. EPA, 795 F.3d 1, 7-9 (D.C. Cir. 2015)

 (similar).

       Moreover, even if EPA was correct that Section 112(d)(6) reviews require re-

 calculating the “achievable” MACT standards every eight years, EPA’s attempt to

 tie Section 112(d)(6)’s use of the term “necessary” to Section 112(d)(2) fails to

 comport with the special treatment afforded to power plants under Section 112(n)(1).

 Section 112(d)(6) applies only to initial MACT standards “promulgated under this

 subsection.” 42 U.S.C. § 7412(d)(2) (emphasis added). Those are standards for the

 HAP emission sources that Congress required EPA to regulate based, in general, on

 “how much pollution the source emits.” Michigan, 576 U.S. at 747. Section

 112(d)(1) specifies that these standards apply only to major and area sources “listed

 for regulation pursuant to subsection (c).” Power plants, in contrast, are defined

 separately and become subject to Section 112 regulation under subsection (n). Cf.

 42 U.S.C. § 7607(d)(1)(C) (referring separately to actions “under section 7412(d)”



                                          42
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 82 of 156



 and ones “under section 7412(m) or (n)”). EPA revisits its power plant standards

 every eight years, since they are still “promulgated under this section,” 42 U.S.C. §

 7412(d)(6), meaning Section 112 more generally. But, in doing so, the agency must

 look back to Section 112(n)(1)(A)’s special “appropriate and necessary” framework

 for power plants. At a minimum, EPA cannot ignore Section 112(n)(1)(A) when

 asking if revisions are “necessary.”

       Contrary to EPA’s assertion, this Court’s decision in Battery Recyclers does

 not support EPA’s argument here. See J.A.1739(Response to Comments at 144).

 Battery Recyclers held that it was not arbitrary for EPA to revise emissions standards

 for lead smelting facilities under Section 112(d)(6) without “consider[ing] public

 health objectives,” reasoning that “nothing in” that provision’s “text suggests that

 EPA must consider such factors.” 716 F.3d at 672. But that decision does not address

 the meaning of the statutory term “necessary” at all. Moreover, this Court decided

 Battery Recyclers before the Supreme Court clarified in Michigan that a statutory

 command to consider whether “regulation is appropriate and necessary” requires

 “paying attention to the advantages and the disadvantages of agency decisions”—

 meaning EPA can no longer close its eyes to the one side of the scale. Michigan,

 576 U.S. at 753. This Court also decided Battery Recyclers before the Supreme

 Court held agencies deserve no deference in their statutory interpretations because

 courts should determine the “best” reading of the statute, not just whether the



                                          43
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 83 of 156



 agency’s reading is permissible. Loper Bright, 144 S. Ct. at 2273. And Battery

 Recyclers did not involve the regulation of power plants; it involved emission

 sources that Congress directed EPA to regulate without first considering the public

 health benefits of such regulation. 716 F.3d at 670.

       Finally, in its Supreme Court briefing, EPA also contended that limiting

 “necessary” revisions to only those that provide a demonstrable benefit to public

 health “conflates the technology-based approach in subsection (d) with the separate

 legacy risk-based approach in subsection (f).” EPA SCOTUS Opp. Br. at 17. But

 this too is mistaken. Section 112(f)(2) directs the agency to tighten emission

 standards if the initial MACT standard did not achieve an adequate margin of

 safety—i.e., no one faces an excess lifetime cancer risk over 100-in-1-million.

 NRDC, 529 F.3d at 1080. Section 112(d)(6) then allows the agency to further tighten

 the standards in subsequent reviews when there are “developments” that would make

 it possible to do so—but the command that such revisions also be “necessary” still

 requires the agency to demonstrate at least some relevant public health benefit for

 doing so. For example, if current standards presented a cancer risk of 90-in-one

 million, Section 112(f)(2) may not compel tightening them, since there was already

 an ample margin of safety. But if technological developments allowed the risk to be

 reduced by 90% (to 9-in-one million), where the benefits of regulation merited the




                                          44
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024   Page 84 of 156



 costs of the rule, Section 112(d)(6) may empower EPA to impose that health-

 improving revision.

         In other words, Section 112(f) is a floor. But that does not mean there is no

 ceiling. Rather, EPA hits the “necessary” ceiling under Section 112(d)(6) where risks

 are already so low that any further revisions will achieve no demonstrable public

 health benefits from mandating a further reduction in HAP emissions—as is the case

 here.

                                      * * * *

         In short, Section 112(d)(6) only permits EPA to revise the MATS rule when

 doing so is “necessary.” That statutory term must be given meaning. And in the

 context of Section 112—particularly when regulating power plants—revisions can

 only be “necessary” when the mandated reduction in HAP emissions results in some

 meaningful public health benefit. But for this Rule it does not. Consequently, the

 Rule exceeds EPA’s rulemaking authority under Section 112(d)(6).

         B.    EPA Has Not Identified a “Development” that Authorizes Further
               Rulemaking Under Section 112(d)(6)

         Even assuming that EPA could mandate revising emission standards under

 Section 112(d)(6) without demonstrating a benefit to public health from the revised




                                           45
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024    Page 85 of 156



 HAP emission levels, EPA would still need to identify a “development” and explain

 why that development warrants a revision to the standard.

       Since promulgating the original rule in 2012, EPA has twice determined there

 have not been new practices, processes, or control technologies for the MATS rule—

 first in 2020 and again in 2023. See J.A.2403(85 Fed.Reg. at 31314 (2020));

 J.A.0347(88 Fed.Reg. at 24868 (2023)) (“our review of fPM compliance data for

 coal-fired EGUs indicated no new practices, processes, or control technologies for

 non-Hg metal HAP…”). In the Rule, however, EPA reverses course and concludes

 that because EGUs have been meeting current standards at lower costs than

 estimated in 2012, that is a “development” that supports ratcheting down the

 emission standards by 66-70%. But it is not.

              1.     Meeting the Current Emission Standards is Not a
                     “Development” Supporting Revision

       The fact that coal-fired EGUs are meeting the current surrogate fPM and

 mercury emission standards cannot, under any reasonable reading of the term (let

 alone the “best reading of the statute” required under Loper Bright) be considered a

 “development.”

       Under the CAA, all regulated sources must comply with a HAP emission

 standard once it is issued. However, to avoid exceeding those emission limits even

 momentarily, plants must operate at a level that emits less than the applicable

 standard to account for variability in fuel source and typical fluctuations in emissions


                                           46
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 86 of 156



 levels. See J.A.2193, 2204(77 Fed.Reg. 58220, 58231 (Sept. 19, 2012)). In other

 words, plants must set their targets below the HAP emission standard in order to

 comply with a Section 112 rule, and they must build this compliance margin into

 their operations to ensure that the source can meet the emissions standard 100% of

 the time. See J.A.0462-0463(PM CEMS Random Error Contribution by Emission

 Limit (Mar. 22, 2023) (PM CEMS Memo)) (finding margin of 50% was appropriate

 for the MATS Rule).

       Under EPA’s theory, if meeting an emission standard with a compliance

 margin qualified as a “development,” then the agency could continually tighten HAP

 emissions standards until the regulated source could no longer comply with the

 standard 100% of the time. This ever-tightening squeeze is not what Congress

 intended, and even EPA has previously recognized that Section 112(d)(6) puts

 meaningful constraints on its ability to continuously ratchet down HAP emission

 standards. E.g., J.A.2026(70 Fed.Reg. at 20008) (“We reiterate that there is no

 indication that Congress intended for section 112(d)(6) to inexorably force existing

 source standards progressively lower and lower in each successive review…”).

       EPA’s interpretation would have far-reaching impacts, well beyond just those

 EGUs regulated by the MATS Rule. There are more than 100 source-category

 MACT standards that cut across a wide swath of American industry, from power

 plants to petroleum refineries and glass, steel, paper, and chemical manufacturing,



                                         47
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 87 of 156



 landfills, and all types of incinerators. See generally 40 C.F.R. Part 63. If the Court

 upholds EPA’s interpretation, it would empower EPA to drive any disfavored source

 out of business by tightening HAP emission limits until an emission source is unable

 to comply. But the sweeping authority that EPA claims here cannot be found in

 Section 112(d)(6). Whitman v. Am. Trucking Ass’ns, Inc, 531 U.S. 457, 468 (2001)

 (requiring EPA to show a “textual commitment of authority” for its actions). And,

 EPA’s legal theory here directly contradicts what it concluded in 2020—the fact that

 there were no new practices, processes or control technologies means there were no

 developments that would allow revising the MATS Rule under Section 112(d)(6).

 J.A.0010-0011(89 Fed.Reg. at 38517-18).

              2.     Achieving the Standard at Costs Lower Than Estimated in
                     2012 is Not a “Development” for Section 112(d)(6)

       For the same reasons, the fact that EGUs may be able to meet emissions

 standards at lower costs than EPA estimated when it promulgated the 2012 MATS

 Rule cannot constitute a “development” under Section 112(d)(6).

       As used in the context of Section 112(d)(6), the best interpretation of the term

 “development” is some meaningful change or evolution in control technology that

 is related to emissions of the pollutant. E.g., Am. Heritage Dictionary (5th ed. 2011),

 Development (“A significant event, occurrence, or change”). And interpreting

 Section 112(d)(6)’s use of the term “development” to mean some sort of meaningful

 technological change also conforms with this Court’s caselaw and EPA’s own prior


                                           48
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 88 of 156



 position. See, e.g., Final Brief for EPA, Nat’l Ass’n for Surface Finishing v. EPA,

 No. 12-1459, Entry 1514442 at 40-41 (D.C. Cir. Sep. 29, 2014) (describing a

 “development” as among other things, a “significant event, occurrence, or change”).

       This Court has stated the “core requirement” for revising emission standards

 under Section 112(d)(6) is for EPA to identify technological developments. NRDC,

 529 F.3d at 1084 (stating that Section 112(d)(6) requires “the Administrator to

 ‘review, and revise as necessary’ the technology-based standards in light of

 technological developments”) (emphasis added). And EPA itself has previously

 recognized this, defining “developments” for purposes of Section 112(d)(6) as: “(1)

 Any add-on control technology or other equipment that was not identified and

 considered during development of the [prior standard]; (2) Any improvements in

 add-on control technology or other equipment (that were identified and considered

 during development of the [prior standard]) that could result in significant additional

 emissions reductions; (3) Any work practice or operational procedure that was not

 identified or considered during development of the [prior standard]; and (4) Any

 process change or pollution prevention alternative that could be broadly applied to

 the industry and that was not identified or considered during development of the

 [prior standard]”). J.A.2142, 2155(76 Fed.Reg. 81328, 81341 (Dec. 27, 2011)).




                                           49
USCA Case #24-1119      Document #2089013         Filed: 12/10/2024   Page 89 of 156



       Alleged cost-effective compliance using long-existent technologies does not

 meet any of these definitions, and it is not a “development” that would support the

 Rule’s dramatic emission reductions here.8

             3.     EPA’s Purported “Incremental” Developments are a
                    Makeweight that Do Not Support Revising the Standards

       EPA also passingly asserts there have been “incremental” changes in

 technology that justify revising the emission standards. EPA Stay Opp. Br. at 11.

 But those alleged incremental developments cannot justify dropping the emission

 standards by 66-70%.

       For surrogate fPM emissions, EPA claims that increased durability in filter-

 bag material for baghouse controls is an incremental development that warrants a

 ratcheting down of the fPM standard. J.A.0023(89 Fed.Reg. at 38530). But

 improvements in filter durability cannot be a development under the CAA, because

 in setting the HAP emission standard, EPA already presumed that no malfunctions

 will occur. See J.A.2179(77 Fed.Reg. at 9393). In other words, the original

 standards already assume that filter-bags will never break, so any alleged

 improvement in their durability is not a “development” that can have any impact on

 emissions or justify further tightening the standard. J.A.2177(Id. at 9382). More



 8
   Indeed, EPA already determined that the primary control technologies used today—
 electrostatic precipitation and ACI—were not cost prohibitive a decade ago when
 issuing the original MATS rule.

                                         50
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 90 of 156



 durable bags only affect the frequency with which the bags must be replaced, not the

 efficiency of any individual bag or the baghouse controls overall.

       Similarly, EPA’s reliance on the effectiveness of brominated powdered ACI to

 prove that there has been a “development” in mercury emissions control technology

 is misplaced. ACI has been used since 2011, was available for control of mercury

 emissions under the original MATS rule in 2012, and is the same technology used to

 control mercury emissions today. See J.A.0040(89 Fed.Reg. at 38547); J.A.2139,

 2140(76 Fed.Reg. 24976, 25014 (May 3, 2011)) (both defining dry sorbent injection

 as ACI, including brominated ACI). Consequently, the use of brominated ACI is not

 a “development” (incremental or otherwise) that would justify ratcheting down the

 mercury emission standard for lignite-fired EGUs by 70% in the absence of any

 meaningful change in technology.

       EPA cannot claim that the use of CEMS is a development. Aside from the

 lack of developments in CEMS technology itself, J.A.0671(NRECA Comments at

 5), monitoring technologies are not developments under Section 112(d)(6). The

 CAA provides authority for EPA to regulate HAP test methods under Section

 112(b)(5)—a section entirely separate from EPA’s obligation to evaluate

 developments in technology under Section 112(d)(6). See 42 U.S.C. § 7412(b)(5).

 Section 112(d)(6) review requires EPA to consider control technologies that impact

 emissions; there is no requirement to review monitoring methodology in that review.



                                         51
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024    Page 91 of 156



 42 U.S.C. § 7412(d)(6). And this makes sense—monitoring does not directly

 correlate to improvements in emissions control.

              4.     Surface Finishing Does Not Justify EPA’s Interpretation

       EPA has previously relied upon this Court’s decision in National Association

 for Surface Finishing, to justify its capacious interpretation of the term

 “development.” See EPA Stay Opp. Br. at 13 (citing 795 F.3d 1 (D.C. Cir. 2015)).

 But for a variety of reasons, EPA’s invocation of that decision is not persuasive.

       For one, in Surface Finishing, this Court specifically noted that the petitioner

 trade association did not challenge EPA’s broad interpretation of the term

 “developments” under Section 112(d)(6). 795 F.3d at 8. Consequently, the Court

 did not address, let alone rule upon, the validity of EPA’s interpretation of the term.

 Cf. Webster v. Fall, 266 U.S. 507, 511 (1925) (“Questions which merely lurk in the

 record, neither brought to the attention of the court nor ruled upon, are not to be

 considered as having been so decided as to constitute precedents.”).             Here,

 Petitioners do challenge EPA’s interpretation, and the Court must review that legal

 interpretation de novo. Loper Bright, 144 S. Ct. at 2273.

       Second, the Surface Finishing court relied upon “the familiar deferential

 standard announced in Chevron.” 795 F.3d at 7. But after the Supreme Court’s

 Loper Bright decision, courts must now “exercise their independent judgment in




                                           52
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024     Page 92 of 156



 deciding whether an agency has acted within its statutory authority, as the APA

 requires.” 144 S. Ct. at 2273.

       And third, in Surface Finishing EPA identified several new actual advances in

 technologies—emissions elimination devices, HEPA filters, enclosing tank hoods

 and fume suppressants—in support of its determination that there had been

 “developments” that warranted a reduction. 795 F.3d at 11. By contrast, EPA has

 not identified any such new technologies here. Electrostatic precipitators and fabric

 filters were the primary control technologies available for surrogate fPM control

 under the original MATS rule in 2012, and EPA determined those are the same

 technologies used today. J.A.0344(88 Fed.Reg. at 24865). And like in 2012,

 electrostatic precipitators remain capable of collection efficiencies of 99%, and

 fabric filters remain capable of collection efficiencies of 99.9%.          J.A.0383-

 0384(2023 Tech. Review at 8-9). The same holds true for the activated carbon used

 to control mercury emissions.      J.A.0394-0395(Id. at 19-23).        EPA offers no

 explanation how technologies that were available during the promulgation of the

 2012 MATS rule now qualify as Section 112(d)(6) “developments.”

                                     * * * *

       In short, there has been no “development” that could support the Rule’s

 dramatic revisions to the MATS emission standards, and EPA’s interpretation of the

 statutory term is not a reasonable one, let alone the “best one.” Loper Bright, 144 S.



                                          53
USCA Case #24-1119        Document #2089013            Filed: 12/10/2024    Page 93 of 156



 Ct. at 2273. Consequently, EPA lacks authority to revise the MATS Rule under

 Section 112(d)(6), and its promulgation of the Rule was unlawful. See FEC v. Cruz,

 569 U.S. 289, 301 (2022) (an agency “literally has no power to act—including under

 its regulations—unless and until Congress authorizes it to do so by statute”)

 (citations omitted).

 II.   THE RULE IS ARBITRARY AND CAPRICIOUS

       An agency’s rulemaking is arbitrary and capricious “if the agency has relied

 on factors which Congress has not intended it to consider, entirely failed to consider

 an important aspect of the problem … or is so implausible that it could not be

 ascribed to a difference in view or the product of agency expertise.” Motor Vehicle

 Mfrs. Ass’n, 463 U.S. at 43. This Rule is arbitrary and capricious for many reasons,

 each of which warrants vacating it.

       A.     EPA’s Consideration of Costs is Arbitrary and Capricious

       To satisfy the baseline requirement of “reasoned decisionmaking,” let alone

 whether regulation is “necessary,” EPA must account for the Rule’s costs, which

 “requires paying attention to the advantages and the disadvantages” of the Rule.

 Michigan, 576 U.S. at 750, 753, 756. To the extent EPA considers costs and benefits

 in the Rule, that consideration is arbitrary and capricious in at least two distinct ways.




                                            54
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024   Page 94 of 156



              1.    The Rule Imposes Substantial Costs Without Any
                    Demonstrated Benefit from the Reduction in HAP
                    Emissions

       Michigan makes clear that considering costs necessarily entails considering

 benefits, and the agency’s failure to consider both is arbitrary and capricious. 576

 U.S. at 752. EPA estimates that the Rule will impose at least $860 million in direct

 compliance costs. J.A.0005(89 Fed.Reg. at 38512). As discussed supra, those costs

 of nearly a billion dollars are weighed against zero dollars in monetized benefits

 from the mandated reduction in HAP emissions, and no demonstrated risk reduction.

 See J.A.0004-0005(89 Fed.Reg. at 38511-12). It is not “rational … to impose

 billions of dollars in economic costs in return for a few dollars in health or

 environmental benefits,” Michigan, 576 U.S. at 752, let alone where there is “no

 meaningful benefit.” Mexican Gulf Fishing Co. v. U.S. Dep’t of Commerce, 60 F.4th

 956, 966 (5th Cir. 2023).9

       To claim some “benefits” of the Rule, EPA pivots to alleged ancillary benefits

 that are unrelated to HAP emissions. J.A.0005(89 Fed.Reg. at 38512) (claiming

 $300 million in health benefits from reductions of non-HAP pollutants and $130



 9
    EPA’s calculation of $860 million in compliance costs is a significant
 underestimate. See infra Section II.C. EPA also ignores the downstream costs of
 premature closures. See infra Section II.B. And EPA’s failure to consider the Rule’s
 impacts on small entities under the Regulatory Flexibility Act is addressed in
 Petitioner-Intervenor San Miguel’s forthcoming brief. But even taking EPA’s
 claimed costs at face value, they are indefensible.

                                         55
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 95 of 156



 million in other climate benefits). However, as EPA previously acknowledged, “it

 would be highly illogical for the Agency to make a determination that regulation

 under CAA section 112, which is expressly designed to deal with HAP, is justified

 principally on the basis of the criteria pollutant impacts.” J.A.2340, 2346(84

 Fed.Reg. 2670, 2676 (Feb. 7, 2019)). EPA should have applied the same principle

 here. But even accounting for those alleged ancillary benefits, the Rule still has a

 “negative net monetized benefit” of $440 million. J.A.0004-0005(89 Fed.Reg. at

 38511-38512).10

       Faced with no relevant and quantifiable benefits that would justify the Rule,

 EPA next claimed the Rule had nonmonetized and unquantified health benefits from

 HAP reductions. J.A.0046, 0048(89 Fed.Reg. at 38553, 38555). But those alleged

 “non-monetized benefits” from HAP reductions do not justify disregarding the

 hundreds of millions of dollars in cost (even accepting EPA’s calculations). Id.

       For one, although EPA claims that the benefits of the Rule’s mandated

 reduction in HAP emissions escape quantification, J.A.0052(89 Fed.Reg. at 38559),

 quantifying the public health benefits of reducing HAP emissions is entirely

 possible. In fact, EPA did just that the last time it promulgated a MATS Rule. See


 10
   EPA’s reliance on climate benefits adds another layer of arbitrariness because those
 benefits are based on unreliable projections of frequency, scope, and severity of
 future international conflicts and human migrations for the next 300 years, and
 ignore benefits of energy production, among other flaws.                    J.A.0541-
 0548(Westmoreland Cmts. at 5-12.)

                                          56
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024     Page 96 of 156



 J.A.2182(77 Fed.Reg. at 9425) (concluding the 2012 MATS rule’s reduction of 20

 tons of mercury emissions would provide $4-6 million in benefits). Given that this

 Rule will only reduce net mercury emissions by an additional 900 to 1,000 pounds—

 a tiny fraction of the 2012 MATS Rule—EPA’s refusal to quantify the relevant

 benefits of the Rule appears to stem more from the minuscule size of those benefits,

 rather than their inherent nature. See J.A.0005(89 Fed.Reg. at 38512).

       And for another, EPA’s claim that the mandated reduction in HAP emissions

 yields unquantifiable benefits runs headlong into the fact that EPA has quantified the

 lifetime cancer risk associated of HAP exposure from coal-fired power plants, and

 EPA makes no determination how the already tiny 0.344-in-a-million risk for the

 person most exposed would be further reduced by the Rule’s mandated reduction in

 HAP emissions. EPA does not claim, for example, that risk will be reduced to some

 value below 0.344-in-a-million.11 And, as noted supra, that level of risk is already

 far below the aspirational goal of the CAA, whereby EPA could discontinue

 regulating coal-fired plants under Section 112 entirely. 42 U.S.C. § 7412(c)(9).




 11
   To the contrary, while EPA found that reducing HAP emissions under the Rule
 would reduce exposure, it did not find that reducing HAP emissions would cause
 health benefits. See J.A.0004(89 Fed.Reg. at 38511) (EPA “expects that emission
 reductions under the final rulemaking will result in reduced exposure to Hg and non-
 Hg HAP metals. The EPA also projects health benefits due to improvements in
 particulate matter…(PM2.5) and ozone and climate benefits from reductions in
 carbon dioxide (CO2) emissions.”).

                                          57
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024    Page 97 of 156



       Ultimately, all EPA offers is its assurance that there is some relevant benefit

 to the Rule—though it cannot (or will not) quantify it, and it cannot (or will not)

 explain how it reduces the risk of adverse health effects. Cf. GPA Midstream Ass’n

 v. DOT, 67 F.4th 1188, 1200 (D.C. Cir. 2023) (“Without quantified benefits to

 compare against costs, it is not apparent just how the agency went about weighing

 the benefits against the costs.”).

       EPA expressly disclaims reliance on its cost-benefit analysis as a basis for the

 Rule. J.A.0047(89 Fed.Reg. at 38554). But just as it is unlawful to promulgate a

 Rule that imposes nearly a billion dollars in costs in exchange for no meaningful

 benefits, it is likewise unlawful to ignore the Rule’s lack of benefits resulting from

 the Rule’s reduction of HAP emissions. By failing to actually “consider whether the

 costs of its decision outweighed the benefits,” Michigan, 576 at 750, EPA failed in

 its obligation to engage in reasoned decisionmaking.

              2.     EPA’s Cost-effectiveness Analysis is Arbitrary and
                     Capricious

       Having arbitrarily ignored the Rule’s adverse cost benefit analysis, EPA

 claimed to consider cost using other cost metrics including cost-effectiveness. But

 EPA’s treatment of cost-effectiveness is also arbitrary and capricious.        EPA’s

 uniform, historic practice is to consider cost effectiveness as part of its [Section

 112(d)(6)] review. See, e.g., Ass’n of Battery Recyclers, Inc., 716 F.3d at 674. For

 surrogate fPM emissions, by EPA’s own math, the cost-effectiveness of the Rule is


                                          58
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 98 of 156



 $10.5 million per ton of HAP removed. J.A.0025-0026(89 Fed.Reg at 38532-33).

 EPA acknowledges, with a degree of understatement, that the “cost-effectiveness

 values for [the Rule] are higher than cost-effectiveness values that the EPA

 concluded were not cost-effective . . . [in] prior rules.” J.A.0016(89 Fed.Reg. at

 38523).

       In fact, when compared on an apples-to-apples basis to EPA actions for the

 same pollutants from other industries, this Rule appears to be among the least cost-

 effective rules ever enacted by EPA, especially considering the absence of any

 demonstrated health or environmental risk being remedied by the Rule. J.A.0539-

 40(Westmoreland Cmts. at 3-4). And EPA has expressly rejected far smaller cost-

 effectiveness ratios for being excessive in other Section 112(d)(6) rulemakings. See,

 e.g., J.A.2305-2306(80 Fed.Reg. 75178, 75201 (Dec. 1, 2015) (petroleum refining)

 ($10 million/ton of non-Hg metal HAP)); J.A.2410-2411(85 Fed.Reg. 42074, 42088

 (Jul. 13, 2020) (Iron and Steel Manufacturing) ($7 million/ton of metal HAP));

 J.A.2484, 2493(88 Fed.Reg. 11556, 11565 (Feb. 23, 2023) (lead-acid battery

 manufacturing) ($4.7M/ton of lead)).

       To dodge the Rule’s cost-ineffectiveness, EPA purports to “consider cost” via

 a grab-bag of alternative cost metrics including “typical capital and total

 expenditures for the power sector,” “total power sector sales,” and “total PM upgrade

 control costs and emissions of the coal fleet.” J.A.0025-0026(89 Fed.Reg. at 38532-



                                          59
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 99 of 156



 33). But EPA’s claim that this approach is consistent with historic practice is wrong.

 Cf. J.A.0025(Id. n.52). In reality, every rulemaking cited by EPA either found cost-

 effectiveness to be within the range of values EPA had accepted historically, before

 considering other cost metrics,12 or declined to enact a standard due to facility-

 specific determinations of “poor cost effectiveness” even after considering the other

 cost metrics EPA now seeks to rely on.13 Furthermore, the Rule considers those

 alternative cost comparisons solely on an industrywide basis that has the effect of

 spreading costs over a far wider range of units than those that would incur them,

 J.A.0025(89 Fed.Reg. at 38532), and differs from every historic example EPA cited

 accounting for facility specific calculations. EPA cannot claim to act consistent with

 its past practice while doing the precise opposite. FCC v. Fox Television Stations,

 556 U.S. 502, 515 (2009).

                                     * * * *




 12
    J.A.2461, 2467(87 Fed.Reg. 27002, 27008 (May 6, 2022)); J.A.2421, 2440(87
 Fed.Reg. 1616, 1635 (Jan. 11, 2022)); J.A.2267, 2282(80 Fed.Reg. 37366, 37381
 (Jun. 30, 2015)); J.A.2227, 2233-2235(80 Fed.Reg. 14248, 14254-56 (Mar. 18,
 2015)); J.A.2193, 2199-2201(77 Fed.Reg. 58220, 58226-28 (Sept. 19, 2012)); see
 also J.A.2190, 2192(77 Fed.Reg. 49490, 49523 (Aug. 16, 2012) (most of this rule,
 cited by EPA, was not based on Section 112(d)(6), see, e.g., id. at 49501; but
 regardless, EPA relied on cost effectiveness for the one change that was made under
 Section 112(d)(6))).
 13
    J.A.2421, 2438(87 Fed.Reg. 1616, 1633 (Jan. 11, 2022)); J.A.2303-2304(80
 Fed.Reg. 50386, 50398 (Aug. 19, 2015)).

                                          60
USCA Case #24-1119      Document #2089013              Filed: 12/10/2024   Page 100 of 156



       In short, even if this Rule had some relevant public health or environmental

 benefit to justify it, the costs it imposes (even according to EPA’s flawed

 calculations) so greatly exceed any such benefits and depart from EPA’s own past

 practice that the Rule is arbitrary and capricious.

       B.     EPA’s Failure to Meaningfully Consider the Rule’s Impacts on the
              Power Grid is Arbitrary and Capricious

       For rulemaking under Section 112, “‘[c]osts’ can mean many different things,

 including the cost associated with increased risk” of grid unreliability. Del. Dep’t of

 Natural Res. & Envtl. Control v. EPA, 785 F.3d 1, 18 (D.C. Cir. 2015). But “EPA

 has no expertise on grid reliability.” Texas v. EPA, 829 F.3d 405, 432 (5th Cir. 2016).

 Due to that lack of expertise on grid reliability, “EPA must support its arguments

 [regarding grid reliability] more thoroughly than in those areas in which it has

 considerable expertise and knowledge.” Id.

       EPA’s perfunctory conclusions that the significant costs this Rule imposes on

 coal-fired EGUs will not cause any premature retirements and have no negative

 impacts to the reliability of the nation’s power grids do not reflect the reasoned

 analysis that the CAA requires. J.A.0048-0049(89 Fed.Reg. at 38555-56); 42 U.S.C.

 § 7607(d)(9); cf. Small Ref. Lead Phase-Down Task Force v. EPA, 705 F.2d 506, 535

 (D.C. Cir. 1983) (The “agency must ‘explain the assumptions and methodology used

 in preparing [a] model’ and if the methodology is challenged, must provide a

 ‘complete analytic defense.’”) (citation omitted). Numerous commenters provided


                                           61
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 101 of 156



 detailed comments putting EPA on notice that the Rule would foreseeably have

 significant impacts on power grid reliability.     Consequently, EPA’s conclusory

 statements that commenters proffered “no credible information” that the Rule would

 lead to premature retirements, and that the Rule would not “threaten resource

 adequacy or otherwise degrade electric system reliability,” J.A.0019(89 Fed.Reg. at

 38526), ignore the substantial evidence in the record.

       As just one example, NorthWestern provided substantial comments detailing

 how (1) upgrades to Colstrip would be cost-prohibitive, (2) the diversion of funds for

 compliance alone would complicate meeting generation demand, and (3) closing

 Colstrip before the mid-2030s would cause a grid reliability crisis. See J.A.0966-

 0967, 0977-0983(NorthWestern Cmts. at 2–3, 13–19). And NorthWestern was not

 alone in warning EPA that its conclusions about power plant retirements and grid

 reliability were flawed.   See also, e.g., J.A.1062-1068(NMA Cmts. at 18-24);

 J.A.0525-0526(Midwest Ozone Group Cmts. at 10-11); J.A.0912(Ameren Cmts. at

 11); J.A.0671-0672(NRECA Cmts. at 5-6); J.A.0744-0745(Lignite Energy Council

 Cmts. at 16-17); J.A.1246-1247(Rainbow Energy Center Cmts. at 3-4). Indeed,

 ERCOT, the regional transmission organization covering much of Texas, expressed

 concerns about the impact that premature retirements of coal-fired power plants due to

 the Rule’s high cost of compliance would have on the Texas power grid, especially

 before new generation comes online. J.A.0913-0914(ERCOT Cmts. at 1-2); see also



                                          62
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024   Page 102 of 156



 J.A.0485-0486(Montana        Public     Service    Commission       Cmts.   at   1-2);

 J.A.0900(Indiana Municipal Power Agency Cmts. at 10); J.A.0761(American Public

 Power Ass’n Cmts. at 11); J.A.0487(America’s Power Cmts. at 1).

       Rather than meaningfully engaging with and responding to those many

 concerns, EPA summarily brushed them off, claiming that it “used a state-of-the-art,

 peer-reviewed model” to determine that the Rule would not lead to any retirements and

 consequently not cause any grid reliability concerns. See J.A.1785-1788, 1817-

 1818(RIA at 3-1-3-4, 3-18); J.A.0019(89 Fed.Reg. at 38526). But EPA’s model is a

 predictive algorithm that estimated future hypothetical generation capacity based on

 the inputs it was provided. See J.A.1785-1788(RIA at 3-1-3-4). In other words, the

 model adds enough new hypothetical resources in the future to guarantee resource

 adequacy, meaning the model EPA uses will never project a resource adequacy

 problem. And here, numerous commenters put EPA on notice that the assumptions

 underlying its inputs were wrong. See supra; see also J.A.1345(Cichanowicz Report

 at 39) (outlining flaws in EPA’s grid reliability modeling).

       Moreover, many commenters put EPA on notice that the power grid reliability

 impacts of this Rule could not be modeled or considered in isolation, but instead had

 to account for the interrelated impacts of myriad other EPA rules impacting coal-fired

 power plants that were being promulgated in rapid succession—including the

 profoundly impactful GHG Rule that this Rule was expressly bundled with and



                                            63
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024   Page 103 of 156



 promulgated alongside. J.A.0923(Minnkota Power Coop. Cmts. at 16); J.A.0872-

 0873(Ohio EPA Cmts. at 1-2); J.A.1284(PGen Cmts. at 21); J.A.1245-46(Rainbow

 Energy Cmts. at 2-3); J.A.0752-0753(American Public Power Ass’n Cmts. at 2-3);

 J.A.1061-1071(NMA Cmts. at 17-27); cf. Portland Cement Ass’n v. EPA, 665 F.3d

 177, 187 (D.C. Cir. 2011) (EPA acts arbitrarily and capriciously when it fails to

 meaningfully “acknowledge and account for” the impacts of “contemporaneous and

 closely related rule[s]”).

        EPA’s failure to offer any meaningful response to the many comments warning

 that the assumptions and inputs underlying its grid reliability model were flawed

 consequently renders the Rule arbitrary and capricious—in promulgating the Rule EPA

 “cannot simply ignore ‘an important aspect of the problem.’” Ohio v. EPA, 144 S. Ct.

 2040, 2051 (2024) (citation omitted); see also Del. Dep’t of Natural Res., 785 F.3d at

 14 (holding that “EPA should have, but did not, respond properly to their well-founded

 concerns” about grid reliability).

        EPA attempted to overcome this problem by referencing a generic

 Memorandum of Understanding with the DOE for interagency cooperation.

 However, EPA fails to demonstrate any such alleged “coordination” happened for

 this Rule.    See J.A.1751-1752(Response to Comments at 156-57) (noting the

 Memorandum of Understanding is “not linked to any one regulatory effort or final

 action.”). Nothing in the record indicates that EPA consulted with DOE, or any other



                                          64
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024     Page 104 of 156



 grid operator or reliability expert on this specific rule, whether in isolation or in the

 context of the multiple rules EPA proposed nearly simultaneously with potential

 impacts on the nation’s power grids. Cf. Del. Dep’t of Natural Res., 785 F.3d at 18

 (“On remand, we encourage EPA to solicit input from FERC, as necessary”).

       In a final attempt to excuse its failure to meaningfully address concerns related

 to power grid reliability, EPA suggests that it did not need to undertake any further

 analysis of grid reliability because if the agency ends up being wrong, and the Rule

 causes coal-fired EGUs to no longer be commercially viable, State and regional

 regulators will be able to use temporary emergency powers to prevent them from

 retiring. J.A.0019(89 Fed.Reg. at 38526). But EPA’s reliance on State and regional

 regulators being able to use emergency stopgap powers to prevent the Rule from

 breaking the grid is emblematic of the dismissive way EPA treated grid reliability

 concerns throughout the notice and comment process. And in any event, “EPA

 [cannot] excuse its inadequate responses by passing the entire issue off onto a

 different agency.” Del. Dep’t of Natural Res., 785 F.3d at 16.

       C.     The Rule Is Based on Unreliable and Insufficient Arbitrarily
              Truncated Data and Unsupported Assumptions

       A significant reason why EPA’s grid reliability model failed is its reliance on

 cherry-picked data, unsupported assumptions, and flawed fPM and mercury

 technical analyses that developed the data going into the model, and which underly

 EPA’s conclusions about the feasibility of coal-fired power plants meeting the


                                            65
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024      Page 105 of 156



 revised emission standards, and the costs for doing so. Those data issues infect

 nearly every aspect of the Rule and render it arbitrary and capricious.

              1.     EPA’s fPM Analysis is Deeply Flawed

                     a.     The Revised fPM Standard Relies on Unsupported
                            Assumptions that Run Counter to the Empirical Data

       EPA based its analysis underlying the revised fPM emission standard on an

 irrationally truncated and arbitrary selection of data. In its proposed Rule, for most

 units, EPA reviewed the fPM rates measured in two quarters from 2017, 2019, and

 for a handful of units another quarter from 2021. J.A.0377(2023 Tech. Review at

 2). EPA did not explain why it selected these quarters, even though EPA has

 compliance data for every quarter that EGUs have operated since 2017. See

 generally J.A.0001(89 Fed.Reg. 38508). Commenters noted the lack of a rationale

 for EPA’s selection and how unrepresentative EPA’s selection was. See, e.g.,

 J.A.1274-1279(PGen Cmts. at 11-16 (citing Cichanowicz Report)).

       In the Rule, EPA conceded the data it selected were not representative and that

 a broader (and more appropriate) set of data “exhibited large variability within

 quarters and annually.” J.A.1549(2024 Technical Memo at 5). But EPA then devised

 a brand-new methodology to parse a new, but still-truncated dataset, rather than

 consider all data.14 This methodology rested on a new key assumption: if a unit has

 14
   EPA continued to refuse to look at all the data it has, because it was too “time-
 consuming.” J.A.1547(2024 Technical Memo at 3). But “[t]he technical complexity


                                          66
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024     Page 106 of 156



 ever emitted less than a standard, it was assumed to be able to meet that standard

 continuously either (1) without any new expenditures (if the unit’s average emissions

 rate, based on whatever truncated dataset EPA considered for it, was less than the

 standard), or (2) with an additional, small operations and maintenance expenditure

 of $100,000 per year (if the unit’s average emission rate was more than the proposed

 standard). J.A.1559(Id. at 15).

       As with its methodology in the proposed rule, EPA did not explain or support

 this new methodology or the fundamental assumptions underlying it. It is just a

 naked statement in a memorandum, nothing more. Cf. Ohio, 144 S. Ct. at 2055,

 2056 (staying rule where EPA’s response “in no way grappled with [commenters’]

 concern” and “did not address the … concern so much as sidestep it.”); U.S. Sugar

 Corp. v. EPA, 830 F.3d 579, 650 (D.C. Cir. 2016) (“EPA had a duty here to examine

 and justify the ‘key assumptions’ underlying its decision, and it failed to do so.”).

       Data from the Salt River Project’s (SRP’s) Coronado Generating Station

 illustrate the lack of support and justification for EPA’s key assumptions:




 of the analysis does not relieve the agency of the burden to consider all relevant
 factors.” Sierra Club v. Costle, 657 F.2d 298, 333 (D.C. Cir. 1981).

                                           67
USCA Case #24-1119                                           Document #2089013                          Filed: 12/10/2024          Page 107 of 156



                                            Coronado Generating Station 20 Operating Quarters

                                 0.025
                                                         Mean PM Rate
                                                         99th Percentile Rate

                                 0.020
   PM Emission Rate (lbs/MBtu)




                                 0.015


                                                EPA Reference                           EPA Reference
                                                  Quarter                                 Quarter
                                 0.010




                                 0.005




                                 0.000
                                         17Q1 17Q2 17Q3 17Q4 18Q1 18Q2 18Q3 18Q4 19Q1 19Q2 19Q3 19Q4 20Q1 20Q2 20Q3 20Q4 21Q1 21Q2 21Q3 21Q4

                                                  2017                2018               2019                2020               2021




 J.A.1316(Cichanowicz Report at 10).

                                  In the proposal, EPA looked at two quarters in the above chart, 17Q3 and

 19Q3, and selected 19Q3 as “representative” (circled above). J.A.0377(2023 Tech.

 Review at 2). Commenters then showed Coronado’s 19Q3 performance was not

 representative and, indeed, unusual. J.A.0646-0648(SRP Cmts. at 3-5). Sixteen of

 twenty quarters reported showed fPM rates exceeding the 19Q3 rates, some by

 100%. J.A.1278(PGen Cmts. at 15 (citing Cichanowicz Report at 9-10)); see also

 J.A.1354-1359(id. at Appx. B (providing similar examples demonstrating variability

 as shown for Coronado)).

                                                                                      68
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 108 of 156



       Then in the Rule, EPA jettisoned its previous analysis entirely, in favor of a

 new methodology that simply assumed Coronado can meet the limit of 0.010

 lb/mmBtu at all times, without even increased maintenance, because, in one of the

 20 quarters, Coronado had a rate lower than the new standard and had an overall

 average across all 20 quarters of slightly under 0.010 lb/mmBtu. J.A.1595(2024

 Technical Memo, Attachment 1). That conclusion utterly ignores the fact that

 Coronado had an entire year (20Q3 to 21Q2), with rates well above 0.010 lb/mmBtu.

 J.A.1354-1359(PGen Cmts., Appx. B); see also J.A.0648(SRP Cmts. at 5) (30-day

 rates between 2017 and 2023 exceeded 0.010 lb/MMBtu 23% of time). EPA does

 not explain why Coronado could have met the revised standard without substantial

 work under that year’s conditions; just a bald statement assuming Coronado can

 meet the standard in the future because it did it once or twice previously.

       These unsupported assumptions are central to the Rule and are not harmless

 error. Because EPA’s data selection and assumptions are arbitrary and unsupported,

 its conclusion for the number of units that have to upgrade to meet the new standard

 is also arbitrary and unsupported; its conclusion for the cost of upgrades across the

 industry is arbitrary and unsupported; and its conclusion for the cost-effectiveness

 of the Rule are arbitrary and unsupported.




                                          69
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024   Page 109 of 156



                     b.     EPA’s Refusal to Account for a Compliance Margin is
                            Unreasonable

       EPA based its cost calculations for the new fPM emission standard on its

 assumption that if a unit ever met an emission rate of 0.010 lb/mmBtu in the past, it

 can meet that standard again, continuously, without upgrading controls. But EPA

 knows no prudent operator runs a unit without a compliance margin. Nevertheless,

 EPA refused to account for it, and thereby undercounted the number of units that

 must upgrade controls as well as the expense and magnitude of fPM upgrade

 projects. EPA’s rationale for ignoring compliance margins is little more than an

 admission it is abdicating its responsibility to fully consider the problem before it.

 That is unlawful. Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43.

       EPA has long recognized the central importance of compliance margins:

 “when developing standards [under Section 112], we take into account the

 uncertainty associated with measuring emissions and we assume that plants operate

 with a compliance buffer to minimize the likelihood of exceeding the standard.”

 J.A.2204(77 Fed.Reg. at 58231). In its 2011 MATS proposal, EPA explained “the

 numerical standard should … provide sufficient compliance margin for

 owners/operators ….” J.A.2141(76 Fed.Reg. at 25066). And EPA recognized the

 need for a compliance margin in other aspects of the original MATS rulemaking:

 “facility operators normally target an operating level that is 25 to 50 percent lower

 than the emission limit in order to create a ‘margin of error.’” J.A.0094(EPA,


                                          70
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024     Page 110 of 156



 NESHAP, Analysis of Control Technology Needs for Revised Proposed Emission

 Standards for New Source Coal-fired Electric Utility Steam Generating Units (Nov.

 16, 2012) at 1); see also J.A.2137-2138(75 Fed.Reg. 54970, 54984 (Sept. 9, 2010))

 (establishing a standard “at a level higher than all measured values (to account for

 the inability to reliably measure any lower standard) and [to] … provide[] an ample

 compliance margin”).

       Here, commenters alerted EPA that the proposal lacked any compliance

 margin, leading to a severe undercount of units that will have to upgrade controls

 and, therefore, a substantial underestimation of the Rule’s costs and inaccurate cost-

 effectiveness.   See J.A.1642-1643(Response to Comments at 47-48); see also

 J.A.0464(Sargent & Lundy, Particulate & Mercury Control Technology Evaluation

 & Risk Assessment for Proposed MATS Rule (June 23, 2023) (Sargent & Lundy

 Study) at 6) (“a minimum additional 20% margin” is needed).              Indeed, in a

 memorandum seeking to shore up its decision to require fPM continuous monitoring

 systems in this Rule, EPA again found a compliance margin of 50% was appropriate.

 J.A.0463(PM CEMS Memo at 2) (noting “an operational target limit … [of] one-

 half of the emission limit” and setting “target compliance levels” at half the limit).

       And in its Supreme Court stay motion briefing, EPA conceded that a

 compliance margin is necessary. EPA SCOTUS Opp. Br. at 22.




                                           71
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024   Page 111 of 156



         Nonetheless, EPA refused to account for a compliance margin in setting the

 Rule’s new fPM emission standard. EPA’s excuse was that (1) whether to adopt a

 compliance margin is in “the sole decision of owners and operators,” and (2) EPA

 does not have data showing all sources will adopt the same compliance margin.

 J.A.0014(89 Fed.Reg. at 38521). But this is true for every rulemaking; it never

 stopped EPA before. EPA must account for relevant factors, including those outside

 its control. See Miami–Dade Cnty. v. EPA, 529 F.3d 1049, 1065 (11th Cir. 2008)

 (“EPA is compelled to exercise its judgment in the face of scientific uncertainty

 unless that uncertainty is so profound that it precludes any reasoned judgment.”).

         Demonstrating its ready ability to account for a compliance margin, EPA

 assumes for the sake of argument, and then summarily dismisses, a 20% margin. See

 J.A.0014(89 Fed.Reg. at 38521). According to EPA’s own analysis, accounting for

 this small compliance margin would (1) increase the Rule’s annual compliance cost

 by approximately 70% (“from $87.2M to $147.7M”), and (2) almost double the

 number of units that would have to upgrade their controls, at great cost (“the number

 of electrostatic precipitator upgrades (previously 11) … would also increase (to 20

 …)”).     Id.   Those numbers are substantial, and proper consideration of this

 information could have resulted in a very different rulemaking.

         In fact, the Rule’s already dramatic cost-effectiveness, discussed supra, would

 be even more stark if EPA accounted for a 50% compliance margin, which it



                                           72
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 112 of 156



 elsewhere recognizes as the likely “target” rate. J.A.0463(PM CEMS Memo at 2).

 EPA did not do that analysis, but it did consider an alternative, proposed standard of

 0.006 lb/mmBtu, which is the equivalent of the final standard of 0.010 lb/mmBtu

 with a compliance margin of 40%. See J.A.0011(89 Fed.Reg. at 38518). And based

 on EPA’s own analysis, accounting for a 40% compliance margin at this standard

 would (1) increase the Rule’s annualized cost almost 5-fold (from $87.2M to

 $398.8M), and (2) almost triple the number of units (from 33 to 94) required to incur

 costs by the Rule. See J.A.1560-1561(2024 Technical Memo at 16-17, Tbl. 4).

       But instead, without any analysis or explanation, EPA concluded: “Therefore,

 cost-effectiveness values for fPM and individual and total non-[mercury] HAP

 metals would only increase slightly.” J.A.1560-1561(Id.). This conclusion does not

 follow and is not reasoned decision-making. EPA must, at a minimum, “identify the

 stepping stones to its final decision.” Costle, 657 F.2d at 333. It must explain its

 reasons for the determinations it has made, not proclaim the outcome.

              2.     EPA’s Mercury Emission Analysis is Based on Biased,
                     Insufficient and Unreliable Data

       The Rule dramatically cuts the mercury limit for lignite-firing power plants

 by 70% without any evidence showing that it is feasible for these plants to meet the

 new standard of 1.2 lb/TBtu. The record is clear that only one lignite facility has,

 on occasion, achieved the new standard. J.A.0032(89 Fed.Reg. 38539). Relying on

 this single facility, EPA’s new limit, which must be achieved continuously by an


                                          73
USCA Case #24-1119        Document #2089013          Filed: 12/10/2024    Page 113 of 156



 entire subcategory, exceeds the bounds of reasonable agency action. See NRDC, 529

 F.3d at 1086. The mercury data analyses that underpin the Rule also do not reach a

 logical or a rational result. See Allentown Mack Sales & Serv., Inc. v. N.L.R.B., 522

 U.S. 359, 374 (1998).

                     a.     Mercury Data Emissions from Lignite Facilities Do
                            Not Support the 1.2 lb/TBtu Mercury Limit

       The Rule’s revised standard of 1.2 lb/TBtu limit for mercury emissions from

 lignite coal-fired plants is entirely unsupported. EPA purports to have considered

 data from 12 lignite facilities, but that data does not support the conclusion reached

 for multiple reasons. First, the mercury values from 11 of 12 lignite facilities are

 above 1.2 lb/TBtu despite EPA’s use of biased facility-specific data from EPA-

 handpicked time periods. J.A.1595(2024 Technical Memo, Attachment 1). EPA

 acknowledges that the average annual rate of North Dakota lignite units is 3.0

 lb/TBtu, which is almost 200% higher than the new mercury limitation. J.A.1582(Id.

 at 38). And the average annual rate of Gulf Coast lignite units (in Texas and

 Mississippi) is 2.0 lb/TBtu, almost 70% higher than the new limitation. J.A.1583(Id.

 at 39). But EPA turns around and justifies the feasibility of the new standard based

 on data from only two facilities (neither of which are North Dakota lignite facilities).

 J.A.0032-0033(89 Fed.Reg. 38539-40). Only one of those facilities has at times met

 the new standard (Twin Oaks) and EPA does not even claim the other facility (Red

 Hills) has met the standard. J.A.0033(Id. at 38540).


                                           74
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024     Page 114 of 156



       Data for Twin Oaks alone certainly does not demonstrate that the limit is

 technically feasible for the other 11 lignite-fueled plants. As commenters made

 clear, a single lignite-fired plant in Texas is not representative of other lignite-fired

 plants because of key differences in mercury and sulfur content of different lignite

 seams. See J.A.0734(Lignite Energy Council Cmts. at 6) (comparing Hg emission

 rates for lignite-fired EGUs in North Dakota and Texas); J.A.1029(Luminant Cmts.

 Attachment 1, Fig. 3-1) (showing lignite mercury and sulfur content variability).

 Moreover, the data for Twin Oaks are 30-boiler operating day performance tests

 conducted during a limited operating period. J.A.0734(Id.). These short-term results

 are not sufficient to show continuous achievement of a 1.2 lb/TBtu standard. Twin

 Oaks also employs a different type of boiler technology (circulating fluidized bed

 (CFB)) than most other lignite units. J.A.2180(77 Fed.Reg. at 9397).

       EPA appears to recognize that relying on a single facility’s performance is

 insufficient because it next points to Red Hills. J.A.0033(89 Fed.Reg. at 38540).

 But with mercury emissions rates at 1.33 and 1.35 lb/TBtu (2021) and 1.73 and 1.75

 lb/TBtu (2022) (for units 1 and 2, respectively), this only undermines EPA’s claim.

 J.A.0033(Id.).    EPA errs by claiming, inexplicably, that these data “clearly

 demonstrate the achievability of the proposed 1.2 lb/TBtu emissions standard by

 lignite-fired EGUs.” J.A.0033(Id. (emphasis added)). Red Hills’ emissions data

 from 2022 exceed the new limitation by over 40%, even though it employs the same



                                            75
USCA Case #24-1119        Document #2089013        Filed: 12/10/2024    Page 115 of 156



 unusual boiler technology as Twin Oaks. J.A.0033(Id.). In short, EPA’s conclusion

 runs “counter to the only empirical evidence EPA ha[s] before it.” See Sierra Club

 v. EPA, 884 F.3d 1185, 1198 (D.C. Cir. 2018).

       Responding to numerous comments that the new mercury limit is not

 achievable, EPA either refers to Twin Oaks, J.A.1678(Response to Comments at 83),

 or makes unexplained conclusory announcements, see J.A.1694(Id. at 99) (“EPA has

 shown . . . EGUs have demonstrated an ability to meet the 1.2 lb/TBtu Hg emission

 limit while firing on lignite coal.”). As discussed above, the data does not support

 that conclusion, and EPA is simply mandating identical standards for lignite and non-

 lignite units without any real analysis. See J.A.1580(2024 Technical Memo at 36)

 (summarily concluding based on “available literature and other studies and available

 information” that lignite units can meet the same standard as non-lignite coals).

                     b.     EPA’s Mercury Analysis Fails to Show the New Limit
                            is Feasible Due to Data Deficiencies and Flawed
                            Assumptions

       Recognizing that one facility’s data cannot support an entire subcategory

 standard, EPA grasps for another theory. EPA asserts that the mercury controls on

 lignite units can just be “dialed up or down to achieve a desired Hg emission rate,”

 J.A.0033(89 Fed.Reg. at 38540), irrespective of emissions data in the record. EPA

 predicates its theory on the supposition that lignite units can achieve “greater than

 90 percent” mercury removal using ACI with powdered activated carbon.



                                          76
USCA Case #24-1119       Document #2089013            Filed: 12/10/2024     Page 116 of 156



 J.A.0040(Id. at 38547). In other words, EPA assumes that units can just inject more

 brominated powdered activated carbon at increased rates to achieve sufficient

 reductions. J.A.0040-0041(Id. at 38547-48) (presenting estimated mercury control

 percentages to achieve 1.2 lb/TBtu without any data whatsoever to back up these

 estimates); see also J.A.1545-1594(2024 Technical Memo) (same).                 But this

 unreasonable conclusion is exposed by EPA’s own admission that there is a “leveling

 off” effect at which increasing the amount of sorbent results in diminishing returns.

 J.A.1577(Id. at 34).

       Nowhere does the record demonstrate that 90% mercury removal is feasible

 for most lignite-fired units, or that this “leveling off” does not occur at removal levels

 well below 90%. EPA has provided zero evidence to show this level of removal is

 even possible for all lignite-fired units, or that units would be capable of doing so

 without malfunctioning. See J.A.0464-0479(Sargent & Lundy Study). Instead, EPA

 relies on a 2012 Beyond-the-Floor Memorandum for this key 90% assumption. See

 J.A.0040(89 Fed.Reg. at 38547); J.A.1578(2024 Technical Memo at 34).

       As discussed supra, nothing in that 2012 Beyond-the-Floor Memorandum can

 be considered a “development” to support revisions to the standards in 2024. But

 regardless, even relying on that 2012 Memorandum, the data it contains does not

 support the more stringent standard for lignite-fired units imposed by the Rule.




                                            77
USCA Case #24-1119      Document #2089013         Filed: 12/10/2024   Page 117 of 156



          The 2012 Beyond-the-Floor Memorandum cites a trade publication as its

 primary support. J.A.0090(citing S. Sjostrom et al., Activated Carbon Injection for

 Mercury Control: Overview, Fuel, (2010) (ACI Fuel 2010 Article) at 1320-22). That

 fourteen-year-old publication presents a scatterplot with mercury removal test

 results from DOE control systems. Id. In that scatterplot (reproduced below),

 results from only one lignite unit are presented to support the 90% removal

 assumption upon which the Rule now centers, see J.A.2135(id. at 1321) (the

 “SDA+FF,Lig.” data points (circled in red) represent the only data from a lignite

 unit).




                                         78
USCA Case #24-1119     Document #2089013           Filed: 12/10/2024    Page 118 of 156



       The Rule record does not contain any of the raw testing data or testing

 conditions from the DOE study reported in the ACI Fuel 2010 Article, rendering it

 impossible to assess the legitimacy of the data graphed and affirming the threshold

 error that EPA cannot consider this a “development.” Nonetheless, EPA bootstraps

 pre-2010 data from one unit to prop up the conclusion that 90% removal can be

 achieved by lignite units industry wide. J.A.0032-0033(89 Fed.Reg. 38539-40); Cf.

 J.A.0131-0199(Andover Technology Partners, Analysis of PM and Hg Emissions

 and Controls from Coal-Fired Power Plants (Aug. 19, 2021)).

       As its next basis for concluding lignite-firing units are capable of meeting the

 reduced emission standard, EPA contrives a hypothesis: despite acknowledging that

 lignite has both low halogen and also high sulfur levels, each of which makes

 mercury control more difficult, J.A.0042(89 Fed.Reg. at 38549), EPA claims

 subbituminous coals also must manage the first concern (low halogens) and that

 bituminous coals also must manage the second concern (high sulfur), therefore, units

 firing lignite should also be able to manage these challenges and meet the same 1.2

 lb/TBtu standard. J.A.0039-0040(Id. at 38546-47). However, only lignite has both

 characteristics, which makes mercury removal far more challenging for lignite units

 than for units firing the other two coal types. J.A.0734-0735(Lignite Energy Council

 Cmts. at 6-7). EPA’s only response is that “many of the properties of lignite that

 challenge the control of Hg are shared by other coal types that are able to meet the



                                          79
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024      Page 119 of 156



 1.2 lb/TBtu emission limit.” J.A.1682(Response to Comments at 87). That response

 completely sidesteps the issue: that the combination of the characteristics of

 subbituminous coal (low halogens) and bituminous coal (high sulfur content) makes

 any comparison of lignite to either type of coal completely unjustified. Cf. Ohio,

 144 S. Ct. at 2055 (staying rule where “EPA’s response did not address the

 [Petitioners’] concern so much as sidestep it”). EPA’s theory for claiming all coals

 should be regulated alike fails to hold together even on its own terms.

       Finally, setting aside whether 90% control efficiency is possible for lignite-

 firing EGUs, EPA’s own data show that several units must achieve mercury control

 well in excess of 90% in order to meet the standard—over 95% in reality.

 J.A.0041(89 Fed.Reg. at 38548, Tbl.7). Yet EPA glosses over this difference, simply

 noting that its 2012 beyond-the-floor analysis “suggested that greater than 90 percent

 Hg control can be achieved at lignite-fired units,” therefore, EPA “expect[s] that the

 units could meet the final, more stringent, emission standard of 1.2 lb/TBtu.”

 J.A.0040(Id. at 38547) (emphasis added). This is not a trivial difference; achieving

 95% removal would require plants to cut emissions in half as compared to emissions

 at 90% removal. Going beyond what the record even purports to examine without

 additional support is arbitrary and capricious.

       In summary, EPA’s analysis justifying the Rule’s 70% lower mercury standard

 for lignite-firing plants condenses down to a trade article dated from before the



                                          80
USCA Case #24-1119        Document #2089013          Filed: 12/10/2024    Page 120 of 156



 original MATS rule, the limited and intermittent results taken from one unusual plant

 (Twin Oaks), and a willful ignorance of the established differences among the

 various types of coal.

                     c.     The Rule’s Mercury Cost Analysis is Defective

       The Rule’s mercury cost analysis is also flawed in multiple other ways. As a

 preliminary matter, determining that the new emissions limitation can be attained by

 lignite-firing units is a prerequisite to the proper calculation of cost. Otherwise, EPA

 could not determine the amount of sorbent injection needed, the ACI equipment

 additions or modifications necessary to inject it, or the enhancements to other

 controls necessary to augment the mercury control. These variables each come at a

 considerable cost. See J.A.1694-1695(Response to Comments at 99-100).

       EPA’s estimate of costs is based on a calculation of how much more

 brominated powdered activated carbon a hypothetical unit might need and the costs

 of that powdered activated carbon. J.A.0040-0041(89 Fed.Reg. 38547-48). That

 estimate depends entirely on the unproven assumption that existing ACI systems can

 simply add more powdered activated carbon to achieve 1.2 lb/TBtu. Id. In so doing,

 EPA errs. The cost calculations assume existing ACI systems can inject powdered

 activated carbon at high rates outside of original system designs, injection points,

 and piping size. As a result, the Rule’s cost analysis does not include any costs of

 equipment modifications or additions. Yet, inapposite with the cost analysis, EPA



                                           81
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 121 of 156



 admits that ACI equipment modifications may be required. J.A.1695(Response to

 Comments at 100) (“[S]ome modifications to existing control technology may be

 needed to meet the revised emissions standard.”). EPA’s cost analysis completely

 overlooks modification costs and, regardless, feasibility to meet 1.2 lb/Tbtu must be

 demonstrated before EPA can assign a cost. Otherwise, the calculation is equivalent

 to estimating the cost of building a house without a floor plan.

       EPA attempted to rehabilitate its flawed cost analysis in the Rule.

 J.A.1694(Response to Comments at 99). But it is too little, too late. The reprisal

 remains solely sorbent-based, ignoring necessary equipment modifications.

 Accordingly, EPA’s cost analysis has no rational connection to the Rule’s actual costs

 and is yet another reason to vacate the Rule. See Allentown, 522 U.S. at 374.

       D.     The Colstrip Power Plant Exemplifies EPA’s Arbitrary and
              Capricious Decisionmaking in the Rule

       The Rule will have broad industry-wide effects, and the Colstrip Power Plant

 in Montana is a poignant example of EPA’s disregard for public input and the

 significant impacts of the Rule. In many ways, the Rule’s treatment of Colstrip

 epitomizes the numerous agency failures described above.

       Colstrip supplies power throughout Montana and the Pacific Northwest and is

 essential to maintaining grid reliability and to Montana’s economy. Even under

 EPA’s flawed calculations, see supra, almost half of the Rule’s regulatory costs

 (42%) are imposed on Colstrip. J.A.0026(89 Fed.Reg. at 38533). According to EPA,


                                          82
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024    Page 122 of 156



 “only two [electric generating units] at one facility (Colstrip)” must install “the

 costliest” control technology. J.A.0015(Id. at 38522). For Colstrip, the Rule will

 mean installation of fabric filters (also known as baghouses) by the July 2027

 compliance date, at an estimated cost exceeding $350 million. J.A.1092(Talen

 Montana, LLC (Talen) Cmts. at 19) (“$351.2M”).

       These exorbitant costs are imposed on Colstrip even though there is no

 meaningful health risk from Colstrip’s current HAP emissions.              J.A.0118-

 0130(RRA, Appx. 10, Tbls. 1, 2a). While EPA claims that “higher levels of toxic

 metal emissions” in communities around Colstrip are “what the revised standards

 seek to remedy,” J.A.0017(89 Fed.Reg. at 38524), that claim is defeated by the

 Agency’s own data, which admits that Colstrip’s fPM emissions are offset by the far

 lower-than-average metal HAP content of that fPM, resulting in metal HAP

 emissions around the industry average. J.A.1595(2024 Technical Memo, Attach. 1).

 In other words, EPA’s characterization of Colstrip as a public health “laggard” is

 purely because of the Agency’s decision to use fPM as a compliance surrogate

 instead of actual HAP emissions.15      In reality, the public health effects from

 Colstrip’s HAP emissions (like all other coal-fired power plants in the country) are



 15
    Westmoreland flagged this discrepancy in their comments, J.A.0554-
 0555(Westmoreland Cmts. at 18, 19, n.27, n.29), which in turn was met with silence.
 This silence reflects yet another arbitrary and capricious agency action, for Section
 112 only authorizes EPA to regulate HAP emissions, not fPM.

                                          83
USCA Case #24-1119      Document #2089013            Filed: 12/10/2024    Page 123 of 156



 so minimal that if those plants were their own category, EPA would have discretion

 to remove them from the HAP program altogether. See 42 U.S.C. § 7412(c)(9)

 (discussing the cancer and non-cancer risk threshold for a source category to be

 delisted).

       As it did with essentially all comments related to the Rule’s potential impacts

 on coal-fired power plants and power grid reliability, EPA failed to materially

 grapple with comments that a premature retirement of Colstrip would not only

 impose direct costs on Colstrip Petitioners,16 but would also threaten grid reliability,

 imperil the jobs of thousands of Montanans, and have severe economic

 consequences for Montana and beyond—all in return for no meaningful benefit.

 EPA’s refusal to engage with these comments was arbitrary and capricious because

 it failed to “consider an important aspect of the problem” and “articulate a

 satisfactory explanation for its action including a ‘rational connection between the

 facts found and the choices made.’” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43

 (citation omitted); see also Ohio, 144 S. Ct. at 2054.




 16
   Colstrip Petitioners are made up of Talen Montana, LLC, Westmoreland Mining
 Holdings LLC, Westmoreland Mining, and Westmoreland Rosebud Mining, LLC,
 and NorthWestern Corporation, d/b/a NorthWestern Energy.

                                           84
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024   Page 124 of 156



              1.     EPA Failed to Properly Assess the Risks of Colstrip’s
                     Retirement

                     a.     Colstrip Petitioners Articulated Substantial Risks
                            from the Rule

       Colstrip Petitioners asked EPA not to finalize a rule reducing the fPM limit to

 0.010 lb/MMBtu given the particularly exorbitant costs of compliance for Colstrip,

 “especially where EPA has not found any unacceptable risk related to Colstrip’s (or

 any other affected facility’s) operation under the current fPM standard.”

 J.A.1074(Talen Cmts. at 1). EPA estimated that annualized costs at Colstrip of new

 equipment would be more than $38 million per year. See J.A.0455(2023 Tech.

 Review, Appx. D). Talen Montana estimated capital costs of $350 million for a

 baghouse, yielding annualized costs of $56.5 million per year. J.A.1092(Talen Cmts.

 at 19). In the proposal, Colstrip was expected to bear nearly half of the costs of the

 proposed rule.    J.A.1074-1075(Talen Cmts. 1¬2); cf. J.A.0026(89 Fed.Reg. at

 38533) (under the Rule Colstrip would bear “42 percent of the total annualized

 costs”).

       Colstrip Petitioners also asked EPA to consider the substantial risk of

 Colstrip’s premature retirement due to the Rule, especially when considered

 alongside other contemporaneous rulemakings, most notably EPA’s GHG Rule.

 Colstrip Petitioners explained that “[t]he high costs associated with installing,

 testing, and implementing new controls, coupled with limited time and electric



                                          85
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024   Page 125 of 156



 generation for the recovery of those costs, may cause Colstrip to shut down

 prematurely if the owners deem that it is not economically feasible to install the

 necessary controls to comply with the proposed fPM standard.” J.A.1074(Talen

 Cmts. at 1). Similarly, “[g]iven the reduced lifespan and generation that may be on

 the horizon for Colstrip, it will be extremely difficult to justify installing new

 controls to meet [] the fPM limit in the Proposed Rule. J.A.1079(Talen Cmts. at 6).

 NorthWestern stated that there was a significant risk that the Montana Public Service

 Commission      would     not   allow   recovery      of   the   compliance    costs.

 J.A.0985(NorthWestern Cmts. at 21). If new controls are not installed, then Colstrip

 must retire before the compliance date (July 2027).

       The reduced lifespan for recovery of costs is due to the interaction of the

 MATS Rule with the GHG Rule. In their comments, Colstrip Petitioners highlighted

 the negative interaction between the two rules: “For instance, EPA’s Proposed GHG

 Rule, if finalized, would make it challenging for Colstrip to meaningfully operate

 past 2034, or even 2031…But the Proposed Rule would require the Colstrip owners

 to spend hundreds of millions of dollars to install [controls] by 2027 or 2028, only

 to potentially shut down or curtail operations by 2031 due to the Proposed GHG

 Rule.” J.A.1090(Talen Cmts. at 17). Thus, due to the interaction between the two

 rules, Colstrip would have only approximately 4 years to operate between the

 compliance deadline for the Rule (July 2027) and a retirement or severe curtailment



                                          86
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 126 of 156



 under the GHG Rule by the end of 2031.17 As Colstrip Petitioners commented, “it

 is highly improbable that the Colstrip owners would shell out those huge sums of

 money to operate for three or four more years, as the owners would not be able to

 recoup those costs,” Id., meaning that Colstrip risks premature retirement in 2027.

       Colstrip Petitioners also challenged the Rule’s cost-effectiveness analysis in

 light of the premature retirement problem. Detailed technical explanations showed

 that EPA overestimated how much the new control technology at Colstrip would

 reduce fPM. J.A.1087-1094(Talen Cmts. at 14-21) (technical comments on cost-

 effectiveness calculation). Second, EPA assumed costs would be spread out for 15

 to 18 years, J.A.0003, 0019(89 Fed.Reg. at 38510, 38526), ignoring the impact of

 its other rules and premature retirement risk. As with the GHG Rule, Talen Montana

 commented that this is not a reasonable assumption: “EPA should have considered

 that the costs to upgrade Colstrip may only be spread over three to four years.”

 J.A.1090(Talen Cmts. at 17). “This would yield astronomically high annualized

 costs,” J.A.1090(id.), and demonstrate much lower cost effectiveness of the rule.




 17
    The final GHG Rule exacerbated the situation raised in comments because EPA
 removed the reduced load option for operation through 2034. To operate beyond
 2031, the final GHG Rule requires co-firing with natural gas or installation of carbon
 capture. J.A.2538-2539(89 Fed.Reg. 39798, 39801 (May 9, 2024)). As those are
 not realistic options at Colstrip, the final GHG Rule effectively mandates Colstrip’s
 retirement by the end of 2031.


                                          87
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 127 of 156



       Colstrip Petitioners also highlighted significant follow-on risks to grid

 reliability resulting from premature retirement. In particular, NorthWestern, a utility

 serving Montana customers, submitted 25 pages of comments focused primarily on

 those very risks, alerting EPA that “if Colstrip is closed in the near term,

 NorthWestern cannot provide adequate and reliable electric service for its Montana

 customers without new baseload capacity...and there are no near-term feasible means

 to replace Colstrip’s capacity....” J.A.0966(NorthWestern Cmts. at 2). Further,

 “[t]he 2025 and 2030 closure scenarios expose NorthWestern to extreme degrees of

 market risk, resulting [in] high probabilities of ruinous market electricity purchases

 and grid instability.” J.A.0967(Id. at 3). These statements were followed by detailed

 information on NorthWestern’s generation portfolio and available capacity,

 challenges in meeting demand, transmission limitations on the ability to import

 power, and the cost and safety hazards of closing Colstrip prematurely. J.A.0969-

 0984(Id. at 5-20).

       Colstrip Petitioners further commented that a premature shutdown of Colstrip

 would have severe economic impacts beyond Colstrip. Talen Montana cited a study

 demonstrating that an early retirement of Colstrip Units 3 and 4 would produce an

 economy with 3,300 fewer jobs, lost income of Montana households of between

 $250 and $350 million per year, and declines in economic output of between $700

 and $800 million per year. J.A.1079(Talen Cmts. at 6). Similarly, Westmoreland



                                           88
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024   Page 128 of 156



 provided detailed information on the closure risks to its Rosebud Mine if Colstrip

 retires, which would cause a loss of over 1,800 jobs and lost revenue of $330 million

 per year. J.A.0550-0551(Westmoreland Cmts. at 14-15).

                     b.     EPA Declined to Meaningfully Consider Those Risks

       Despite these detailed comments, EPA gave the Rule’s risks to Colstrip and

 the surrounding region little attention. EPA either ignored these comments entirely

 or dismissed them with generalities or superficial and conclusory responses. At base,

 it appears that EPA simply assumed that there was no Colstrip retirement risk, and

 thus the severe consequences that would result from a premature retirement were

 irrelevant. That alone was arbitrary and capricious. Michigan, 576 U.S. at 753

 (“Consideration of cost reflects the understanding that reasonable regulation

 ordinarily requires paying attention to the advantages and the disadvantages of

 agency decisions”).

       Those failures are even more egregious when the Agency is imposing such

 enormous and outsized costs on Colstrip with no counter-veiling benefits. Even if

 EPA did not recognize it should stop at finding no benefits, see supra, it should have

 at least analyzed whether the Rule—with its lack of benefits—was necessary when

 balanced against the enormous costs and severe downside risks to Colstrip. EPA’s

 “[c]onclusory explanations for matters involving a central factual dispute”

 notwithstanding “considerable evidence” alone constitutes an error sufficient to rule



                                          89
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024    Page 129 of 156



 that EPA’s action was unlawful. AT&T Wireless Servs., Inc. v. FCC, 270 F.3d 959,

 968 (D.C. Cir. 2001) (agency failed to provide “a reasoned justification” for rejecting

 technical argument, providing insufficient and conclusory explanations).

       At every step of the way, EPA failed to reasonably grapple with Colstrip

 Petitioners’ comments. With respect to the risk of retirement, EPA declared that

 commenters proffered “no credible information” that the Rule would lead to

 premature retirements. J.A.0019(89 Fed.Reg. at 38526). On its face, this is absurd.

 Colstrip Petitioners’ comments plainly highlighted the retirement risk as well as the

 heightened risk due to the interaction of the proposed rule with the GHG Rule.

 J.A.1079(Talen Cmts. at 6). Even if EPA thought that it was not certain Colstrip

 would retire because of the Rule, that does not excuse EPA from assessing the

 significant risks that Colstrip would retire and weighing those risks against the

 benefits of the rule. EPA’s “failure to address these comments, or at best its attempt

 to address them in a conclusory manner, is fatal.” Int’l Union, United Mine Workers

 of Am. v. Mine Safety & Health Admin., 626 F.3d 84, 94 (D.C. Cir. 2010).

       In response to Colstrip Petitioners’ requests to EPA to adequately consider the

 interactions with the GHG Rule on Colstrip, EPA summarily stated that it “generally

 considers finalized, rather than proposed, rules in the baseline of its analyses.”

 J.A.0020(89 Fed.Reg. at 38527); see also J.A.1722(Response to Comments at 127).

 EPA also contended that the two rules had no impact on each other because they are



                                           90
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024    Page 130 of 156



 authorized from different sections of the CAA.        J.A.1633, 1660(Response to

 Comments at 38, 65). Tellingly, the Rule expressly references the GHG Rule only

 once, when rejecting Colstrip Petitioners’ request that EPA coordinate them. See

 J.A.0020, 0026(89 Fed.Reg. at 38527, 38533). But this Court has already held that

 “a changed regulatory posture the agency creates—especially when the change

 impacts a contemporaneous and closely related rulemaking” is something the agency

 must consider when finalizing its rules. See Portland Cement, 665 F.3d at 187. The

 GHG Rule requires major transformation of the sector and Colstrip; the two rules

 cannot be dissociated. In the real world, Colstrip must plan for compliance with

 both rules together. EPA failed to seriously grapple with Petitioners’ comments on

 this key issue, and the Court should reject EPA’s “ostrich-like approach.” See id. at

 177, 185 & n.2.

       With respect to Talen Montana’s comments regarding the failures in EPA’s

 cost-effectiveness analysis, EPA failed to respond whatsoever. There is thus no

 analysis in the record as to whether the Rule would still be justified if the cost-

 effectiveness of the rule were corrected from $39,192/ton of fPM to $92,400/ton,

 and “astronomically” higher if the limited life of Colstrip under the GHG Rule were

 accounted for and costs were amortized over four-and-a-half years as opposed to

 fifteen to eighteen years as assumed by EPA.          J.A.1089-1094, 1100, 1100-

 1102(Talen Cmts. at 16-21, Attachs. B, C). These numbers demonstrate the cost-



                                          91
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024    Page 131 of 156



 ineffectiveness of the Rule as to Colstrip, but EPA wholly disregarded the comments.

 See Window Covering Mfrs. Ass’n v. Consumer Prod. Safety Comm’n, 82 F.4th 1273,

 1288-89 (D.C. Cir. 2023) (finding “serious flaw” in agency’s cost analysis because

 the agency failed to address a data discrepancy issue “that was repeatedly brought

 to its attention”).

        As noted above, in response to Colstrip Petitioners’ extensive comments about

 grid reliability, EPA declared commenters offered “no credible information” that the

 Rule would lead to premature retirements and further “disagree[d] that this rule

 would threaten resource adequacy or otherwise degrade electric system reliability.”

 J.A.0019(89 Fed.Reg. at 38526). Similarly, in EPA’s Resource Adequacy Memo,

 EPA evaluated the impact of certain power sector rules on the power grid, and made

 only generalized observations on reliability and retirement, see, e.g., J.A.1934(EPA,

 Resource Adequacy Analysis: Vehicle Rules, Final 111 EGU Rules, ELG and MATS

 RTR, Technical Memo (Apr. 2024) (EPA Resource Adequacy Memo) at 9), not even

 mentioning Colstrip or Montana.        But Colstrip Petitioners raised significant

 comments about clear and demonstrated retirement risks and ensuing “serious” grid

 reliability impacts engendered by the Rule. See, e.g., J.A.1074, 1095(Talen Cmts.

 at 1, 21); J.A.0968-0984(NorthWestern Cmts. at 4-20). Additionally, Colstrip

 Petitioners focused on regional grid impacts in Montana, as opposed to EPA’s

 nationwide focus. J.A.0977(NorthWestern Cmts. at 13). Instead of meaningfully



                                          92
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 132 of 156



 considering Petitioners’ detailed comments, EPA disregarded them in favor of

 generalized nationwide modeling. EPA’s “failure to ‘examine the relevant data and

 articulate a satisfactory explanation for its action’” makes the Agency’s grid

 reliability analysis and discussion arbitrary and capricious with respect to Colstrip.

 Appalachian Power Co. v. EPA, 251 F.3d 1026, 1034 (D.C. Cir. 2001); see also

 Ergon-West Virginia, Inc. v. EPA, 896 F.3d 600, 613 (4th Cir. 2018) (ignoring specific

 information that contradicted industry-wide study was arbitrary and capricious).

       Moreover, EPA’s unsupported claim that the DOE might allow the plant to

 continue operating without controls through an unprecedented application of

 emergency authority under the Federal Power Act, see J.A.1647(Response to

 Comments at 52), lacks any reasonable foundation. See, e.g., J.A.1074(Talen Cmts.

 at 1). Such authority has rarely been used and is not a reasonable solution for EPA’s

 poor rulemaking. See, e.g., Duke Power Co. v. Fed. Power Comm’n, 401 F.2d 930,

 944 (D.C. Cir. 1968) (discussing how the Federal Power Act Section 202(c)

 “relate[s] exclusively to temporary interconnections during national emergencies”);

 10 C.F.R. § 205.371 (defining “emergency” as an “unexpected inadequate supply of

 electricity” arising from an “unforeseen” event); Del. Dep’t of Natural Res., 785 F.3d

 at 16 (“EPA seeks to excuse its inadequate responses by passing the entire issue off

 onto a different agency. Administrative law does not permit such a dodge.”).




                                          93
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024    Page 133 of 156



       Finally, EPA arbitrarily refused to consider crippling costs and societal harms

 associated with the premature retirement of Colstrip, which is made very likely by

 the combination of the Rule and the GHG Rule. EPA must consider “costs” in

 determining necessity under Section 112(d)(6). See Ass’n of Battery Recyclers, Inc.,

 716 F.3d at 673-74. As the Supreme Court made clear in Michigan, “‘cost’ includes

 more than the expense of complying with regulations; any disadvantage could be

 termed a cost.” 576 U.S. at 752. EPA ignored comments from Colstrip’s owners,

 and its coal supplier Westmoreland, that the Rule threatens the viability of Colstrip

 and the Rosebud mine, threatens their workers’ livelihoods, and threatens the welfare

 of the Colstrip community.         E.g., J.A.0550(Westmoreland Cmts. at 14),

 J.A.1079(Talen Cmts. at 6). As above, closure of the Rosebud mine alone would

 inflict a multi-billion-dollar blow on the State of Montana, destroying over 1,800

 well-paid jobs, eliminating over $330 million in annual revenue to Montana

 businesses, and reducing state government revenue by $40 million per year.

 J.A.0542(Westmoreland Cmts. at 6). If Colstrip closes, the damage to Montana

 would be even greater, costing the state over $17 billion in lost economic production

 between 2028-2043. J.A.1079(Talen Cmts. at 6). EPA entirely ignored these

 comments, failing to even acknowledge them in the Rule or response to comments.

 These economic costs to the State of Montana and its citizens are a critical part of

 the “costs” of the Rule that would not allow EPA to reasonably find the Rule to be



                                          94
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024   Page 134 of 156



 “necessary” under Section 112(d)(6). And at the very least, EPA’s failure to consider

 this “important aspect of the problem” merits reversal. E.g., Motor Vehicles Mfrs.

 Ass’n, 463 U.S. at 43.

              2.     EPA Rejected, Without Reasonable Basis, Colstrip
                     Petitioners’ Request for a Retirement Subcategory Aimed at
                     Ameliorating Those Risks18

       To ameliorate the harms of premature retirement, Talen Montana and

 NorthWestern proposed that EPA create a retirement subcategory that would permit

 units to opt-in and commit to retiring by a date certain in exchange for not having to

 install new pollution controls that would soon be retired. J.A.1094-1095(Talen

 Cmts. at 21-22) (explaining that a retirement subcategory would “greatly assist

 companies with moving forward on retirement plans without running the risk of

 being forced to retire early, which could create reliability concerns”);

 J.A.0988(NorthWestern Cmts. at 24). Colstrip Petitioners commented that such a

 subcategory would be consistent with the approach EPA has taken in other

 rulemakings. J.A.0988(Id.). Agencies must consider—and explain the rejection

 of—“significant and viable” and “obvious” alternatives. Nat’l Shooting Sports




 18
   This Section of the brief is joined only by Talen Montana, LLC, Westmoreland
 Mining Holdings LLC, Westmoreland Mining, and Westmoreland Rosebud Mining,
 LLC, and NorthWestern Corporation, d/b/a NorthWestern Energy, and Electric
 Generators MATS Coalition.

                                          95
USCA Case #24-1119       Document #2089013           Filed: 12/10/2024     Page 135 of 156



 Found. v. Jones, 716 F.3d 200, 215 (D.C. Cir. 2013). EPA’s rationale for rejecting a

 retirement subcategory falls far short of this standard.

       First, EPA rejected Petitioners’ requests for a retirement subcategory by

 assuming, without explanation, that only facilities that had announced retirement

 would be part of any future retirement subcategory. J.A.0020(89 Fed.Reg. at 38527).

 According to EPA, 67 of the 296 EGUs “have announced retirements between 2029

 and 2032” and “all but three” could comply with the revised standard. EPA thus

 inferred “little utility to a near-term retirement subcategory....”       J.A.0020(Id.).

 Essentially, EPA argued that units already announcing retirements can comply with

 the Rule, so there is no reason to provide retiring units relief from the revised

 standard.

       However, Colstrip Petitioners asked EPA to consider a retirement subcategory

 because: (1) Colstrip does not have an announced/planned retirement date; and (2)

 if a suitable retirement subcategory were provided, Colstrip could opt to retire in an

 orderly fashion and avoid facing a choice between a premature retirement with

 potentially catastrophic consequences or installing controls that would soon be

 retired. That EPA considered only those units that already announced retirement and

 not ones that could decide to retire is the essence of arbitrary rulemaking, particularly

 given Colstrip Petitioners’ comments on this very topic. Moreover, EPA’s refusal to

 consider a retirement subcategory is contrary to EPA’s approach in the GHG Rule



                                            96
USCA Case #24-1119      Document #2089013          Filed: 12/10/2024    Page 136 of 156



 where EPA is allowing facilities to commit to retirement after the effective date of

 the rule.   See J.A.2540-2541(89 Fed.Reg. at 39841-42).         EPA failed in any

 meaningful way to address the alternative suggested by Colstrip Petitioners, instead

 inventing and shooting down a strawman.

       Second, EPA concluded that even if it established a retirement subcategory

 that “would not change the costs of the rule in a meaningful way.” J.A.0020(89

 Fed.Reg. at 38527).     But that is nonsense.     If EPA established a retirement

 subcategory and Colstrip were to retire, EPA would avoid imposing nearly half (42

 percent) of the costs that it calculated the Rule would impose. See J.A.0026(Id. at

 38533). EPA arrives at this conclusion only by assuming the subcategory would be

 open only to units that have already announced retirement, which is contrary to other

 retirement subcategories and lacks any rational foundation.

       Finally, EPA makes a one-sentence assertion in the Rule’s preamble that

 allowing units to operate longer without additional controls would lead to “continued

 exposure to those emissions in the communities around these units during that

 timeframe.” J.A.0020(Id. at 38527). That statement was backed only by a reference

 to the Northern Cheyenne Tribe’s unsupported, conclusory claim that its Tribal

 members may be harmed. J.A.0024(Id. at 38531). Yet EPA made no attempt to

 assess the risks of exposure for such limited timeframes around Colstrip, a sparsely

 populated area in eastern Montana. Indeed, EPA ignored its own quantitative



                                          97
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024   Page 137 of 156



 modeling showing no harm in favor of the Tribe’s unsupported, conclusory claim.

 As discussed supra, those “continued exposures” impose no meaningful health risks.

 Moreover, in relying on the Tribe’s claimed harms, EPA failed to account for the

 countervailing benefits of permanent cessation of all emissions associated with a

 planned retirement compared with continuing emissions in compliance with the

 Rule. Thus, EPA’s claim that Petitioners’ suggested subcategorization would lead to

 a higher HAP emissions impact is conclusory and unsupported. EPA’s “failure to

 address these comments, or at best its attempt to address them in a conclusory

 manner, is fatal.” Int’l Union, United Mine Workers of Am. v. Mine Safety & Health

 Admin., 626 F.3d 84, 94 (D.C. Cir. 2010).

                                      * * * *

          While Colstrip is emblematic of the broader failures of this Rule, EPA’s

 actions with respect to Colstrip are also arbitrary and capricious on a stand-alone

 basis.

          E.    The Rule is Pretextual

          As an independent problem, the Court should also set aside the Rule because

 EPA’s stated justifications are pretextual.    Agencies must “pursue their goals

 reasonably,” and “[r]easoned decisionmaking … calls for an explanation for agency

 action.” Dep’t of Commerce, 588 U.S. at 785. As the Supreme Court has explained,

 that “reasoned explanation requirement” obligates the agency to “offer genuine



                                           98
USCA Case #24-1119      Document #2089013            Filed: 12/10/2024     Page 138 of 156



 justifications for important decisions, reasons that can be scrutinized by courts and

 the interested public.” Id. at 784-85. But when “the evidence tells a story that does

 not match the explanation,” the mismatch indicates the agency’s rationale is

 “contrived.” Id. at 784. Accepting “contrived reasons” would vitiate the reasoned-

 explanation requirement and convert judicial review into an “empty ritual.” Id. at

 785.; see also, e.g., Sweet v. DeVos, 495 F.Supp.3d 835, 844-47 (N.D. Cal. 2020)

 (“[p]retext is the paradigm of agency bad faith … Courts will not suffer pretext in

 the review of agency conduct”).

       In such cases, courts evaluate allegations of pretext in light of “all the evidence

 in the record before the court.” Dep’t of Commerce, 588 U.S. at 782. That can

 include evidence outside the typical administrative record. See New York v. Dep’t of

 Commerce, 351 F.Supp.3d 502, 662 (S.D.N.Y. 2019) (applying “common-sense

 evidentiary principle[s]” when considering evidence outside the administrative

 record that suggested the agency’s reason for engaging in rulemaking was

 pretextual).

       Because the pretext analysis stems from the requirement that an agency

 disclose the basis of its action, it does not turn on whether the agency ultimately has

 the authority to do what it’s purporting to do. See Dep’t of Commerce, 588 U.S. at

 780 (citation omitted). Instead, what matters for the pretext analysis is whether the




                                           99
USCA Case #24-1119      Document #2089013            Filed: 12/10/2024    Page 139 of 156



 justification offered by the agency matches the reality of its actions. See id. at 785-

 786.

        For example, in New York v. Dep’t of Commerce, the Supreme Court agreed

 with the government that the Enumeration Clause allows the Commerce Secretary

 to “inquire about citizenship on the census questionnaire.” 588 U.S. at 785. And

 the Court even concluded that the Secretary “considered the relevant factors,

 weighed risks and benefits, and articulated a satisfactory explanation for his

 decision” to include the citizenship question. Id. at 775. Nevertheless, the Court set

 aside the Secretary’s decision to include the citizenship question on the basis that the

 agency’s stated reason for doing so was pretextual, as evidence suggested that the

 Secretary had already reached his conclusion when he “entered office,” instructed

 his staff to make it happen, asked the Attorney General to ask the Commerce

 Department to include the citizenship question, and only “adopted the Voting Rights

 Act rationale late in the process.” Id. at 783. Available evidence demonstrates

 similar dynamics also underlie the Rule challenged here.

        EPA claims it issued this Rule to protect public health from adverse effects of

 the covered HAP emissions. See J.A.0002-0003(89 Fed.Reg. at 38509-10). But

 available evidence shows that EPA promulgated this Rule for the express purpose of

 advancing a climate change-related policy of reducing carbon dioxide emissions

 through a “suite” of regulations designed to impose retirement-inducing cost on



                                           100
USCA Case #24-1119       Document #2089013          Filed: 12/10/2024   Page 140 of 156



 coal-fired power plants. Contra West Virginia, 597 U.S. at 735 (declaring it “not

 plausible” the CAA empowers EPA to “force a nationwide transition away from the

 use of coal to generate electricity”).

          For one, the current EPA Administrator has made no secret that EPA would

 use all the statutory tools it had in its arsenal to force the premature retirement of

 coal plants and accomplish its clean energy agenda, regardless of whether the

 Supreme Court curtailed its authority to do so under the CAA when establishing

 emissions guidelines for greenhouse gas emissions. For example, while West

 Virginia v. EPA was pending before the Supreme Court, Administrator Regan

 expressly suggested EPA could still achieve its climate goal of reducing greenhouse

 gas emissions by using authorities given to the agency to protect the public from

 mercury and other air toxins. See, e.g., Geman, EPA floats path on electricity CO2

 emissions—with an asterisk, Axios (Mar. 11, 2022) (reporting that Administrator

 Regan stated EPA would implement a “suite of rules” with the “co-benefit” of

 reducing carbon dioxide emissions).19

          Administrator Regan said similar things when participating in joint press

 conferences with the White House:

          Reporter: *** if the Supreme Court limits the EPA’s ability to regulate
          greenhouse gas emissions, *** how will you decarbonize the power sector?



 19
      https://tinyurl.com/yud7weey.

                                          101
USCA Case #24-1119        Document #2089013         Filed: 12/10/2024   Page 141 of 156



          Regan: *** we’re paying close attention to this Supreme Court case. *** But
          nevertheless, you know, EPA has bread-and-butter regulations that also focus
          on the power sector as well. We focus on regional haze, regulating mercury,
          coal ash contamination. *** they’ll have to determine whether or not those
          investments warrant the longevity of these coal plants.

 White House, Press Gaggle by Principal Deputy Press Secretary Karine Jean-Pierre

 & Env’t Prot. Agency Adm’r Michael Regan (Feb. 17, 2022).20 Such statements were

 not isolated instances. See also, e.g., Chemnick et al., What the EPA’s New Plans for

 Regulating Power Plants Mean for Carbon, Sci. Am. (Mar. 11, 2022) (reporting that

 Administrator Regan said if the Supreme Court dealt a blow to the agency’s climate

 change policies, EPA could still achieve greenhouse gas reductions using regulations

 on mercury and other toxic air pollution).21

          And in a PBS interview shortly after the West Virginia v. EPA decision,

 Administrator Regan doubled down on that sentiment, expressly saying his agency

 would “couple” climate regulations with “health-based” regulations in order to

 regulate greenhouse gases and get around the Supreme Court’s decision.

          PBS: How much of a set back is [the West Virginia v. EPA decision] to your
          efforts to regulate greenhouse gases?

          Regan: *** The decision does constrain what we do. But let me be clear. It
          doesn’t take us out of the game. We still will be able to regulate climate
          pollution. And we’re going to use all of the tools in our toolbox to do so….

          ***


 20
      https://tinyurl.com/bddpr22j.
 21
      https://tinyurl.com/49f7n377.

                                          102
USCA Case #24-1119        Document #2089013           Filed: 12/10/2024    Page 142 of 156



          PBS: Well, can you give us a couple of examples of the kind of tools that you
          believe you still can use to regulate this industry?

          Regan: *** We also have a suite of regulations that are facing the power
          sector. And so, as we couple the regulation of climate pollution with the
          regulation of health-based pollution, we are providing the power sector with
          a very clear picture of what regulations they’re facing so that they can make
          the right investment decisions. And we're hoping that, when they look at the
          regulation of waste and discharges in water, climate pollution, health-based
          pollution, they will see that it’s not worth investing in the past and they will
          continue to do what they're doing now, which is invest in the future. And that
          future is a clean energy economy.

 Transcript, PBS interview with Michael S. Regan (June 30, 2022) (emphasis

 added).22

          Such public comments match internal documents that have been produced

 through FOIA indicating that EPA planned to revise the MATS Rule as a means of

 reducing power plant emissions for climate change reasons. For example, in

 February 2021, EPA prepared a presentation for the White House Climate Advisor.

 See J.A.1966(Power Sector Strategy: Climate, Public Health, Environmental

 Justice, Briefing for Gina McCarthy and Ali Zaidi (Feb. 4, 2021)). While heavily

 redacted, the document evidences EPA’s intent to use its regulatory authority under

 various programs, including the MATS Rule, for reducing power plant emissions to

 implement the Administration’s climate agenda. Indeed, one slide that was briefed




 22
      https://tinyurl.com/4vsn3mcr.

                                            103
USCA Case #24-1119     Document #2089013         Filed: 12/10/2024   Page 143 of 156



 to the White House Climate Advisor expressly discusses the “Air Toxics Standards

 (e.g., MATS Rule).” Id. at 6.23

       EPA’s public statements and internal documents consequently indicate that

 EPA’s stated reason for the Rule—protecting the public from exposure to the

 regulated HAPs—was likely “contrived.” Dep’t of Commerce., 588 U.S. at 784.

 And this is not a case where the Court must risk substantial intrusion into

 Administrator Regan’s “mental processes,” Citizens to Preserve Overton Park, Inc.

 v. Volpe, 401 U.S. 402, 420 (1971), as his public statements already lay bare his

 motivations. See also BST Holdings, LLC v. OSHA, 17 F.4th 604, 612 (5th Cir. 2021)

 (discussing a White House official’s tweet); Texas v. United States, 86 F.Supp.3d

 591, 668 (S.D. Tex. 2015) (discussing President Obama’s public statements about

 DAPA), aff’d 809 F.3d 135 (5th Cir.), aff’d by an equally divided court, 579 U.S.

 547 (2016).

       Finally, to the extent there is any doubt regarding why EPA promulgated this

 Rule, the myriad problems described above—including that EPA can identify no

 quantifiable public health benefits from the Rule’s mandated reduction in HAP


 23
    During stay motion briefing, EPA argued “the PowerPoint addresses all kinds of
 environmental problems created by power plants.” EPA Stay Opp. Br. at 38 n.14.
 EPA would apparently have the courts believe that a briefing given by EPA to the
 White House Climate Advisor was about something other than climate policy. And
 in any event, when given the opportunity to remove the document’s redactions and
 show that the PowerPoint does not evidence what it so clearly seems to, EPA chose
 instead to keep most of the document redacted and obscured from public view.

                                        104
USCA Case #24-1119       Document #2089013         Filed: 12/10/2024    Page 144 of 156



 emissions, and instead claims millions of dollars in climate benefits—only reinforce

 the conclusion that EPA did not promulgate this Rule to protect public health from

 any adverse effects of the regulated HAP emissions. Cf. Career Coll. and Sch. of

 Tex. v. Dep’t of Educ., 98 F.4th 220, 226 n.1 (5th Cir. 2024) (“given the manifest

 legal shortcomings of the challenged portions of this Rule, it seems to be of a piece

 with the Executive Branch’s larger goal to sidestep, to the greatest extent possible,

 the Supreme Court decision holding Presidential student loan discharges illegal”).

         Pretext explains why EPA is using its HAPs authority to impose tremendous

 costs on coal-fired power plants with no public health benefit from mandating a

 further reduction in HAPs. The purpose for EPA’s “suite” of rules targeting coal-

 fired plants is recognized around the world, e.g., Milman, New US climate rules for

 pollution cuts ‘probably terminal’ for coal-fired plants, Guardian (May 2, 2024),24

 and this Court is “not required to exhibit a naiveté from which ordinary citizens are

 free.” Dep’t of Commerce, 588 U.S. at 785 (citation omitted).

                                      CONCLUSION

         For the reasons set forth, the Rule is contrary to statute and arbitrary and

 capricious. Petitioners ask the Court to vacate the Rule.




 24
      https://tinyurl.com/ykmb9xvn.

                                         105
USCA Case #24-1119     Document #2089013         Filed: 12/10/2024   Page 145 of 156



 Dated: December 10, 2024              Respectfully submitted,

  PATRICK MORRISEY                      DREW H. WRIGLEY
  Attorney General                      Attorney General
  /s/ Michael Williams                  /s/ Philip Axt
  MICHAEL R. WILLIAMS                   PHILIP AXT
  Solicitor General                     Solicitor General
  State Capitol Bldg. 1, Room E-26      600 E Boulevard Ave., Dept. 125
  Charleston, WV 25301                  Bismarck, ND 58505
  Phone: 304.558-2021                   Phone: 701.328.2210
  michael.r.williams@wvago.gov          pjaxt@nd.gov
  Counsel for State of West Virginia    NESSA HOREWITCH COPPINGER
                                        DAVID M. FRIEDLAND
                                        Special Assistant Attorneys General
                                        1900 N Street NW, Suite 100
                                        Washington, DC 20036
                                        ncoppinger@bdlaw.com
                                        dfriedland@bdlaw.com
                                        Counsel for State of North Dakota


  TREG TAYLOR                           TIM GRIFFIN
  Attorney General                      Attorney General

  /s/ Garrison Todd                     /s/ Nicholas J. Bronni
  GARRISON TODD                         NICHOLAS J. BRONNI
  Assistant Attorney General            Solicitor General
  Alaska Department of Law              DYLAN L. JACOBS
  1031 W. 4th Ave.                      Deputy Solicitor General
  Suite 200                             Office of the Arkansas Attorney
  Anchorage, AK 99501                   General
  (907) 269-5100                        323 Center Street, Suite 200
  Garrison.Todd@alaska.gov              Little Rock, AR 72201
                                        (501) 682-2007
  Counsel for State of Alaska           nicholas.bronni@arkansasag.gov
                                        Counsel for State of Arkansas



                                        106
USCA Case #24-1119     Document #2089013       Filed: 12/10/2024     Page 146 of 156




  CHRISTOPHER M. CARR                   RAÚL R. LABRADOR
  Attorney General                      Attorney General

  /s/ Stephen J. Petrany                /s/ Alan M. Hurst
  STEPHEN J. PETRANY                    ALAN M. HURST
  Solicitor General                     Solicitor General
  Office of the Attorney General        Office of Idaho Attorney General
  40 Capitol Square, SW                 P.O. Box. 83720
  Atlanta, Georgia 30334                Boise, Idaho 83720
  (404) 458-3408                        (208) 334-2400
  spetrany@law.ga.gov                   Alan.Hurst@aga.idaho.gov
                                        Counsel for State of Idaho
  Counsel for State of Georgia


  THEODORE E. ROKITA                    BRENNA BIRD
  Attorney General                      Attorney General
  /s/ James A. Barta                    /s/ Eric H. Wessan
  JAMES A. BARTA                        ERIC H. WESSAN
  Solicitor General                     Solicitor General
  Indiana Attorney General’s Office     1305 E. Walnut Street
  IGCS – 5th Floor                      Des Moines, Iowa 50319
  302 W. Washington St.                 (515) 823-9117
  Indianapolis, IN 46204                eric.wessan@ag.iowa.gov
  (317) 232-0709
  james.barta@atg.in.gov                Counsel for State of Iowa

  Counsel for State of Indiana




                                      107
USCA Case #24-1119     Document #2089013          Filed: 12/10/2024   Page 147 of 156



  KRIS W. KOBACH                           RUSSELL COLEMAN
  Attorney General                         Attorney General
  /s/ Anthony J. Powell                    /s/ Matthew F. Kuhn
  ANTHONY J. POWELL                        MATTHEW F. KUHN
  Solicitor General                        Solicitor General
  Office of Kansas Attorney General        JACOB M. ABRAHAMSON
  120 SW 10thAvenue, 2ndFloor              Assistant Solicitor General
  Topeka, Kansas 66612                     700 Capital Avenue, Suite 118
  (785) 368-8539                           Frankfort, Kentucky 40601
  Anthony.Powell@ag.ks.gov                 (502) 696-5300
                                           Matt.Kuhn@ky.gov
  Counsel for State of Kansas              Jacob.Abrahamson@ky.gov
                                           Counsel for Commonwealth of
                                           Kentucky


  ELIZABETH B. MURRILL                     LYNN FITCH
  Attorney General                         Attorney General
  /s/ J. Benjamin Aguiñaga                 /s/ Justin L. Matheny
  J. BENJAMIN AGUIÑAGA                     JUSTIN L. MATHENY
  Solicitor General                        Deputy Solicitor General
  Louisiana Department of Justice 1885     Office of the Attorney General
  N. Third Street                          P.O. Box 220
  Baton Rouge, Louisiana 70802             Jackson, Mississippi 39205
  (225) 506-3746                           (601) 359-3825
  aguinagab@ag.louisiana.gov               justin.matheny@ago.ms.gov
  Counsel for State of Louisiana           Counsel for State of Mississippi




                                         108
USCA Case #24-1119     Document #2089013        Filed: 12/10/2024   Page 148 of 156




  ANDREW T. BAILEY                       AUSTIN KNUDSEN
  Attorney General                       Attorney General
  /s/ Samuel C. Freedlund                /s/ Christian B. Corrigan
  SAMUEL C. FREEDLUND                    CHRISTIAN B. CORRIGAN
  Deputy Solicitor General               Solicitor General
  Office of the Attorney General         PETER M. TORSTENSEN, JR.
  815 Olive St., Suite 200               Deputy Solicitor General
  St. Louis, Missouri 63101              Montana Department of Justice
  (314) 340-4869                         215 N. Sanders Helena, MT 59601
  Samuel.Freedlund@ago.mo.gov            (406)444-2707
                                         Christian.Corrigan@mt.gov
  Counsel for State of Missouri
                                         Counsel for State of Montana

  MICHAEL T. HILGERS                     GENTNER DRUMMOND
  Attorney General                       Attorney General
  /s/ Grant D. Strobl                    /s/ Garry M. Gaskins, II
  GRANT D. STROBL                        GARRY M. GASKINS, II
  Assistant Solicitor General            Solicitor General
  Nebraska Attorney General’s Office     JENNIFER L. LEWIS
  2115 State Capitol                     Deputy Attorney General
  Lincoln, NE 68509                      Office of the Attorney General of
  (402) 471-2683                         Oklahoma
  Grant.strobl@nebraska.gov              313 NE Twenty-First St.
                                         Oklahoma City, OK 73105
  Counsel for State of Nebraska          (405) 521-3921
                                         garry.gaskins@oag.ok.gov
                                         jennifer.lewis@oag.ok.gov
                                         Counsel for State of Oklahoma




                                       109
USCA Case #24-1119     Document #2089013         Filed: 12/10/2024     Page 149 of 156



  ALAN WILSON                             MARTY J. JACKLEY
  Attorney General                        Attorney General
  /s/ Thomas T. Hydrick                   /s/ Steve Blair
  THOMAS T. HYDRICK                       STEVE BLAIR
  Assistant Deputy Solicitor General      Deputy Attorney General
  Office of the Attorney General of       Office of the Attorney General of South
  South Carolina                          Dakota
  1000 Assembly Street                    1302 East Highway 14, Suite 1
  Columbia, SC 29201                      Pierre, SD 57501-8501
  (803) 734-4127                          (605) 773-3215
  thomashydrick@scag.gov                  atgservice@state.sd.us
                                          steven.blair@state.sd.us
  Counsel for State of South Carolina
                                          Counsel for State of South Dakota

                                          KEN PAXTON
  JONATHAN SKRMETTI                       Attorney General
  Attorney General
                                          /s/ John R. Hulme
  /s/ Whitney Hermandorfer                JOHN R. HULME
  WHITNEY HERMANDORFER                    Assistant Attorney General
  Director of Strategic Litigation        BRENT WEBSTER
  MATTHEW RICE                            First Assistant Attorney General
  Solicitor General                       JAMES LLOYD
  Office of the Attorney General and      Deputy Attorney General for Civil
  Reporter of Tennessee                   Litigation
  P.O. Box 20207                          KELLIE E. BILLINGS-RAY
  Nashville, TN 37202-0207                Chief, Environmental Protection
  (615) 741-7403                          Division
  Whitney.Hermandorfer@ag.tn.gov          Office of the Texas Attorney General
  Matthew.Rice@ag.tn.gov                  P.O. Box 12548
  Counsel for State of Tennessee          Austin, Texas 78711-2548
                                          John.hulme@oag.texas.gov
                                          Counsel for State of Texas




                                        110
USCA Case #24-1119     Document #2089013         Filed: 12/10/2024   Page 150 of 156



  SEAN REYES                              JASON MIYARES
  Attorney General                        Attorney General
  /s/ Stanford Purser                     /s/ Kevin M. Gallagher
  STANFORD PURSER                         KEVIN M. GALLAGHER
  Solicitor General                       Principal Deputy Solicitor General
  Office of the Utah Attorney General     BRENDAN T. CHESTNUT
  160 East 300 South, Fifth floor         Deputy Solicitor General
  Salt Lake City, Utah 84111              Virginia Attorney General’s Office
  (385) 366-4334                          202 North 9th Street
  Spurser@agutah.gov                      Richmond, VA 23219
                                          (804) 786-2071
  Counsel for State of Utah               kgallagher@oag.state.va.us
                                          bchestnut@oag.state.va.us
                                          Counsel for Commonwealth of Virginia
  BRIDGET HILL
  Attorney General
  /s/ D. David DeWald
  D. DAVID DEWALD
  Deputy Attorney General
  Wyoming Attorney General’s Office
  Water & Natural Resources Division
  109 State Capitol
  Cheyenne, WY 82002
  (307) 777-7895 phone
  david.dewald@wyo.gov
  Counsel for State of Wyoming




                                        111
USCA Case #24-1119    Document #2089013         Filed: 12/10/2024   Page 151 of 156



  /s/ Charles T. Wehland
  Charles T. Wehland                   Jeffery D. Ubersax
  JONES DAY                            KUSHNER & HAMED CO., LPA
  110 North Wacker Drive, Suite 4800   1375 East Ninth Street, Suite 1390
  Chicago, IL 60601-1692               Cleveland, OH 44114
  Tel: (312) 269-4388                  Tel: (216) 696-6700
  ctwehland@jonesday.com               jdubersax@kushnerhamed.com
  Yaakov M. Roth
  Brinton Lucas
  Madeline W. Clark
  JONES DAY
  51 Louisiana Avenue, N.W.
  Washington, D.C. 20001
  Tel: (202) 879-7658
  yroth@jonesday.com
  blucas@jonesday.com
  mclark@jonesday.com

               Counsel for NACCO Natural Resources Corporation




                                       112
USCA Case #24-1119     Document #2089013         Filed: 12/10/2024   Page 152 of 156




  /s/ Elizabeth C. Williamson           /s/ Misha Tseytlin
  Elizabeth C. Williamson               Misha Tseytlin
  BALCH & BINGHAM LLP                   TROUTMAN PEPPER
  601 Pennsylvania Ave. N.W.            HAMILTON SANDERS LLP
  Suite 825 South                       227 W. Monroe Street
  Washington, D.C. 20004                Suite 3900
  (202) 661-6342                        Chicago, IL 60606
  (202) 347-6001 (fax)                  (608) 999-1240 (MT)
  ewilliamson@balch.com                 (312) 759-1939 (fax)
                                        misha.tseytlin@troutman.com
  Claire B. Johnson
  BALCH & BINGHAM LLP                   Carroll Wade McGuffey III
  1901 6th Ave. N., Ste. 1500           TROUTMAN PEPPER
  Birmingham, Alabama 35203             HAMILTON SANDERS LLP
  205-251-8100                          600 Peachtree St. N.E., Suite 3000
  cbjohnson@balch.com                   Atlanta, GA 30308
                                        (404) 885-3698
  Counsel for National Rural Electric   mack.mcguffey@troutman.com
  Cooperative Association, Minnkota
  Power Cooperative, Inc., East         Counsel for Lignite Energy Council and
  Kentucky Power Cooperative, Inc.,     National Mining Association
  Associated Electric Cooperative,
  Inc., Basin Electric Power
  Cooperative


  /s/ C. Grady Moore III                /s/ Megan Berge
  C. Grady Moore III                    Megan H. Berge
  P. Stephen Gidiere III                BAKER BOTTS L.L.P.
  Julia B. Barber                       700 K Street, NW
  BALCH & BINGHAM LLP                   Washington, D.C. 20001
  1901 6th Ave. N., Ste. 1500           Phone: (202) 639-1308
  Birmingham, Alabama 35203
  205-251-8100                          Counsel for Rainbow Energy Center, LLC
  gmoore@balch.com

  Counsel for Oak Grove Management
  Co., LLC and Luminant Generation
  Co., LLC


                                        113
USCA Case #24-1119    Document #2089013       Filed: 12/10/2024   Page 153 of 156




  /s/ Mark W. DeLaquil               /s/ Joshua B. Frank
  Mark W. DeLaquil                   Joshua B. Frank
  BAKER & HOSTETLER LLP              C. Joshua Lee
  1050 Connecticut Ave., N.W.        BAKER BOTTS L.L.P.
  Suite 1100                         700 K Street N.W.
  Washington, D.C. 20036             Washington, D.C. 20001
  Tel: (202) 861-1527                Tel.: (202) 639-7748
  mdelaquil@bakerlaw.com             (202) 639-1130
                                     joshua.frank@bakerbotts.com
  Martin T. Booher                   joshua.lee@bakerbotts.com
  Joshua T. Wilson
  BAKER & HOSTETLER LLP              Counsel for Talen Montana, LLC
  2000 Key Tower
  127 Public Square
  Cleveland, Ohio 44114

  Counsel for Westmoreland Mining
  Holdings LLC, Westmoreland
  Mining, and Westmoreland Rosebud
  Mining, LLC

  /s/ Creighton R. Magid             /s/ Makram B. Jaber
  Creighton R. Magid #49713          Makram B. Jaber
  DORSEY & WHITNEY LLP               Allison D. Wood
  1401 New York Avenue NW            Aaron M. Flynn
  Suite 900                          MCGUIRE WOODS LLP
  Washington, D.C. 20005             888 16th Street N.W., Suite 500
  Telephone: (202) 442-3555          Black Lives Matter Plaza
  Fax: (202) 315-3852                Washington, DC 20006
  magid.chip@dorsey.com              (202) 857-1700
                                     mjaber@mcguirewoods.com
  Counsel for NorthWestern           awood@mcguirewoods.com
  Corporation, d/b/a NorthWestern    aflynn@mcguirewoods.com
  Energy
                                     Counsel for America’s Power and
                                     Electric Generators MATS Coalition




                                     114
USCA Case #24-1119   Document #2089013      Filed: 12/10/2024   Page 154 of 156



                                    /s/ David M. Flannery
  Edward L. Kropp                   David M. Flannery
  STEPTOE & JOHNSON PLLC            Kathy G. Beckett
  P.O. Box 36425                    Keeleigh S. Huffman
  Indianapolis, Indiana 46236       STEPTOE & JOHNSON PLLC
  317-946-9882                      707 Virginia Street, East
  Skipp.Kropp@steptoe-johnson.com   P.O. Box 1588
                                    Charleston, WV 25326
                                    (304) 353-8000
                                    Dave.Flannery@steptoe-johnson.com
                                    Kathy.Beckett@steptoe-johnson.com
                                    Keeleigh.Huffman@steptoe-johnson.com

 Counsel for Midwest Ozone Group




                                    115
USCA Case #24-1119     Document #2089013          Filed: 12/10/2024   Page 155 of 156



                      CERTIFICATE OF COMPLIANCE

       The foregoing brief complies with the type-volume limitation of Fed. R. App.

 P. 32(a)(7)(B), (f) and (g) and Circuit Rule 32(e)(1), because it contains 23,995

 words, excluding exempted parts, according to the count of Microsoft Word 365.

       I further certify that the foregoing brief also complies with Fed. R. App. P.

 32(a)(5) and (6) because it has been prepared using Microsoft Word 365 in 14-point

 proportionally spaced Times New Roman font.



                                          /s/ Philip Axt
                                          PHILIP AXT
                                          Solicitor General of North Dakota




                                        116
USCA Case #24-1119      Document #2089013           Filed: 12/10/2024   Page 156 of 156



                           CERTIFICATE OF SERVICE

       I hereby certify that on December 10, 2024, the foregoing Final Opening Brief

 of Petitioners was served electronically on all registered counsel through the Court’s

 CM/ECF system.




                                            /s/ Philip Axt
                                            PHILIP AXT
                                            Solicitor General of North Dakota




                                          117
